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13                           UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
15
     JIMMY BANH, LAWRENCE                            Case No.: 2:19-cv-2160
16   GOLDMAN, JAMAL SAMAHA,
     GEORGE QUINLAN, GARY HANNA,                     CLASS ACTION
17   CINDY ORTIZ, ALEXI CHISARI,
18   MICHAEL BRUMER, DAVE                            COMPLAINT
     JAHSMAN, JOHN BARTHOLOMEW,
19   VIMAL LAWRENCE, CHARLES
     DENARO, ADAM PRYOR,
20   SRIKARTHIK SUBBARAO, ERIC
     FADEN, AND HAMILTON HINES
21   on behalf of themselves and all others
     similarly situated,
22
                                   Plaintiffs,
23

24
              v.

25   AMERICAN HONDA MOTOR CO.,
     INC., a California corporation,
26
                                  Defendant.
27

28

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 1            All allegations made in this Complaint are based upon information and belief
 2   except those allegations that pertain to Plaintiffs, which are based on personal
 3   knowledge. Each allegation in this Complaint either has evidentiary support or,
 4   alternatively, pursuant to Rule 11(b)(3) of the Federal Rules of Civil Procedure, is likely
 5   to have evidentiary support after a reasonable opportunity for further investigation or
 6   discovery.
 7                                I.     NATURE OF THIS ACTION
 8            1.       Plaintiffs bring this proposed class action for damages and injunctive relief
 9   on behalf of themselves and all other persons and entities nationwide who purchased or
10   leased a 2019 or 2020 Acura RDX vehicle (the “Vehicles” or “Class Vehicles”)
11   manufactured by defendant American Honda Motor Co., Inc. (“Honda” or
12   “Defendant”).
13            2.       The defect at issue in this case relates to what is known in the automobile
14   industry as an “infotainment system.” Such systems are designed to attract buyers who
15   want to manage available technology while on the road, while minimizing distractions
16   and maximizing safety.
17            3.       Defendant’s previous-generation dual-screen infotainment system was
18   controlled by a combination of direct touch, buttons, and a dial. However, when the
19   third generation Acura RDX was released in the summer of 2018, the Vehicles were
20   equipped with a new single high definition 10.2-inch display controlled by a touchpad.
21            4.       The screen is the gateway between the user and the Vehicle’s safety,
22   navigation, communications, entertainment features. The Vehicles’ infotainment
23   system allows the vehicle owner to operate the audio system (including the radio); use
24   the GPS navigation technology; operate the backup camera; and operate a Bluetooth-
25   enabled mobile telephone or other device.
26            5.       However, the Vehicles contain a defect that causes many of the Vehicles’
27   features associated with the infotainment system (e.g., the navigation system, audio
28
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 1   system, backup camera) to malfunction. As documented by widespread consumer
 2   complaints, this defect has plagued the infotainment system since its launch. Defendant
 3   knew about the defect well before the Vehicles’ launch.
 4            6.       As a result of the defect, the Vehicles’ infotainment system frequently
 5   freezes or crashes, rendering many of the Vehicles’ features inoperable. This poses a
 6   safety risk because when the system malfunctions, unexpected audio or video errors can
 7   cause the driver to become distracted. Indeed, even under the best of conditions when
 8   infotainment-type systems are working properly, using them can create dangerous
 9   distractions.1 The chance of distraction is magnified when the systems do not work
10   properly. The defect can also render safety-related systems (including backup camera
11   functions) to fail.
12            7.       Defendant has long known or should have known of the Vehicles’
13   infotainment system problems from multiple sources. These sources include pre-release
14   design, manufacturing, and testing data; warranty claims data; consumer complaints
15   made directly to Defendant, collected by the National Highway Transportation Safety
16   Administration (“NHTSA”), and/or posted on public online forums; testing done in
17   response to those complaints; aggregate data and complaints from authorized dealers;
18   and other sources. Yet Defendant failed to disclose and actively concealed the Vehicles’
19   infotainment system defect from the public, and continues to manufacture, distribute,
20   and sell the Vehicles without disclosing the defect.
21            8.       Under the Vehicles’ New Vehicle Limited Warranty, Honda is required to
22   “repair or replace any part that is defective in material or workmanship under normal
23

24
         1
25        See, e.g., Strayer, D. L., Cooper, J. M., Turrill, J., Coleman, J. R., & Hopman, R.
26
     J.. Measuring Cognitive Distraction in the Automobile III: A Comparison of Ten 2015
     In-Vehicle Information Systems. Washington, DC: AAA Foundation for Traffic
27   Safety (2015) (found at
28
     https://pdfs.semanticscholar.org/7bc7/04c103b3eb5b84aa90d1509472bf222b862c.pdf).

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 1   use.”2 The infotainment systems in the defective Vehicles, which share identical
 2   infotainment system technology, are defective in material or workmanship under normal
 3   use.
 4            9.       Honda has not found a solution to the infotainment system defect. Instead,
 5   Honda tells Vehicle owners to wait for a forthcoming “software update” to fix the
 6   infotainment problems, or alternatively simply replaces defective parts with equally
 7   defective parts, thereby leaving consumers caught in a cycle of use, malfunction, and
 8   replacement. In fact, Honda’s authorized dealerships are routinely discouraging Vehicle
 9   owners from bringing their Vehicles to the dealership because there is nothing the
10   dealership can do to repair the defect.
11            10.      Additionally, the Vehicles were originally scheduled to launch with both
12   Android Auto and Apple CarPlay connectivity as standard features.3 Defendant
13   distributed pre-release promotional materials to dealers touting the Vehicles’ Android
14   Auto compatibility, and those dealers in turn shared that information with consumers to
15   promote the Vehicles. But when the Vehicles went on sale in 2018, they came equipped
16   with only Apple CarPlay. Defendant claimed at the time that Android Auto
17   compatibility was temporarily delayed while Defendant worked to make Android Auto
18   compatible with the Vehicles’ new touchpad control scheme. Defendant both directly
19   and indirectly through its authorized dealers promised prospective buyers that Android
20   Auto would be made available to all Vehicle owners through a software update “soon.”4
21       2
         A true and correct copy of the New Vehicle Limited Warranty is available at
22   https://owners.acura.com/Documentum/Warranty/Handbooks/2019_Acura_Warranty_
23   Basebook_BWL07532.pdf.
         3
          Android Auto and Apple CarPlay are software application suites compatible with
24
     many manufacturers’ infotainment systems, including the infotainment systems found
25   in the defective Vehicles. It enables an infotainment system to act as a controller for
     Android and Apple mobile phones, and provides access to applications on the phones
26
     (including music, messaging, maps, and podcasts, among others).
27       4
          https://twitter.com/acura/status/1031742301675167745?lang=en (last accessed
28   June 17, 2019) (Acura tweet dated November 21, 2018: “Once developed & certified,
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 1   Yet more than a year has passed since the Vehicles were released and Vehicle owners
 2   and lessees are still waiting to receive the important feature Defendant promised.
 3            11.      Plaintiffs bring this action for violation of relevant state consumer
 4   protection acts and for breach of express and implied warranties on behalf of a
 5   nationwide class and state classes of Vehicle lessees and owners. Plaintiffs seek
 6   damages and equitable relief on behalf of themselves and all others similarly situated.
 7                               II.    JURISDICTION AND VENUE
 8            12.      This Court has subject matter jurisdiction over this action under 28 U.S.C.
 9   § 1332(d)(2), as amended by the Class Action Fairness Act of 2005, because the amount
10   in controversy exceeds $5,000,000, exclusive of interests and costs, and because this is
11   a class action in which the members of the classes and Defendant are citizens of different
12   states. This Court also has supplemental jurisdiction over the state law claims pursuant
13   to 28 U.S.C. § 1367.
14            13.      Venue is proper in this judicial district under 28 U.S.C. § 1391 because
15   Defendant is a resident of Torrance, California, which is located in this district.
16                                              III.    PARTIES
17   A.       Plaintiffs
18            1.       California Plaintiffs.
19            14.      Plaintiff Jimmy Banh is a California citizen residing in Fillmore,
20   California.
21            15.      Plaintiff Banh purchased a new 2019 Acura RDX in September 2018 from
22   Acura of Alhambra.
23            16.      Prior to purchasing the Vehicle, Plaintiff Banh researched the Vehicle and
24   its infotainment system online. Plaintiff Banh specifically recalls visiting Acura.com
25   and reading that Android Auto was “coming soon” to the 2019 RDX. Plaintiff Banh
26

27   we’ll roll out Android Auto to the RDX & make the update avail. To owners who’ve
28
     already purchased the ’19 model”).

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 1   also read multiple professional reviews of the Vehicle, including those on edmunds.com
 2   and caranddriver.com. None of the websites contained any disclosure from Defendant
 3   regarding any defects associated with the infotainment system.
 4            17.      Plaintiff Banh also visited the showrooms of multiple Acura dealerships to
 5   learn about the Vehicle and its infotainment system. For example, Plaintiff Banh visited
 6   Gold Coast Acura in August 2018 and took a long test drive of the Vehicle. During the
 7   visit, the salesperson told Plaintiff Banh that Android Auto was coming within a “few
 8   weeks or months.” This was a very important feature for Plaintiff Banh because Plaintiff
 9   Banh owns an Android phone and was seeking a car with Android Auto compatibility.
10            18.      At the time, Plaintiff Banh was deciding between purchasing a 2019 Acura
11   RDX and a competing model from Infiniti. Plaintiff Banh chose to purchase the Acura
12   specifically because of its infotainment system and because Defendant represented that
13   the Vehicle would soon feature Android Auto.
14            19.      Plaintiff Banh visited Acura of Alhambra to test drive a second 2019 Acura
15   RDX. During the visit, the dealer reiterated that Android Auto was to be released for
16   the 2019 RDX “soon,” in a “few weeks to a month.” Based on this representation,
17   Plaintiff Banh purchased the Vehicle.
18            20.      None of the representations received by Plaintiff Banh contained any
19   disclosure relating to any defect in the infotainment system. Nor did they disclose that
20   Android Auto would not be available for at least 10 months, if not longer. Had
21   Defendant disclosed that the infotainment system in the Vehicle was defective
22   preventing the full use of the Vehicle and pose safety risks, Plaintiff Banh would not
23   have purchased it, or would have paid less for the Vehicle. Similarly, had Defendant
24   disclosed that Android Auto would not be made available to purchasers for at least 10
25   months (and perhaps longer), Plaintiff Banh would not have purchased it, or would have
26   paid less for the Vehicle.
27

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 1            21.      Plaintiff Banh began experiencing problems with the infotainment system
 2   within days of owning the Vehicle. When he started the Vehicle, the infotainment
 3   system would often take up to a full minute for audio to begin playing. Plaintiff Banh
 4   called his dealer to ask about this delay and was told it was “normal.”
 5            22.      The infotainment system also sporadically freezes, shuts off, and becomes
 6   inoperative while driving. When using voice commands, Plaintiff Banh frequently
 7   encounters “unavailable” and “still loading” messages.
 8            23.      Additionally, Plaintiff Banh owns an Android-based mobile phone, and
 9   Defendant’s promise to release Android Auto “soon” was an important consideration
10   for him in choosing to purchase the Vehicle. It has been 10 months since Plaintiff Banh
11   purchased the Vehicle and still no software update has been released containing Android
12   Auto. Plaintiff Banh has been forced to use an adaptor, USB stick, and MP3 player to
13   listen to music. But the Vehicle’s infotainment system often has trouble identifying
14   these sources during start up, which causes the screen to display “initializing … not
15   found.” The problem can sometimes be resolved by unplugging and then re-plugging
16   the source. But even then, the system’s Bluetooth connection frequently drops during
17   telephone calls.
18            24.      Plaintiff Banh has suffered an ascertainable loss as a result of Defendant’s
19   wrongful conduct associated with the infotainment system including, but not limited to,
20   overpayment and diminished value of the Vehicle. Plaintiff sent a statutory notice letter
21   on July 10, 2019.
22            2.       Florida Plaintiffs.
23            25.      Plaintiff Lawrence Goldman is a Florida citizen residing in St. Augustine,
24   Florida.
25            26.      Plaintiff Goldman purchased a new 2019 Acura RDX in September 2018
26   from Duval Acura in Jacksonville, Florida.
27

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 1            27.      Prior to purchasing the Vehicle, Plaintiff Goldman researched the Vehicle
 2   and its infotainment system online. Plaintiff Goldman’s online research included
 3   reviewing          Acura’s    website,   caranddriver.com,     automobilemag.com,       and
 4   roadandtrack.com, among other websites. None of the websites contained any
 5   disclosure from Defendant regarding any defects in the infotainment system.
 6            28.      The Vehicle’s infotainment system was a particularly important feature to
 7   Plaintiff Goldman’s wife, who visited the dealership four times before purchasing the
 8   Vehicle to examine the infotainment system, make sure it was user-friendly, and learn
 9   how to use it. During these visits, the salesperson showed Mrs. Goldman how to use
10   the infotainment system and explained its features and functionality. At no point did
11   the salesperson disclose that the Vehicle’s infotainment system was defective.
12            29.      Plaintiff Goldman selected and ultimately purchased the Vehicle in large
13   part based on the features of the infotainment system, as represented by Defendant.
14            30.      Had Defendant disclosed that the infotainment system in the Vehicle
15   suffered from a defect that would prevent the full use of its features and pose safety risks
16   for Plaintiff Goldman and his family, Plaintiff Goldman would not have purchased it,
17   or would have paid less for the Vehicle.
18            31.      Within weeks of purchasing the Vehicle, Plaintiff Goldman experienced
19   numerous problems with the infotainment system. The system takes an excessively long
20   time to boot up, and is prone to freezing up, especially when a phone is connected to the
21   Vehicle’s USB port. As a result, Plaintiff Goldman no longer uses the Vehicle’s USB
22   port out of fear that it will cause the infotainment to crash again. As a result, Plaintiff
23   cannot utilize Google Maps or the Vehicle’s Apple CarPlay functionality.
24            32.      When Plaintiff Goldman took the Vehicle to the dealer to address the
25   infotainment system problems, he was told that “everyone is having issues,” that
26   “nothing can be done” until a new software update is released fixing the issues, and “its
27   in Acura’s hands.”
28
     COMPLAINT                                  -7-
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 1            33.      In February 2019, Plaintiff Goldman called Acura’s corporate office to
 2   inquire as to when a software update was to be released. Plaintiff Goldman was told,
 3   “we’re working on it” and expect it to be released “next month.” To date, Plaintiff
 4   Goldman has received no such software update.
 5            34.      Plaintiff Goldman has suffered an ascertainable loss as a result of
 6   Defendant’s wrongful conduct associated with the infotainment system including, but
 7   not limited to, overpayment and diminished value of the Vehicle.
 8            3.       Illinois Plaintiffs.
 9            35.      Plaintiff Jamal Samaha is an Illinois citizen residing in Chicago, Illinois.
10            36.      Plaintiff Samaha purchased a certified pre-owned 2019 Acura RDX in May
11   2019 from Pauly Acura.
12            37.      Prior to purchasing the Vehicle, Plaintiff Samaha researched the Vehicle
13   and its infotainment system online.           Plaintiff Samaha specifically recalls visiting
14   Acura.com and reading that Android Auto would be coming “soon” for the 2019 Acura
15   RDX.           Plaintiff also researched the Vehicle on cars.com, motortrend.com,
16   cargurus.com, and cnet.com. None of these sources contained any disclosure from
17   Defendant regarding any defects associated with the infotainment system.
18            38.      Plaintiff Samaha is a medical sales representative who drives frequently
19   for work. Accordingly, the Vehicle’s infotainment system is a critical consideration in
20   purchasing a vehicle because Plaintiff Samaha needs the vehicle to provide live traffic
21   updates, real-time route guidance, and seamless hands free operation of phone calls, text
22   messages, and audio controls.
23            39.      Android Auto was a very important feature to Plaintiff Samaha because he
24   owns an Android phone and wanted a car with Android Auto compatibility. When
25   Plaintiff Samaha asked the dealership when the Android Auto software update would
26   be released, the representative told him the “summer” 2019.
27

28
     COMPLAINT                                   -8-
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 1            40.      Plaintiff Samaha chose to purchase the Vehicle specifically because of its
 2   infotainment system and because Defendant represented that the Vehicle would soon
 3   feature Android Auto.
 4            41.      None of the representations received by Plaintiff Samaha contained any
 5   disclosure regarding any defect in the infotainment system. Nor did they disclose that
 6   Android Auto would not be available for many months, if ever. Had Defendant
 7   disclosed that the infotainment system in the Vehicle was defective, Plaintiff Samaha
 8   would not have purchased it, or would have paid less for the Vehicle. Similarly, had
 9   Defendant disclosed that Android Auto would not be made available to purchasers for
10   many months (if ever), Plaintiff Samaha would not have leased it, or would have paid
11   less for the Vehicle.
12            42.      Plaintiff Samaha began experiencing problems with the Vehicle’s
13   infotainment system shortly after purchasing the Vehicle. The system frequently lags.
14   And without Android Auto, Plaintiff Samaha is forced to rely on the Vehicles’
15   navigation system, which does not provide adequately real time traffic and route
16   updates, responds slowly inputs, and often provides erroneous route guidance.
17            43.      When Plaintiff Samaha purchased the Vehicle, he did so based on
18   Defendant’s representation that a software update was forthcoming that would make the
19   Vehicle Android Auto compatible. It has been months since he purchased the Vehicle
20   and there has been no such update.
21            44.      Plaintiff Samaha has suffered an ascertainable loss as a result of
22   Defendant’s wrongful conduct associated with the infotainment system including, but
23   not limited to, overpayment and diminished value of the Vehicle.
24            45.      Plaintiff George Quinlan is an Illinois citizen residing in Elmwood Park,
25   Illinois.
26            46.      Plaintiff Quinlan purchased a new 2019 Acura RDX in November 2018
27   from Ed Napleton Acura.
28
     COMPLAINT                                  -9-
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 1            47.      Prior to purchasing the Vehicle, Plaintiff Quinlan researched the Vehicle
 2   and its infotainment system online.         Plaintiff Quinlan specifically recalls visiting
 3   Acura.com, caranddriver.com, acurazine.com, and other internet sources. None of the
 4   websites contained any disclosure from Defendant regarding any defects in the
 5   infotainment system.
 6            48.      The Vehicle’s infotainment system was a very important feature for
 7   Plaintiff Quinlan. Plaintiff Quinlan selected and ultimately purchased the Vehicle in
 8   large part because of the features of the infotainment system, as represented by
 9   Defendant.
10            49.      None of representations received by Plaintiff Quinlan contained any
11   disclosure from Defendant regarding any defects in the infotainment system. Had
12   Defendant disclosed that the infotainment system in the Vehicle was defective, Plaintiff
13   Quinlan would not have purchased it, or would have paid less for the Vehicle
14            50.      Plaintiff Quinlan experienced problems with the infotainment system
15   within two days of owning the Vehicle. The screen periodically freezes or turns black.
16   The system is abnormally slow to boot up. When making phone calls, the microphone
17   cuts out every three or four minutes. Plaintiff Quinlan frequently experiences error
18   messages, such as “system function unavailable.” When listening to music through
19   Apple CarPlay, the music cuts in and out. On one occasion, Plaintiff Quinlan turned off
20   the Vehicle but screen did not shut off, causing Plaintiff Quinlan to fear that his battery
21   would be fully drained by the morning.
22            51.      Plaintiff Quinlan considers the infotainment system defect to be a safety
23   hazard. Plaintiff Quinlan lives in a “hands free” area and it is illegal to drive holding a
24   mobile phone to your ear. But drivers are forced to use their phone manually as a result
25   of the infotainment system’s constant failures. Additionally, as a result of the Vehicle’s
26   frequent “System Drive Mode Change Unavailable” error message, Plaintiff Quinlan
27

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     COMPLAINT                                  - 10 -
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 1   does not know which drive mode the Vehicle is in (e.g., snow, comfort, sport, sport
 2   plus), which can be dangerous in inclement weather.
 3            52.      Plaintiff Quinlan has suffered an ascertainable loss as a result of
 4   Defendant’s wrongful conduct associated with the infotainment system including, but
 5   not limited to, overpayment and diminished value of the Vehicle.
 6            4.       Massachusetts Plaintiffs.
 7            53.      Plaintiff Gary Hanna is a citizen of Massachusetts residing in North
 8   Grafton, Massachusetts.
 9            54.      Plaintiff Hanna purchased a 2019 Acura RDX in November 2018 from
10   Acura of Auburn.
11            55.      Prior to purchasing the Vehicle, Plaintiff Hanna researched the Vehicle and
12   its infotainment system online, including on Defendant’s website. None of the websites
13   contained any disclosure from Defendant regarding any defects associated with the
14   infotainment system.
15            56.      Because Plaintiff Hanna owns an Apple phone, he was particularly
16   interested in the Vehicle’s Apple CarPlay feature.
17            57.      Plaintiff Hanna selected and ultimately purchased the Vehicle in large part
18   based on the features of the infotainment system, as represented by Defendant.
19            58.      None of the representations received by Plaintiff Hanna contained any
20   disclosure relating to any defects in the infotainment system. Had Defendant disclosed
21   that the infotainment system in the Vehicle suffered from a defect that prevents the full
22   use of its features, Plaintiff Hanna would not have purchased it, or would have paid less
23   for the Vehicle.
24            59.      Plaintiff Hanna started experiencing various problems with the
25   infotainment system within days of purchasing the Vehicle. The infotainment system
26   frequently freezes or crashes, rendering many of the Vehicle’s features inoperable. The
27   system is also slow to boot up, and the display screen is known to simply go black during
28
     COMPLAINT                                   - 11 -
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 1   use. The Apple CarPlay feature frequently disconnects, and when Plaintiff Hanna
 2   makes phone calls, the call recipient often cannot hear Plaintiff Hanna’s voice.
 3            60.      In approximately May 2019, Plaintiff Hanna’s infotainment system froze
 4   and became unresponsive. Plaintiff Hanna called his dealer and spoke with a service
 5   representative. She was not surprised that the system had frozen and was immediately
 6   familiar with the problem.          The representative instructed Plaintiff Hanna how to
 7   disconnect and reconnect the Vehicle’s battery to reboot the system. Because Plaintiff
 8   Hanna’s infotainment system has now become frozen on four different occasions,
 9   Plaintiff Hanna carries a wrench in the Vehicle at all times.
10            61.      Plaintiff Hanna has also taken the Vehicle back to the dealer to address the
11   infotainment system problems. The dealer updated the software to their newest versions
12   but the infotainment system continues to malfunction.
13            62.      Plaintiff Hanna considers the infotainment system defect to be a safety
14   hazard. Massachusetts is a “hands free” state and it is illegal to drive holding a mobile
15   phone to your ear. But drivers are forced to use their phone manually as a result of the
16   infotainment system’s constant failures.
17            63.      Plaintiff Hanna has suffered an ascertainable loss as a result of Defendant’s
18   wrongful conduct associated with the infotainment system including, but not limited to,
19   overpayment and diminished value of the Vehicle.
20            5.       Nevada Plaintiffs.
21            64.      Plaintiff Cindy Ortiz is a citizen of Nevada residing in Las Vegas, Nevada.
22            65.      Plaintiff Ortiz purchased a 2019 Acura RDX in March 2019 from Cardinale
23   Way Acura.
24            66.      Plaintiff Ortiz selected and ultimately purchased the Vehicle in substantial
25   part based on the features of the infotainment system, as represented by Defendant and
26   Defendant’s authorized dealer.
27

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     COMPLAINT                                   - 12 -
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 1            67.      None of the representations received by Plaintiff Ortiz contained any
 2   disclosure regarding any defects in the infotainment system. Had Defendant disclosed
 3   that the infotainment system in the Vehicle suffered from a defect that prevents the full
 4   use of its features, Plaintiff Ortiz would not have purchased it, or would have paid less
 5   for the Vehicle.
 6            68.      Plaintiff Ortiz started experiencing various problems with the infotainment
 7   system within days of purchasing the Vehicle.              The infotainment system screen
 8   periodically turns blue and crashes, rendering many of the Vehicle’s features inoperable.
 9   The system also does not recognize voice commands properly. And on two separate
10   occasions, the infotainment system remained on after the Vehicle was turned off,
11   thereby draining the Vehicle’s battery and rendering the Vehicle unable to start.
12            69.      Plaintiff Ortiz has taken the Vehicle back to the dealership on four
13   occasions to address the infotainment system issues, but nothing has been fixed. The
14   service representative told Plaintiff Ortiz that Defendant is aware of the problems and
15   “working on” a software fix, but that Defendant is refusing to release replacement parts
16   for the infotainment system.
17            70.      When Plaintiff Ortiz called Defendant directly through its toll-free 800
18   telephone number, she was told by Defendant there was no fix currently available but
19   that Defendant is “working on it.” To date, Plaintiff Ortiz continues to experience
20   regular infotainment system malfunctions.
21            71.      Plaintiff Ortiz has suffered an ascertainable loss as a result of Defendant’s
22   wrongful conduct associated with the infotainment system including, but not limited to,
23   overpayment and diminished value of the Vehicle.
24            6.       New Jersey Plaintiffs.
25            72.      Plaintiff Alexis Chisari is a citizen of New Jersey residing in Secaucus,
26   New Jersey.
27

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     COMPLAINT                                   - 13 -
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 1            73.      Plaintiff Chisari leased a new 2019 Acura RDX in March 2019 from
 2   OpenRoad Acura.
 3            74.      Prior to leasing the Vehicle, Plaintiff Chisari researched the Vehicle and
 4   its infotainment system online. Plaintiff Chisari specifically recalls visiting Acura.com
 5   and reading that Android Auto was an available feature for the 2019 Acura RDX.
 6   Plaintiff also reviewed the 2018 New York Auto Show booklet, Kelly Bluebook, and
 7   other internet sources. None of these sources contained any disclosure from Defendant
 8   regarding any defects associated with the infotainment system.
 9            75.      Plaintiff Chisari recalls reading customer complaints posted on internet
10   forums about problems with the infotainment system. Plaintiff Chisari visited Park
11   Avenue Acura and told the representative that she had read complaints online about the
12   infotainment system. The representative assured her that he had not seen or experienced
13   of any issues with the infotainment system.
14            76.      Thereafter, Plaintiff Chisari visited OpenRoad Acura, where she asked the
15   salesperson if the Vehicle was equipped with Android Auto. This was a very important
16   feature to Plaintiff Chisari because she owns an Android phone and wanted a car with
17   Android Auto compatibility. The salesperson told her that the software update was
18   coming “soon.” Plaintiff Chisari subsequently found Defendant’s tweet online similarly
19   promising that a software update was coming soon to make the Vehicles Android Auto
20   compatible.
21            77.      Plaintiff Chisari chose to lease the Vehicle specifically because of its
22   infotainment system and because Defendant represented that the Vehicle would soon
23   feature Android Auto.
24            78.      None of the representations received by Plaintiff Chisari contained any
25   disclosure regarding any defect in the infotainment system. Nor did they disclose that
26   Android Auto would not be available for many months, if ever. Had Defendant
27   disclosed that the infotainment system in the Vehicle was defective, Plaintiff Chisari
28
     COMPLAINT                                  - 14 -
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 1   would not have leased it, or would have paid less for the Vehicle. Similarly, had
 2   Defendant disclosed that Android Auto would not be made available to purchasers for
 3   many months (if ever), Plaintiff Chisari would not have leased it, or would have paid
 4   less for the Vehicle.
 5            79.      Plaintiff Chisari began experiencing problems with the Vehicle’s
 6   infotainment system shortly after leasing the Vehicle. The screen frequently freezes,
 7   experiences delays, and displays error messages like “audio unavailable.” When she
 8   listens to music through the system’s USB port, the music frequently pauses and skips
 9   songs. The infotainment system controls on the steering wheel also frequently become
10   unresponsive. And when Plaintiff attempts to connect her iPod to the infotainment
11   system via USB, the screen displays “initializing” but a connection is never made.
12            80.      When Plaintiff Chisari previously called her dealer about these issues, it
13   advised her that she could bring the Vehicle in but “probably nothing could be done”
14   until a software fix is released.
15            81.      Plaintiff Chisari’s infotainment system’s display also remains in “day”
16   setting even at night. Plaintiff took the Vehicle to the dealer to address this issue. But
17   the supposed repair did not resolve it.
18            82.      When Plaintiff Chisari leased the Vehicle, she did so based on Defendant’s
19   representation that the infotainment system functioned and that a software update was
20   forthcoming that would make the Vehicle Android Auto compatible. It has been many
21   months since she leased the Vehicle and there has been no such update.
22            83.      Plaintiff Chisari has suffered an ascertainable loss as a result of
23   Defendant’s wrongful conduct associated with the infotainment system including, but
24   not limited to, overpayment and diminished value of the Vehicle.
25            7.       New York Plaintiffs.
26            84.      Plaintiff Michael Brumer is a citizen of New York residing in Bayside,
27   New York.
28
     COMPLAINT                                  - 15 -
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 1            85.      Plaintiff Brumer leased a 2019 Acura RDX in April 2019 from Paragon
 2   Acura.
 3            86.      Prior to leasing the Vehicle, Plaintiff Brumer researched the Vehicle
 4   online. He reviewed the Vehicle’s features on acura.com and watched various car
 5   reviews on YouTube.com. None of the websites contained any disclosure from
 6   Defendant regarding any defects associated with the infotainment system.
 7            87.      Because Plaintiff Brumer has an Apple phone, he was particularly
 8   interested in the Vehicle’s Apple CarPlay feature.
 9            88.      Plaintiff Brumer selected and ultimately leased the Vehicle, in part,
10   because of the features of the infotainment system, as represented by Defendant.
11            89.      None of the representations received by Plaintiff Brumer contained any
12   disclosure regarding any defects in the infotainment system. Had Defendant disclosed
13   that the infotainment system was defective, Plaintiff Brumer would not have leased it,
14   or would have paid less for the Vehicle
15            90.      Plaintiff Brumer started experiencing problems with the infotainment
16   system within days of leasing the Vehicle. For instance, the Apple CarPlay constantly
17   cuts out, and the heads up display turn by turn directions are frequently out of sync with
18   the primary navigation display. When Plaintiff Brumer makes phone calls, the call
19   recipient often cannot hear Plaintiff Brumer’s voice. And Plaintiff Brumer has found
20   that if he turns the Vehicle off when the infotainment system is playing satellite radio,
21   when he restarts the Vehicle it displays a “system function error.” When Plaintiff
22   Brumer is listening to Sirius radio, the toggle on the steering wheel does not change
23   stations. To correct the situation, he either has to restart the Vehicle or use the
24   display/touchpad to select two favorite Sirius stations. The toggle switch then works
25   and allows him to change stations.
26            91.      On May 29, 2019, Plaintiff Brumer took the Vehicle back to Paragon Acura
27   and spoke with a service representative who told him that there was nothing the dealer
28
     COMPLAINT                                 - 16 -
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 1   could do about the Apple CarPlay problems, but that the dealer “might” be able to fix
 2   the phone and audio problems. After spending two hours working on the Vehicle, the
 3   dealer returned it to Plaintiff Brumer. However, the “fix” did not work; the phone and
 4   audio problems returned two days later.
 5            92.      Plaintiff Brumer has suffered an ascertainable loss as a result of
 6   Defendant’s wrongful conduct associated with the infotainment system including, but
 7   not limited to, overpayment and diminished value of the Vehicle.
 8            93.      Plaintiff Dave Jahsman is a citizen of New York residing in Cazenovia,
 9   New York.
10            94.      Plaintiff Jahsman leased a 2019 Acura RDX in June 2018 from Crest
11   Acura.
12            95.      Prior to leasing the Vehicle, Plaintiff Jahsman researched the Vehicle and
13   its infotainment system online. Plaintiff Jahsman’s online research included reviewing
14   Acura’s website, caranddriver.com, and Edmunds.com, among other websites. None of
15   the websites contained any disclosure from Defendant regarding any defects in the
16   infotainment system.
17            96.      Plaintiff Jahsman selected and ultimately leased the Vehicle in substantial
18   part based on the features of the infotainment system, as represented by Defendant and
19   Defendant’s authorized dealer.
20            97.      None of the representations received by Plaintiff Jahsman contained any
21   disclosure regarding any defects in the infotainment system. Had Defendant disclosed
22   that the infotainment system in the Vehicle suffered from a defect that prevents the full
23   use of its features, Plaintiff Jahsman would not have leased it.
24            98.      Plaintiff Jahsman started experiencing various problems with the
25   infotainment system within days of leasing the Vehicle.             The system frequently
26   experiences delays, displays messages like “initializing,” “can’t read USB,” and “AM
27

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     COMPLAINT                                   - 17 -
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 1   loading.” Moreover, the Navigation system often gives directions that contradict the
 2   Heads-up Display.
 3            99.      Plaintiff Jahsman returned the Vehicle to the dealership many times to
 4   address issues with the infotainment system. On most of these visits, the dealership told
 5   him there was nothing it could do to fix the issue and instructed him to wait for a
 6   software update from Defendant.
 7            100. Frustrated by the numerous infotainment system problems, Plaintiff
 8   Jahsman dropped the Vehicle off at the service department on June 4, 2019 and told the
 9   service representative that he did not want the Vehicle back until the infotainment
10   system defects were fixed. When the dealership called Plaintiff Jahsman on June 15th
11   and told him that they were still waiting for Defendant to release a software update,
12   Plaintiff demanded that the dealership replace the defective Vehicle. The dealership
13   denied Plaintiff Jahsman’s request for a replacement Vehicle and told Plaintiff Jahsman
14   to call Defendant’s corporate office directly.
15            101. Plaintiff Jahsman had already tried to contact Defendant directly through
16   its toll-free 800 telephone number on multiple occasions. For instance, on or about July
17   18, 2018, Plaintiff Jahsman called and the customer service representative asked him
18   questions about issues he was encountering, assigned a case number, and said Defendant
19   would get back in touch with him. But Defendant never followed up with Plaintiff
20   Jahsman. So, Plaintiff called again, gave the customer service representative the same
21   information about issues he was encountering, and was told that a representative would
22   be contacting him. Again, nobody from Defendant returned Plaintiff Jahsman’s call.
23            102. Plaintiff Jahsman subsequently received a letter stating that Defendant had
24   tried to reach him but had the wrong phone number so his case had been closed. On July
25   31, 2018, Plaintiff Jahsman sent Defendant a letter setting forth his correct contact
26   information and documenting many defects. Plaintiff Jahsman also called customer
27   service to inform them to expect the letter. Defendant did not respond to the letter.
28
     COMPLAINT                                 - 18 -
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 1            103. On August 17, 2018, Plaintiff Jahsman again called Defendant’s customer
 2   service department, who said the case had been reopened and someone would get back
 3   to him within two business days. No one ever called.
 4            104. On November 9, 2018 Plaintiff Jahsman called Defendant for an update
 5   and to report numerous additional problems. After multiple calls without a call back
 6   Plaintiff finally reached an Honda representative on November 14. Plaintiff followed
 7   up with an email summery and photographic evidence that was requested. Once again
 8   Defendant did not respond. To date, Plaintiff Jahsman continues to experience regular
 9   infotainment system malfunctions.
10            105. On June 17, 2019, Plaintiff Jahsman called Defendant again to demand a
11   replacement Vehicle. Plaintiff Jahsman was assigned a case number. The following
12   day, a case manager called Plaintiff Jahsman to inform him that there is no solution for
13   the problems and Crest Acura had declined Plaintiff Jahsman’s request for a
14   replacement Vehicle and recommended that Plaintiff wait for a software update to be
15   released to fix the Vehicle’s infotainment system problems. The case manager could
16   not state when the software update would be released or even promise that the software
17   update would fix all of the infotainment system’s problems. The case manager also
18   declined Plaintiff’s request that Defendant document its current inability to fix the
19   infotainment system’s issues in writing.
20            106. Plaintiff Jahsman has suffered an ascertainable loss as a result of
21   Defendant’s wrongful conduct associated with the infotainment system including, but
22   not limited to, overpayment and diminished value of the Vehicle.
23            8.       North Carolina Plaintiffs.
24            107. Plaintiff John Bartholomew is a citizen of North Carolina residing in Apex,
25   North Carolina.
26            108. Plaintiff Batholomew leased a 2019 Acura RDX in September 2018 from
27   Leith Acura.
28
     COMPLAINT                                 - 19 -
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 1            109. Prior to leasing the Vehicle, Plaintiff Bartholomew was particularly
 2   interested in the Vehicle’s infotainment system and Apple CarPlay feature. Plaintiff
 3   Bartholomew discussed the infotainment system’s features at length with the dealer’s
 4   internet sales manager.
 5            110. Plaintiff Bartholomew selected and ultimately leased the Vehicle in
 6   substantial part based on the features of the infotainment system, as represented by
 7   Defendant and Defendant’s authorized dealer.
 8            111. None of the representations received by Plaintiff Bartholomew contained
 9   any disclosure regarding any defects in the infotainment system. Had Defendant
10   disclosed that the infotainment system in the Vehicle suffered from a defect that
11   prevents the full use of its features, Plaintiff Bartholomew would not have leased it, or
12   would have paid less for the Vehicle.
13            112. Plaintiff Bartholomew started experiencing various problems with the
14   infotainment system within days of leasing the Vehicle. The infotainment system
15   frequently freezes or crashes, rendering many of the Vehicle’s features inoperable. The
16   system is also slow to boot up, and the display screen is known to simply go black during
17   use. The infotainment system’s screen frequently displays errors, such as “radio
18   unavailable.”
19            113. Plaintiff Bartholomew estimates that he has stopped by his dealership
20   about 20 times to address issues with the infotainment system. On most of these visits,
21   the dealership told him there was nothing it could do to fix the issue and instructed him
22   to wait for a software update from Defendant. One time, the service department kept
23   the Vehicle for three days and replaced a part. But the infotainment system continues
24   to malfunction regularly.
25            114. When Plaintiff Bartholomew called the Defendant directly through its toll-
26   free 800 telephone number, he was told that there was a software update “coming” that
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     COMPLAINT                               - 20 -
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 1   would fix problems. To date, Plaintiff Bartholomew continues to experience regular
 2   infotainment system malfunctions.
 3            115. Plaintiff Bartholomew has suffered an ascertainable loss as a result of
 4   Defendant’s wrongful conduct associated with the infotainment system including, but
 5   not limited to, overpayment and diminished value of the Vehicle.
 6            116. Plaintiff Vimal Lawrence is a citizen of North Carolina residing in
 7   Greensboro, North Carolina.
 8            117. Plaintiff Lawrence leased a 2019 Acura RDX in October 2018 from Crown
 9   Acura Greensboro.
10            118. Prior to leasing the Vehicle, Plaintiff Lawrence researched the Vehicle and
11   its infotainment system online. He reviewed the Vehicle’s features on acura.com and
12   watched various car reviews on YouTube.com. None of the websites contained any
13   disclosure from Defendant regarding any defects associated with the infotainment
14   system.
15            119. The Vehicle’s infotainment system was a very important feature for
16   Plaintiff Lawrence. Plaintiff Lawrence required an infotainment system with easy
17   interfacing and no issues controlling navigation, audio, and telephone functions.
18            120. Plaintiff Lawrence owns an Android phone and wanted a car with Android
19   Auto compatibility. When Plaintiff Lawrence leased the Vehicle, the dealer assured
20   Plaintiff Lawrence that Android Auto would be made available “by the end of the year
21   [2018].” Plaintiff Lawrence also saw Defendant’s twitter feed stating that Android Auto
22   would be released “soon.”
23            121. Plaintiff Lawrence chose to lease the Vehicle because of its infotainment
24   system and because Defendant represented that the Vehicle would soon feature Android
25   Auto.
26            122. None of the representations received by Plaintiff Lawrence contained any
27   disclosure relating to any defect in the infotainment system. Nor did they disclose that
28
     COMPLAINT                               - 21 -
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 1   Android Auto would not be available for many months, if ever. Had Defendant
 2   disclosed that the infotainment system in the Vehicle was defective, Plaintiff Lawrence
 3   would not have leased it, or would have paid less for the Vehicle. Similarly, had
 4   Defendant disclosed that Android Auto would not be made available for many months
 5   (if ever), Plaintiff Lawrence would not have leased it, or would have paid less for the
 6   Vehicle.
 7            123. Plaintiff Lawrence began experiencing problems with the Vehicle’s
 8   infotainment system shortly after he leased the Vehicle. Occasionally, when Plaintiff
 9   Lawrence starts the Vehicle, the infotainment system stalls on a “loading” screen.
10   Usually the “loading” screen will disappear if Plaintiff Lawrence shuts the Vehicle off,
11   waits 10 seconds, and restarts the Vehicle. The infotainment system also often fails to
12   connect with Plaintiff Lawrence’s phone via Bluetooth. When Plaintiff Lawrence
13   attempts to change drive modes, the system displays an “option is not available” error
14   message. And occasionally the navigation system fails to recognize inputs from the
15   touchpad.
16            124. When Plaintiff Lawrence leased the Vehicle, he did so based on
17   Defendant’s representation that a software update was forthcoming that would make the
18   Vehicle Android Auto compatible. It has been many months since he purchased the
19   Vehicle and there has been no such update.
20            125. Plaintiff Lawrence has suffered an ascertainable loss as a result of
21   Defendant’s wrongful conduct associated with the infotainment system including, but
22   not limited to, overpayment and diminished value of the Vehicle.
23            9.       Pennsylvania Plaintiff.
24            126. Plaintiff Charles Denaro is a citizen of Pennsylvania residing in Glen Mills,
25   Pennsylvania.
26            127. Plaintiff Denaro purchased a 2019 Acura RDX in March 2019 from Piazza
27   Acura.
28
     COMPLAINT                                   - 22 -
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 1            128. Prior to purchasing the Vehicle, Plaintiff Denaro researched the Vehicle
 2   and its infotainment system online, including on acura.com. None of the websites
 3   contained any disclosure from Defendant regarding any defects associated with the
 4   infotainment system.
 5            129. The Vehicle’s infotainment system was a very important feature for
 6   Plaintiff Denaro.
 7            130. Plaintiff Denaro owns an Android phone and wanted a car with Android
 8   Auto compatibility. The dealer assured Plaintiff that Android Auto would be made
 9   available soon. Plaintiff Denaro subsequently called Defendant and was told that
10   Android Auto would be released in the summer 2019.
11            131. Plaintiff Denaro chose to purchase the Vehicle based in significant part on
12   its infotainment system and because Defendant represented that the Vehicle would soon
13   feature Android Auto.
14            132. None of the representations received by Plaintiff Denaro contained any
15   disclosure from Defendant regarding any defect in the infotainment system. Nor did
16   they disclose that Android Auto would not be available for many months, if ever. Had
17   Defendant disclosed that the infotainment system in the Vehicle was defective, Plaintiff
18   Denaro would not have purchased it, or would have paid less for the Vehicle. Similarly,
19   had Defendant disclosed that Android Auto would not be made available for many
20   months (if ever), Plaintiff Denaro would not have purchased it, or would have paid less
21   for the Vehicle.
22            133. Plaintiff Denaro began experiencing problems with the Vehicle’s
23   infotainment system within weeks of owning the Vehicle. The system frequently
24   experiences delays, displays messages like “initializing” and “still downloading,” and
25   refuses to disconnect phone calls. The system frequently fails to work when using the
26   USB port to play music through an iPod. Plaintiff Denaro’s navigation screen always
27   turns on in day mode at night and has to be manually switched to night mode each time.
28
     COMPLAINT                               - 23 -
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 1            134. When Plaintiff Denaro approached his dealer about these problems, he was
 2   told to contact Acura technical support. Plaintiff Denaro subsequently called Acura
 3   technical support, but they failed to fix the problems.
 4            135. When Plaintiff Denaro purchased the Vehicle, he did so based on
 5   Defendant’s representation that a software update was forthcoming that would make the
 6   Vehicle Android Auto compatible. It has been many months since he purchased the
 7   Vehicle and there has been no such update.
 8            136. Plaintiff Denaro has suffered an ascertainable loss as a result of
 9   Defendant’s wrongful conduct associated with the infotainment system including, but
10   not limited to, overpayment and diminished value of the Vehicle.
11            10.      Tennessee Plaintiff.
12            137. Plaintiff Adam Pryor is a citizen of Tennessee residing in Hermitage,
13   Tennessee.
14            138. Plaintiff Pryor leased a 2019 Acura RDX in January 2019 from Gary Force
15   Acura.
16            139. Prior to leasing the Vehicle, Plaintiff Pryor researched the Vehicle and its
17   infotainment system online. He reviewed the Vehicle’s features on acura.com and
18   watched various car reviews on YouTube.com. None of the websites contained any
19   disclosure from Defendant regarding any defects associated with the infotainment
20   system.
21            140. The Vehicle’s infotainment system was a very important feature for
22   Plaintiff Pryor.
23            141. Plaintiff Pryor owns an Android phone and wanted a car with Android
24   Auto compatibility. Plaintiff Pryor researched the Vehicle’s infotainment system on
25   Defendant’s website and recalls that it stated that the Vehicle features both Apple
26   CarPlay and Android Auto compatibility. Moreover, when Plaintiff Pryor leased the
27

28
     COMPLAINT                                - 24 -
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 1   Vehicle, the dealer assured Plaintiff Pryor that Android Auto would be made available
 2   in a “couple months.”
 3            142. Plaintiff Pryor chose to lease the Vehicle because of its infotainment
 4   system and because Defendant represented that the Vehicle would soon feature Android
 5   Auto.
 6            143. None of the representations received by Plaintiff Pryor contained any
 7   disclosure relating to any defect in the infotainment system. Nor did they disclose that
 8   Android Auto would not be available for many months, if ever. Had Defendant
 9   disclosed that the infotainment system in the Vehicle was defective, Plaintiff Pryor
10   would not have leased it, or would have paid less for the Vehicle. Similarly, had
11   Defendant disclosed that Android Auto would not be made available to purchasers for
12   many months (if ever), Plaintiff Pryor would not have purchased it, or would have paid
13   less for the Vehicle.
14            144. Plaintiff Pryor began experiencing problems with the Vehicle’s
15   infotainment system the first day he leased the Vehicle. The infotainment system
16   frequently freezes or crashes, rendering many of the Vehicle’s features inoperable. The
17   system is also slow to boot up, and the display screen is known to simply go black during
18   use. The backup camera is slow to appear on the screen when the Vehicle is put into
19   reverse, and often freezes rendering the backup camera non-operable. When an iPod is
20   plugged into the infotainment system via USB port, often the audio system plays a loud
21   high-pitched noise.
22            145. Plaintiff Pryor considers the infotainment system defect to be a safety
23   concern, because its various malfunctions distract the driver.
24            146. Plaintiff Pryor returned to the dealership a few days after leasing it to have
25   the dealer address the infotainment system malfunctions. The service manager told
26   Plaintiff Pryor that he had seen such malfunctions before in other Vehicles. The service
27   manager phoned Honda corporate and was told it is a “known issue” and that Defendant
28
     COMPLAINT                                 - 25 -
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 1   was “working on it.” The service manager kept the Vehicle overnight to “reset” the
 2   system. Plaintiff Pryor subsequently visited the help page on Defendant’s website and
 3   located instructions to “reset” the infotainment system himself. However, despite
 4   multiple attempts to fix the infotainment system by resetting, Plaintiff Pryor continues
 5   to experience frequent malfunctions.
 6            147. When Plaintiff Pryor purchased the Vehicle, he did so based on
 7   Defendant’s representation that a software update was forthcoming that would make the
 8   Vehicle Android Auto compatible. It has been many months since he purchased the
 9   Vehicle and there has been no such update.
10            148. Plaintiff Pryor has suffered an ascertainable loss as a result of Defendant’s
11   wrongful conduct associated with the infotainment system including, but not limited to,
12   overpayment and diminished value of the Vehicle.
13            11.      Texas Plaintiff.
14            149. Plaintiff Srikarthik Subbarao is a citizen of Texas residing in Little Elm,
15   Texas.
16            150. Plaintiff Subbarao leased a 2019 Acura RDX in February 2019 from
17   Vandergriff Acura.
18            151. Prior to leasing the Vehicle, Plaintiff Subbarao researched the Vehicle and
19   its infotainment system online, including acura.com, Edmunds.com, Carfax.com, and
20   internet forums. None of the websites contained any disclosure from Defendant relating
21   to any defects in the infotainment system.
22            152. However, Plaintiff Subbarao found several complaints posted by Vehicle
23   owners about the infotainment system malfunctioning.
24            153. The Vehicle’s infotainment system was a very important feature for
25   Plaintiff Subbarao.        Accordingly, Plaintiff Subbarao asked the sales manager at
26   Vandergriff Acura about the online complaints. The sales manager assured Plaintiff
27   Subbarao that there was nothing wrong with the Vehicle’s infotainment system.
28
     COMPLAINT                                - 26 -
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 1            154. Plaintiff Subbarao owns an Android phone and wanted a car with Android
 2   Auto compatibility. Before Plaintiff Subbarao leased the Vehicle, the dealer assured
 3   Plaintiff that Android Auto would be made available in “February 2019.”
 4            155. Plaintiff Subbarao chose to lease the Vehicle in significant part because of
 5   its infotainment system and because Defendant represented that the Vehicle would soon
 6   feature Android Auto.
 7            156. None of the representations received by Plaintiff Subbarao contained any
 8   disclosure regarding any defect in the infotainment system. Nor did they disclose that
 9   Android Auto would not be available for many months, if ever. Had Defendant
10   disclosed that the infotainment system in the Vehicle was defective, Plaintiff Subbarao
11   would not have leased it, or would have paid less for the Vehicle. Similarly, had
12   Defendant disclosed that Android Auto would not be made available to purchasers for
13   many months (if ever), Plaintiff Subbarao would not have purchased it, or would have
14   paid less for the Vehicle.
15            157. Plaintiff Subbarao began experiencing problems with the Vehicle’s
16   infotainment system the day he took delivery of the Vehicle. The system regularly
17   experiences delays, and encounters connection errors. And when Plaintiff Subbarao
18   attempts to connect a device to the infotainment system via USB, the screen displays
19   “initializing” but a connection is often never made. To correct the issue, Plaintiff
20   Subbarao must remove the USB and plug it back in, or if that does not work, reset the
21   entire system. The navigation system also frequently loses his position and provides
22   erroneous driving directions.
23            158. Plaintiff Subbarao considers the infotainment system defect to pose a
24   safety concern, because its various malfunctions distract the driver.
25            159. Plaintiff Subbarao dropped the Vehicle off at McDavid Acura in May 2019
26   to address the infotainment system problems. When Plaintiff Subbarao picked the
27   Vehicle back up four days later, the system continued to malfunction. Plaintiff Subbarao
28
     COMPLAINT                                - 27 -
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 1   returned back to the dealership and had the technician drive the Vehicle to confirm that
 2   none of the issues had been resolved. Two weeks later, Plaintiff Subbarao got a phone
 3   call from the service manager, who said that he had contacted Defendant and that it is
 4   “working on” a fix for the infotainment system defect, and that a software defect is
 5   “coming.”
 6            160. When Plaintiff Subbarao leased the Vehicle, he did so based on
 7   Defendant’s representation that a software update was forthcoming that would make the
 8   Vehicle Android Auto compatible. It has been many months since he purchased the
 9   Vehicle and there has been no such update.
10            161. Plaintiff Subbarao has suffered an ascertainable loss as a result of
11   Defendant’s wrongful conduct associated with the infotainment system including, but
12   not limited to, overpayment and diminished value of the Vehicle.
13            12.      Virginia Plaintiffs.
14            162. Plaintiff Eric Faden is a Virginia citizen residing in Roanoke, Virginia.
15            163. Plaintiff Faden purchased a 2019 Acura RDX in February 2019 from
16   Duncan Acura.
17            164. Prior to purchasing the Vehicle, Plaintiff Faden was considering competing
18   vehicles from BMW, Toyota, Ford, and Dodge.
19            165. Plaintiff Faden researched the Vehicle and its infotainment system online
20   — including acura.com — before deciding to purchase the Vehicle. None of the
21   websites contained any disclosure from Defendant relating to any defects in the
22   infotainment system.
23            166. The Vehicle’s infotainment system was a very important feature for
24   Plaintiff Faden.
25            167. Plaintiff Faden owns an Android phone and wanted a car with Android
26   Auto compatibility. Before Plaintiff Faden purchased the Vehicle, the dealer assured
27   Plaintiff that Android Auto would be made available “soon.” Plaintiff Faden received
28
     COMPLAINT                                - 28 -
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 1   similar assurances from Defendant on twitter and on internet forums where Vehicle
 2   owners’ shared what Defendant and Defendant’s dealers had told them. However, after
 3   Plaintiff purchased the Vehicle, he noticed that references to Android Auto began
 4   disappearing from Defendant’s website and marketing materials.
 5            168. Plaintiff Faden chose to purchase the Vehicle because of its infotainment
 6   system and because Defendant represented that the Vehicle would soon feature Android
 7   Auto.
 8            169. None of the representations received by Plaintiff Faden contained any
 9   disclosure regarding any defect in the infotainment system. Nor did they disclose that
10   Android Auto would not be available for many months, if ever. Had Defendant
11   disclosed that the infotainment system in the Vehicle was defective, Plaintiff Faden
12   would not have purchased it, or would have paid less for the Vehicle. Similarly, had
13   Defendant disclosed that Android Auto would not be made available for many months
14   (if ever), Plaintiff Faden would not have purchased it, or would have paid less for the
15   Vehicle.
16            170. Plaintiff Faden began experiencing problems with the Vehicle’s
17   infotainment system three days after purchasing the Vehicle. The screen frequently
18   freezes, experiences delays, and encounters connection errors. The navigation system
19   frequently crashes, loses his position, and provides erroneous driving directions.
20            171. Plaintiff Faden considers the infotainment system defect to be a safety
21   concern, because its various malfunctions distract the driver.
22            172. Plaintiff Faden visited the help page on Defendant’s website and found
23   instructions to “reset” the infotainment system. Plaintiff Faden followed the instructions
24   but continues to experience frequent malfunctions.
25            173. When Plaintiff Faden purchased the Vehicle, he did so based on
26   Defendant’s representation that a software update was forthcoming that would make the
27

28
     COMPLAINT                               - 29 -
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 1   Vehicle Android Auto compatible. It has been many months since he purchased the
 2   Vehicle and there has been no such update.
 3            174. Plaintiff Faden has suffered an ascertainable loss as a result of Defendant’s
 4   wrongful conduct associated with the infotainment system including, but not limited to,
 5   overpayment and diminished value of the Vehicle.
 6            175. Plaintiff Hamilton Hines is a citizen of Virginia residing in McLean,
 7   Virginia.
 8            176. Plaintiff Hines purchased a 2019 Acura RDX in February 2019 from
 9   Pohanka Acura.
10            177. Prior to purchasing the Vehicle, Plaintiff Hines researched the Vehicle and
11   its infotainment system online. Plaintiff Hines recalls visiting Acura.com,
12   cars.usnews.com, jdpower.com, cars.com, and other internet sources. None of the
13   websites contained any disclosure from Defendant regarding any defects in the
14   infotainment system.
15            178. The Vehicle’s infotainment system was the “main reason” Plaintiff Hines
16   decided to purchase the Vehicle. Plaintiff Hines is a travelling salesman and believed
17   that the Vehicle’s advanced infotainment system features would assist Plaintiff Hines
18   conduct work on the road.
19            179. None of representations received by Plaintiff Hines contained any
20   disclosure regarding any defects in the infotainment system. Had Defendant disclosed
21   that the infotainment system in the Vehicle was defective, Plaintiff Hines would not
22   have purchased it, or would have paid less for the Vehicle.
23            180. Plaintiff Hines experienced problems with the infotainment system within
24   the first couple days after owning the Vehicle. The system periodically freezes —
25   rendering all controls inoperable — and the screen randomly turns black. The system
26   is abnormally slow to boot up. Navigation is sufficiently slow that Plaintiff Hines no
27   longer uses it. The backup camera is abnormally slow to appear on the screen when the
28
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 1   Vehicle is put into reverse. When Plaintiff Hines makes phone calls, the call recipient
 2   often cannot hear Plaintiff Hine’s voice. When listening to music through a device
 3   attached to the USB port, the audio frequently skips and disconnects.
 4            181. Plaintiff Hines’ dealer subsequently replaced the infotainment system
 5   under warranty, but the problems persist. According to the service record, Defendant is
 6   aware of the issue and working on a software fix, but that no fix is currently available.
 7            182. Plaintiff Hines has contacted Defendant on many occasions regarding the
 8   infotainment system defect and Defendant refuses to buy the Vehicle back from Plaintiff
 9   Hines pursuant to Virginia’s lemon law. According to a letter Plaintiff Hines received
10   in response to his lemon law request, “American Honda Motor Co. recognizes that
11   comfort and convenience features can be part of the ownership experience and is
12   currently developing a product update to address the infotainment contention you had
13   experienced. Your servicing dealer ship will make you aware once the update is made
14   available.”
15            183. Plaintiff Hines has suffered an ascertainable loss as a result of Defendant’s
16   wrongful conduct associated with the infotainment system including, but not limited to,
17   overpayment and diminished value of the Vehicle.
18   B.       Defendants
19            184. Defendant American Honda Motor Company, Inc. is a California
20   corporation, and is a North American subsidiary of Honda Motor Company, Ltd.
21   Defendant is headquartered in Torrance, California and maintains central operations in
22   California.
23            185. Defendant first opened in the United States as a storefront selling Honda
24   motorcycles in Los Angeles, California in 1959. By 1968, Defendant had sold its
25   millionth motorcycle. Starting in 1969, Defendant began marketing and selling
26   automobiles, with its operations still centered in California.
27

28
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 1            186. By 1991, Defendant added production to its U.S. operations and oversaw
 2   all aspects of production, including research and development, from its headquarters in
 3   California. As a center point of Honda’s global operations, Defendant made nearly $2
 4   billion in capital investments in California and exported hundreds of millions of dollars
 5   in vehicles and other technology from its exclusive port facilities on the West Coast, at
 6   Port Hueneme, California, in 2015.
 7            187. In 1986, Defendant created its first luxury name marque, Acura. By 2006,
 8   Defendant established research and development facilities dedicated solely to its
 9   vehicles in Torrance, California with related facilities dedicated solely to the creation of
10   “future Honda and Acura automobile and mobility design concepts” in downtown Los
11   Angeles, California.
12            188. From its headquarters in Torrance, Defendant combines product sales,
13   service, and coordinating functions for Honda in North America, and is responsible for
14   the manufacture, development, distribution, marketing, sales, and servicing of Acura-
15   brand automobiles. The decisions regarding the marketing and sale of the infotainment
16   system, and decisions regarding the disclosure or non-disclosure of the defect were in
17   whole or substantial part made by Defendant in California and were purposefully
18   emanated by Defendant in California.
19            189. In this Complaint, when reference is made to any act, deed or conduct of
20   Defendant or Honda, the allegation means that Defendant engaged in the act, deed or
21   conduct by or through one or more of its officers, directors, agents, employees, or repre-
22   sentatives who was actively engaged in the management, direction, control, or
23   transaction of the ordinary business and affairs of Defendant.
24            190. Honda sells cars in part via communications that it authorized its dealers
25   to make about Honda vehicles, including the defective Vehicles discussed herein. This
26   includes authorizing Honda dealers to distribute brochures and other marketing and
27

28
     COMPLAINT                               - 32 -
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 1   promotional material.          Honda, through its authorized dealers, has and had the
 2   opportunity to disclose all material facts relating to the defective Vehicles.
 3                                  IV.   FACTUAL ALLEGATIONS
 4   A.        The Infotainment System
 5             191. The Acura RDX is a perennial top seller in the premium compact SUV
 6   segment with cumulative U.S. sales exceeding 370,000 units since its debut in 2006.
 7             192. The current, third generation of the Acura RDX was released in June 2018
 8   (2019 model year).
 9             193. According to Defendant’s website, the “all-new RDX” was redesigned to
10   be “more luxurious,” featuring a “driver-focused cabin and groundbreaking
11   technology.”5
12             194. These Vehicles are equipped with a suite of advanced new technologies,
13   including an all-new infotainment system featuring an Android-based operating system,
14   a high-mounted 10.2-inch full-HD display, and a touchpad (“Acura True Touchpad
15   Interface”) with the first-ever application of absolute-positioning in a driving
16   environment.           According to Honda, absolute positioning departs from traditional
17   touchpad interfaces by using one-to-one mapping to deliver a more intuitive and driver-
18   oriented user experience. This system replaced the infotainment system from the second
19   generation RDX, which featured two screens controlled by a combination of direct
20   touch, buttons, and a dial.
21             195. As previously discussed, the infotainment system plays a critical role in
22   modern vehicles.           It is the gateway between the user and the Vehicle’s safety,
23   navigation, communications, entertainment features. Among other operations, the
24   Vehicles’ infotainment system allows the Vehicle owner to operate the audio systems
25   in the Vehicle; use the GPS navigation technology; operate the backup camera; and
26   operate a Bluetooth-enabled mobile telephone or other device.
27
          5
28
              https://www.acura.com/2019/rdx (last accessed June 20, 2019).

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     B.       The Infotainment System Does Not Function As Represented
 1
              196. The Vehicles’ infotainment system contains a defect that causes many of
 2
     the Vehicles’ features (e.g., the navigation system, audio system, backup camera) to
 3
     frequently malfunction.
 4
              197. Because the Vehicles’ infotainment systems are responsible for a wide
 5
     variety of vehicle functions (including navigation, audio, video, handsfree phone,
 6
     backup cameras, etc.), the defect causes a wide range of problems for the Vehicles. For
 7
     instance, the defect can cause the entire center console to freeze or lag while the Vehicle
 8
     is in motion, thereby posing a substantial distraction to the driver. The defect is also
 9
     known to cause the infotainment system to remain on even when the Vehicle is turned
10
     off, thereby draining the Vehicle’s battery and rendering the Vehicle inoperable.
11
              198. These problems pose a safety risk because when the system malfunctions,
12
     unexpected audio or video — or a blank or blue infotainment screen — can cause the
13
     driver to become distracted.         Indeed, even under the best of conditions when
14
     infotainment-type systems are working properly, using them can create dangerous
15
     distractions.
16
              199. It is the practice of car manufacturers to monitor online complaints.
17
     Countless complaints6 have been posted online regarding the infotainment problems:
18

19                  “Almost EVERY single day I have an issue with this infotainment
                     system. Radio unavailable. Tuner not found, Messages shriek.
20                   Yesterday it was ‘Device not connected’ which I have had before. It’s
21                   the one that makes me laugh because I get it and yet my phone has
                     connected and is streaming music by bluetooth. Never had a phone call
22                   come through while I’ve had this message so perhaps that it what it is
23                   referring to. Usually I can get rid of it but shutting down the car,
                     opening the door, closing it, and then restarting. But not yesterday.
24                   Message was there for a full 25 minutes while driving to an
25                   appointment….” (Complaint posted on acurazine.com dated October
                     27, 2018).
26
          6
27      All typographical errors contained in the consumer complaints quoted in this
28
     Complaint are from the original. All emphasis is added.

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 1
                    “Then it was the Infotainment system. It regularly locks up when trying
 2                   to change stations regardless of the fact that Acura has sent over the air
 3                   updates to try to address the issue. Having worked in technology for
                     over 30 years, I can tell you that in my opinion, Acura skimped on the
 4                   processor and ram that is badly needed to make this system work the
 5                   way it should.” (Complaint posted on Edmunds.com dated March 22,
                     2019).
 6
                    “Everything went black including the instrument cluster. Then it
 7
                     started flashing the whole way home. Shutting off and restarting didn’t
 8                   help. Already had the infotainment system replaced and it still doesn’t
                     work right, among all the other issues I’ve had. I’m at my breaking
 9
                     point with this POS.” (Complaint posted on acurazine.com dated March
10                   12, 2019).
11
                    “It seems like each day I get a new infotainment error. Now my tuner
12                   wouldn’t change from FM to XM and multiple times the navigation
                     route failed. If next weeks update doesn’t fix all these issues I’m
13
                     reaching my breaking point with this car” (Complaint posted on
14                   acurazine.com dated December 8, 2018).
15
                    “Car Play navigation started periodically freezing up and became
16                   frequently slow to launch or didn’t launch at all (giving an ‘unavailable’
                     notice) or crashing after a loud sound at unpredictable and awkward
17
                     times. Sometimes it would start up again the next day, sometimes
18                   simultaneously disabled the Acura nav and radio at the same time,
                     annoying on long stretches of highway.” (Complaint posted on
19
                     Edmunds.com dated February 8, 2019).
20
                    “We’ve only had this car about three weeks, and so far this is the first
21                   new car purchase I’ve ever considered trying to find my way out of….
22                   The infotainment system in this car is garbage. It crashes from time
                     to time, the Nav system is antequated…. The radio will just say
23                   ‘loading’ on startup sometimes. Requiring the power to by cycled.
24                   Sound is very inconsistent from source to source. Strange digital pops
                     when talking over BT. Everyday it’s something new. All of this is
25
                     while using Apple Car Play or an Android phone paired of BT. With
26                   some research, I’ve found many reporting the same issues. To top it off,
                     dealers are helpless as there’s no way for them to fixed this. This isn’t
27
                     new technology. Just new in this car, and regardless of price point it’s
28
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 1
                       shameful that it operates so poorly.” (Complaint posted on
                       Edmunds.com dated November 3, 2018).
 2
                    “Don’t buy this vehicle!! I have had more problems with this car than
 3
                     any other previous vehicle. The navigation system seems to do it’s own
 4                   thing from time to time. I recently tried to use Apple Carplay which
                     was working for about 4 days before it completely stopped working and
 5
                     messed up the system. I turned off the vehicle which left my screen on.
 6                   I rebooted the system and now my radio will not even work.”
                     (Complaint posted on Edmunds.com dated May 17, 2019).
 7

 8                  “My screen freezes and fails all the time. To protect myself I started
                     videoing all the noises and issues.” (Complaint posted on
 9                   Edmunds.com dated March 27, 2019).
10            200. Notably, these Complaints demonstrate that the infotainment system defect
11   manifests almost immediately upon purchasing the Vehicle:
12              “Enjoyed it while I had it, but after driving less than 25 miles and
                  owning for under 3 hours, the Infotainment center flashed between
13
                  the home screen and ‘touchpad is not available.’ After restarting, the
14                Infotainment center screen was completely dead. Volume/power
                  button on console didn’t work. Now in a loaner while dealer diagnoses
15
                  the problem. Highly disappointed with Acura quality control as this is
16                not an isolated incident.” (Complaint posted on Edmunds.com dated
                  July 25, 2018).
17

18                   “Wanted to add my experience with this - the day after we bought my
                      wife’s RDX we were driving using carplay/apple podcast and heard a
19
                      small *zap* noise and the audio portion of the infotainment stopped
20                    working. We could still use the car’s nav system, but every audio
                      source said unavailabe. We couldn’t turn the radio off either - pulled
21
                      over, stopped, opened doors and the screen still stayed on. Got done
22                    with our drive and disconnected and reconnected negative battery
                      terminal and that did the trick to turn it off and get it turned back on
23
                      and working again.” (Complaint posted on acurazine.com dated
24                    September 6, 2018).
25                  “I’ve had the vehicle only a couple of weeks and I’m already regretting
26                   my purchase. It is fun to drive, but I’ve had several issues. On my
                     second day, Apple CarPlay wouldn’t work. Then after pairing my
27
                     iPhone X to the Bluetooth, my contacts were not available. (Complaint
28                   posted on Edmunds.com dated September 2, 2018).
     COMPLAINT                                  - 36 -
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 1
                    “This happened to me yesterday after just 1 week with our new RDX.
 2                   The dealership didn’t know anything about this issue. Surprise!”
 3                   (Complaint posted on acurazine.com dated November 30, 2018).

 4            201. According to many consumers, the infotainment system defect renders the
 5   Vehicles unsafe to drive.
 6             “I traded in my leased 2016 RDX (which I absolutely loved) for the
                 2019 after seeing all the cool new features, especially the new Info
 7
                 system. I hate to say it but I have had nothing but problems since
 8               driving it off the lot back in March. The whole screen freezes on a
                 regular basis.... It’s very distracting as its totally unexpected. I
 9
                 usually try to play with it trying to get it to work again...NOT
10               SAFE...as I am not watching the road, The last time I took it to the
                 dealer they showed me how to reset it by pulling the fuse out and
11
                 plugging it back in. It’s crazy that this is the solution for a $40,000 car.
12               I tried contacting Acura and they said all I can do is keep bringing it in
13
                 to the dealer until there is a recall...which isn’t guaranteed. Really?”
                 (Complaint posted on Edmunds.com dated May 21, 2019).
14

15                  “I have had the Infotainment issues on the 2019 RDX since I took
                     delivery July 3rd. It’s been highly distracting and at times
16                   dangerous.… So they are replacing the whole infotainment system
17                   supposedly tomorrow. But it leads me to think, Honda/Acura has taken
                     almost 9 months to rectify the problem. Shouldn’t we as Owners or
18                   Lessees qualify for some amount of consideration or compensation as
19                   an important part of the car has not worked for 8-9 months? Thoughts
                     re a Class Action suit?” (Complaint posted on acurazine.com dated
20                   March 11, 2019)
21
                    “I had nothing on computer screen. It’s now working again but frequent
22                   messages of LOADING which takes several minutes or FUNCTION
23                   NOT NOT AVAILABLE with steering wheel controls. Often I drive
                     miles with no access to screen as it spins. …. Car been in shop several
24                   days. I’m afraid to drive too far from home for fear screen will go out
25                   again …. (Complaint posted on Edmunds.com dated November 4,
                     2018).”
26

27                  “Technology systems experience random failures, at various times
                     sometimes when driving. Functionality can sometimes be restored by
28
     COMPLAINT                                 - 37 -
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 1
                       stopping the car and restarting the engine. Sometimes the vehicle must
                       sit for hours with engine off to restore functionality. System failures
 2                     include dashboard lighting, vehicle display screen, and heads-up
 3
                       display. Numerious dealer visits have provided no solution till today
                       when I was informed that that this is a software issue and that a software
 4                     vehicle update is required. However this is not available, has not been
 5                     available for around since November 2018 when I bought my car and
                       no timeline has been offered for this update. I regard this as a safety
 6                     and driver distraction issue that can lead to collisions. Acura needs to
 7                     place a higher priority on this issue in order to provide owners with a
                       safer driving environment.” (Complaint posted on Edmunds.com
 8                     dated February 14, 2019).
 9   C.       Defendant Knew of the Infotainment System Defect Before Plaintiffs
              Purchased and/or Leased the Vehicles
10
              202. Defendant has long known or should have known of the Vehicles’
11
     infotainment system problems from multiple sources. These sources include pre-release
12
     design, manufacturing, and testing data; warranty claims data; consumer complaints
13
     made directly to Defendant, collected by NHTSA, and/or posted on public online
14
     forums; testing done in response to those complaints; aggregate data and complaints
15
     from authorized dealers; and other sources. Yet, Defendant failed to disclose and
16
     actively concealed the Vehicles’ infotainment system defect from the public, and
17
     continued to manufacture, distribute, and sell the Vehicles. Defendant continues to fail
18
     to disclose and actively conceals this defect from consumers prior to purchase or lease.
19

20
              1.       Pre-Release Design, Manufacturing, and Testing Data

21
              203. It is standard practice for automobile manufacturers to engage in extensive

22
     pre-launch testing of its vehicles. Honda did so for the defective Vehicles and tested

23
     the operation of the infotainment systems prior to selling the defective Vehicles. Given

24
     the immediacy and frequency of consumer complaints about the infotainment system

25
     contained in the defective Vehicles, it is apparent that Honda knew about the defect

26
     before the defective Vehicles were sold or leased.

27
              204. Moreover, during the decision-making process of switching from the

28
     previous-generation’s dual-screen infotainment system controlled by a combination of

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 1   direct touch, buttons, and a dial to the new single high definition 10.2-inch display
 2   system controlled by a touchpad, Honda necessarily would have gained comprehensive
 3   and exclusive knowledge about the defect contained in the infotainment system. Such
 4   knowledge would necessarily include: the basic programming principles behind the
 5   system; the forces and stresses the system faces in normal use; the cumulative wear on
 6   the system caused by use, age, and environmental factors; and how using different
 7   designs affect the performance of the system. This design, engineering, and testing data
 8   is unavailable to Plaintiffs without discovery, but upon information and belief, analysis
 9   of this data would have revealed that the infotainment system design was insufficient
10   for its intended use and would malfunction frequently.
11            2.       Warranty Claims Data
12            205. Honda also knew or should have known about the infotainment system
13   defect based on the large number of warranty repairs made immediately upon the
14   Vehicles’ launch.
15            206. Upon information and belief, Honda regularly compiles and analyzes
16   detailed warranty service information regarding repairs performed under warranty at its
17   network of dealerships. Indeed, Honda requires dealers to maintain detailed and
18   meticulous records for any warranty repairs performed and routinely refuses to pay for
19   warranty repairs made where the nature and cause of the malfunction is insufficiently
20   described.
21            207. Upon information and belief, these dealer service records and warranty
22   data reflect an abnormally large spike in infotainment system failures immediately
23   following the launch of the Vehicles in the summer of 2018.7
24

25
         7
         While these service records and warranty data no doubt reflect a large spike, these
26
     records will vastly underreport the incidents involving the defect because many Honda
27   dealers routinely tell Vehicle owners not to bring their Vehicle to the dealership
28
     because there is nothing they can do to address the defect.

     COMPLAINT                                - 39 -
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 1            208. As documented by widespread consumer complaints, this defect has
 2   plagued the infotainment system since its launch. Consumers began posting furious
 3   complaints on the internet shortly after the Vehicles first went on sale. For example,
 4   one consumer posted the following complaint on June 20, 2018—just hours after
 5   purchasing the Vehicle and days after the 2019 Acura RDX first went on sale to the
 6   public:
 7                  “Just bought our new 2019 RDX less than 24 hours ago and am
                     having an issue with the infotainment system. We were driving on the
 8                   highway using spotify through apple carplay and the system suddenly
 9                   disconnected from carplay. When we went to reconnect it display a
                     message stating it could not perform that function while in
10                   motion...okay so we pulled over shut the car off and noticed the system
11                   did not power off. Turned the car back on and tried other functions,
                     both the radio and statelite radio displayed ‘could not connect’ or ‘tuner
12                   unavailable’. We’ve called the dealership and they are going to check
13                   it out in the morning, in the meantime I am not sure what to do as it is
                     sitting in my driveway with the infotainment system powered on,
14                   hopefully it won’t the battery overnight.” (Complaint posted on
15                   acurazine.com dated June 20, 2018).

16            209. The consumer posted a follow-up message the next day, explaining that his

17   Acura dealer was unable to “figure out” what happened:

18                  “Just to update, the dealer wasn’t able to figure out what caused the
                     issue with the infotainment system. Their resolution was to disconnect
19                   the battery to ‘fix’ the problem. I’m just hoping it doesn’t happen
20                   again.” (Complaint posted on acurazine.com dated June 21, 2018).

21
              210. Since then, countless Vehicle owners have explained online that they had

22
     taken their Vehicles to their dealers in response to the infotainment system problems:

23                  “Woke up and the radio was still on! Battery didn’t die though. Will
24                   head to dealership this weekend.” (Complaint posted on acurazine.com
                     dated August 1, 2018).
25

26                  “This is why mine has been in service for two weeks today. To get
                     Acura to acknowledge all of the issues including this one.” (Complaint
27
                     posted on acurazine.com dated September 4, 2018).
28
     COMPLAINT                                  - 40 -
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 1                  “This just happened to me too. Dropped it off at the dealer…. Was
                     driving with iPhone plugged in via CarPlay. Car made a high pitched
 2                   beep noise and all audio stopped. SiriusXM says ‘tuner error’, FM radio
 3                   won’t play, Bluetooth won’t recognize devices. Also, when scrolling
                     through the settings, some of them are greyed out, and when I try to
 4                   select them, the car says ‘this is not available while in motion’.”
 5                   (Complaint posted on acurazine.com dated October 23, 2018).

 6                  “I cannot begin to tell you how much I regret my decision to buy my
 7                   2019 RDX (Technology package). What was ‘love at first sight’ has
                     turned into a ‘hate at first month’ experience.… Infotainment
 8                   system not working — I would get the blue disclaimer screen that
 9                   would stay on at all times even when I stopped and locked the car. My
                     husband had to pull a fuse so my battery doesn’t die overnight. I have
10                   also had the infotainment screen go completely blank for days. I’ve
11                   taken my car in twice for this issue and they still don’t have a
                     permanent fix. The Service Manager even joked and told me that if it
12                   happens again at least I know which fuse to pull. Excuse me, I did not
13                   pay an arm and a leg for a car to pull a fuse at 1,500 miles, this is not
                     what I signed up for.” (Complaint posted on Edmunds.com dated
14                   February 5, 2019).
15
                    “This car is haunted! The software needs so much improvement, and
16
                     the dealership says they can’t do a thing. The radio comes on at will
17                   and often will not allow me to change channels. Sometimes I can make
                     phone calls, sometimes not…. All infotainment features work when
18
                     they want to. Sometimes I have no contact list and sometimes the car
19                   tells me it cannot perform the request, like make a phone call. It is
                     driving me crazy; I am always waiting for the next shoe to drop. I have
20
                     had it about 6 months and plan to trade it after a year. …. Every day it
21                   is something..................save your money and buy a decent car!”
                     (Complaint posted on Edmunds.com dated March 30, 2019).
22

23                     “I just bought a new RDX ten days ago, and Apple Carplay started on
                       the first try as the salesman reviewed the car, but since than it usually
24                     does not connect. Took it in yesterday to the dealer and they got it
25                     working with their i-phone 6, but took a few tries to get my i-phone X
                       to work. I’m going crazy trying to get Carplay to work. Is there a
26                     reliable fix?” (Complaint posted on acurazine.com dated October 27,
27                     2018).
28
     COMPLAINT                                   - 41 -
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 1                  “The dealers know nothing and everyone is awaiting an update from
                     Acura. No one can fix it at this time.” (Complaint posted on
 2                   acurazine.com dated November 18, 2018).
 3
                       “Team, we are unfortunately at the mercy of Acura. I went by my
 4                     dealer today and spoke with the GM and the Service manager. The
                       SM told me that even the regional service rep from Acura had issues
 5
                       with his RDX. They have fixes in the works, but will not commit to any
 6                     time frame. So sad.” (Complaint posted on acurazine.com dated
                       January 20, 2019).
 7

 8                  “My vehicle is hardly 6 months old and the infotainment stop working
                     3 times with 6000+ miles. The dealer mechanic doesn’t bother bring
 9
                     the vehicle into the shop, they come out, disconnect the battery for a
10                   minute or two then reconnect the battery and the system is back on.
                     Next time that happens, I would ask the service manager to document
11
                     it.” (Complaint posted on Carcomplaints.com dated January 30, 2019).
12
                    “This happened to me over the weekend. While driving, i had my phone
13                   connected to Apple CarPlay. I heard a loud beep and all audio functions
14                   stopped working. Additionally, the screen would not turn off once I got
                     out and locked the car. I did a reset and that fixed the issue of the screen
15                   not turning off. I Took the car to the dealership this Monday where
16                   they were basically in the phone with Tech from Acura all day.
                     Finally, they just disconnected the battery and connected it again. This
17                   is a temporary fix.” (Complaint posted on February 19, 2019).
18
                    “So mine has been freezing locking up since Sept of 2018 Dealers
19                   can’t figure it out just wait for the next update and it will be fixed here
20
                     we are April 2019 still having the same issue. I was using my
                     navigation using carplay as we were going out of town on a trip and
21                   2hrs into the drive the system locked up in the middle of nowhere luckly
22
                     for me my iphone xs kept navigating even though the system in the
                     RDX was frozen and guess what message popped up yeppers ‘Android
23                   system issue failure’…”(Complaint posted on acurazine.com dated
24
                     April 23, 2019).

25                  “I have had my RDX for about a month and have issues. Yesterday I
                     was getting an error saying Audio not available. After turning the car
26
                     off several times it finally came back. The navigation will not go dark
27                   at night. The dealership kind of fixed it, guy didn’t really know much,
                     but then it was going dark sporadically throughout the day. Which
28
     COMPLAINT                                   - 42 -
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 1
                       was more annoying. When I change songs or stations it often freezes
                       or skips programmed stations. No idea what’s going on. Hopefully we
 2                     can get some answers.” (Complaint posted on acurazine.com dated
 3
                       April 28, 2019).

 4            211. The complete warranty repair data regarding the infotainment systems
 5   repeated failures put Honda on notice of the defect.
 6
              3.       Complaints Made Directly to Honda
 7
              212. Honda also knew or should have known of the defect contained in the
 8
     infotainment system based on the numerous complaints it received directly from
 9
     customers. The large number of complaints, and the consistency of their descriptions
10
     of the infotainment system failures, alerted Honda of the defect.
11
              213. Only Defendant has access to the full universe of complaints it received
12
     regarding the infotainment system. However, upon information and belief, many
13
     Vehicle owners who experienced the defect present in the infotainment system
14
     complained to Honda. Customer complaints posted online reflect that Honda received
15
     many such customer complaints directly from Vehicle owners:
16
                    “Had my RDX for 2 weeks - today my wife used it and when she came
17                   home she said the infotainment system was not working. It just kept
                     repeating the circle / starburst pattern and would not boot.
18
                     Disconnecting positive battery cable did not fix it. Pulled the #37 15A
19                   fuse [audio] and re-inserted, and then the system booted, and somehow,
                     all the settings were still saved? Lucky this time, but I am afraid this
20
                     will happen again. Acura corporate stated I had to bring the car to the
21                   dealer to ‘reset’ it, but it is over a holiday weekend and we need the
                     car. Hopefully, there is a fix that can be downloaded in the future to
22
                     prevent this?” (Complaint posted on acurazine.com dated August 31,
23                   2018).
24
                    “My brand new rdx has been at the dealer now three weeks, i drove it
25                   three days....after the infotainment system started going black
26
                     repeatedly...see my post. Now after replacing infotainment sysytem
                     control module...and test driving it for four days...it is doing it again.
27                   Now dealer calls and they are replacing the entire screen itself....and i
28
                     expect it will be another 5 days before i know if that works... have

     COMPLAINT                                  - 43 -
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 1
                       calked acura and filed a complaint and opened a case....if this does
                       not fix the issue i will start a lemon law claim. Acura padt the initial
 2                     sympathy first call has not gotten back to me as to what they intend to
 3
                       do....” (Complaint posted on acurazine.com dated November 30, 2018).

 4                  “I purchased one of the first RDXs in June. While the interior and
                     exterior look nice, there are countless electronic issues. I have spent
 5
                     hours working with the dealer and Acura corporate. It was a lesson
 6                   learned the hard way to not purchase a newly released vehicle. The
                     steering wheel controls don’t always work, the monitor had outages and
 7
                     it does not work in the cold weather. They claim these issues may be
 8                   fixed with system update 2 but after waiting months for the first update
                     (and it didn’t fix all the issues), I’m not holding my breath. Wait until
 9
                     next year, this one is not worth it.” (Complaint posted on Edmunds.com
10                   dated February 1, 2019).
11
                    When starting the car or turning on the XM Radio, the monitor indicates
12                   that it is ‘loading’ This can load for 3 to 5 minutes before the XM Radio
13
                     controls are functional. I consider this to be a defect as the radio is not
                     operating what most users would consider to be normal. I first talked
14                   to the dealer. The dealer confirmed that this was a wide spread
15
                     problem. The dealer said is was a know problem and that Acura had
                     not issued a fix or any infomration on if or when a fix was coming. I
16                   wrote to Acura to share with them that I was not satisfied with the
17
                     operation of the XM Radio. Today Acura Client Relations responded
                     after a considerable delay: “ Dear xxxxxxx, Thank you for writing to
18                   us. We apologize for our delayed response and hope this message finds
19                   you well. We’re sorry to hear this delay with XM service has been
                     detracting from your new vehicle experience. We have documented
20                   what you are experiencing and if a product update is released to address
21                   it you will be notified via standard mail. We hope you have other wise
                     been enjoying the RDX and thank you for alerting us to this issue….
22                   Case #xxxxxxxx Their response ignores my complaint as if does not
23                   acknowledge that this is a defect that the company is planning or even
                     needs to address. I am very surprised and disappointed in the lack of
24                   concern about acknowledging that this is a prolem that deserves any
25                   attentiopn.” (Complaint posted on Edmunds.com dated February 12,
                     2019).
26

27                  “I have been fighting with Acura Corporate Relations since January
                     2019 regarding issues with the technology, most recently Apple Car
28
     COMPLAINT                                   - 44 -
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 1
                       Play which has not worked correctly since I bought the car in July 2018
                       (It constantly disengages and then you have to disconnect and
 2                     reconnect). To top of it, their client relations rep says there’s no fix in
 3
                       place -- so she closed my case! I called for her manager and
                       miraculously the case is re-opened. When you are paying $40K for a
 4                     new vehicle you expect things to work -- if not the manufacturer should
 5                     stand behind their vehicle, not try to shoot down the customer.”
                       (Complaint posted on Edmunds.com dated April 5, 2019).
 6

 7                     “I hate to say it but I have had nothing but problems since driving it off
                       the lot back in March. The whole screen freezes on a regular basis....
 8                     It’s very distracting as its totally unexpected. I usually try to play with
 9                     it trying to get it to work again...NOT SAFE...as I am not watching the
                       road, The last time I took it to the dealer they showed me how to reset
10                     it by pulling the fuse out and plugging it back in. It’s crazy that this is
11                     the solution for a $40,000 car. I tried contacting Acura and they said
                       all I can do is keep bringing it in to the dealer until there is a
12                     recall...which isn’t guaranteed. Really?” (Complaint posted on
13                     Edmunds.com dated May 21, 2019).
14
              214. As the above excerpts demonstrate, Vehicle owners have complained to
15
     Defendant on numerous occasions regarding repeated failures of the infotainment
16
     system, and the large number of complaints should have alerted Defendant to the defect.
17
              4.       Complaints Collected by NHTSA
18
              215. Vehicle manufacturers are required by federal law to maintain close
19
     contact with the NHTSA regarding potential safety defects. By law, manufacturers are
20
     required to report information regarding customer complaints and warranty claims to
21
     the NHTSA, and federal law imposes criminal penalties against manufacturers who fail
22
     to disclose known safety defects. See generally TREAD Act, Pub. L. No. 106-414, 114
23
     Stat. 1800 (2000).
24
              216. Automakers have an affirmative legal duty to disclose emerging safety-
25
     related defects to the NHTSA under the Early Warning Report requirements. Id.
26
              217. Vehicle manufacturers should and do monitor NHTSA databases for
27
     consumer complaints as part of their ongoing obligation to uncover and report potential
28
     COMPLAINT                                    - 45 -
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 1   safety-related defects. Defects that undermine the effectiveness of their Vehicles’ safety
 2   systems (including back up camera) are such safety-related defects. Accordingly, Honda
 3   knew or should have known of the many complaints about infotainment system failures
 4   lodged with the NHTSA, and the sheer number of complaints coupled with their
 5   consistency alerted or should have alerted Honda to the defect.
 6            218. A sampling of the complaints posted on the NHTSA database include the
 7   following:
 8

 9
              Date Complaint Filed: October 6, 2018
              Date of Incident: October 5, 2018
10            NHTSA ID Number: 11138815
11
              Vehicle Identification Number: 5J8TC2H53KL****
              Vehicle Type: 2019 Acura RDX AWD
12

13            THE ELECTRONICS ON THE VEHICLE - THE PHONE, NAVIGATION
              SYSTEM, RADIO - FREEZE UP AND WON’T FUNCTION. THE
14            NAVIGATION SYSTEM’S KEYPAD DOESN’T WORK. APPARENTLY
15            THIS IS NOW A FREQUENT PROBLEM ON 2019 ACURA RDX’S

16            Date Complaint Filed: October 25, 2018
17            Date of Incident: October 23, 2018
              NHTSA ID Number: 11142625
18            Vehicle Identification Number: 5J8TC2H74KL****
19            Vehicle Type: 2019 Acura RDX AWD

20            VOICE RECOGNITION WITH APPLE CARPLAY AND 3RD PARTY
21            APPS FAILS TO FUNCTION WHICH CAN LEAD TO DRIVER
              DISTRACTION RESULTING IN COLLISIONS….
22

23            Date Complaint Filed: December 11, 2018
              Date of Incident: November 15, 2018
24            NHTSA ID Number: 11160804
25            Vehicle Identification Number: 5J8TC2H74KL****
              Vehicle Type: 2019 Acura RDX AWD
26

27            TECHNOLOGY SYSTEMS EXPERIENCE RANDOM FAILURES, AT
              VARIOUS TIMES SOMETIMES WHEN DRIVING. FUNCTIONALITY
28
     COMPLAINT                              - 46 -
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 1
              CAN SOMETIMES BE RESTORED BY STOPPING THE CAR AND
              RESTARTING THE ENGINE. SOMETIMES THE VEHICLE MUST SIT
 2            FOR HOURS WITH ENGINE OFF TO RESTORE FUNCTIONALITY.
 3
              SYSTEM FAILURES INCLUDE DASHBOARD LIGHTING, VEHICLE
              DISPLAY SCREEN, AND HEADS-UP DISPLAY. NUMERIOUS
 4            DEALER VISITS HAVE PROVIDED NO SOLUTION TILL TODAY
 5            WHEN I WAS INFORMED THAT THAT THIS IS A SOFTWARE ISSUE
              AND THAT A SOFTWARE VEHICLE UPDATE IS REQUIRED.
 6            HOWEVER THIS IS NOT AVAILABLE, HAS NOT BEEN AVAILABLE
 7            FOR AROUND 6 MONTHS AND NO TIMELINE HAS BEEN OFFERED
              FOR THIS UPDATE.
 8

 9            I REGARD THIS AS A SAFETY AND DRIVER DISTRACTION ISSUE
              THAT CAN LEAD TO COLLISIONS. ACURA NEEDS TO PLACE A
10            HIGHER PRIORITY ON THIS ISSUE IN ORDER TO PROVIDE
11            OWNERS WITH A SAFER DRIVING ENVIRONMENT

12            Date Complaint Filed: March 15, 2019
13            Date of Incident: November 18, 2018
              NHTSA ID Number: 11187042
14            Vehicle Identification Number: 5J8TC2H59KL****
15            Vehicle Type: 2019 Acura RDX AWD

16            INFOTAINMENT SYSTEM HAS MULTIPLE GLITCHES CAUSING
17            MANY OF THE FEATURES, RADIO,

18            GPS OPERATION, DRIVE MODE CHANGES, SOUND, CLOCK
19            FREEZING, KNOBS AND DIALS NOT WORKING. REPORTED TO
              DEALERSHIP AND WENT IN SEVERAL TIMES. THEY SAID THERE
20            WERE UPDATES WHICH THEY TRIED TO INSTALL AND THE
21            VEHICLE DIDN’T RESPOND TO ANY UPDATES PROVIDED BY
              ACURA. CALLED ACURA, GOT A CASE NUMBER, AND WAS
22            VIRTUALLY TOLD THEY ARE STILL WORKING ON THESE
23            PROBLEMS . THESE 2019 CARS HAVE BEEN OUT SINCE MAY OF
              2018 AND THEY ARE STILL MANUFACTURING CARS AND
24            PUTTING THEM OUT TO THE CONSUMER KNOWING THESE
25            ELECTRICAL AND SYSTEM ISSUES HAVE NEVER BEEN
              ADDRESSED PROPERLY. THESE PROBLEMS HAPPEN WHETHER
26            THE VEHICLE IS STATIONARY, IN MOTION, CITY OR HIGHWAY
27            DRIVING.
28
     COMPLAINT                           - 47 -
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 1
              THE PROBLEMS ARE INTERMITTENT. IT DOES BECOME A SAFELY
              ISSUE WHEN SOMETHING HAPPENS BECAUSE THE DRIVER IS
 2            NOT ABLE TO DEAL WITH ISSUES WHILE OPERATING THE
 3
              VEHICLE. ACURA HAS BEEN LESS THAN COOPERATIVE WITH
              EITHER THE DEALERSHIP OR THE CONSUMER, JUST TELLING
 4            ALL THEY ARE SORRY TO BE PATIENT “THEY ARE WORKING ON
 5            IT”. MY VEHICLE HAS BEEN DOING THIS FOR SEVERAL MONTHS
              (SINCE THE DAY I DROVE IT OUT OF THE LOT.)
 6

 7            I HAVE SCREEN SHOTS OF THE MESSAGES RECEIVED ON THE
              SCREEN WHEN IT IS INOPERABLE
 8

 9            AND WELL DOCUMENTED NOTES AND DATES AS TO WHEN IT
              WAS REPORTED TO THE DEALER AND TO THE ACURA SERVICE
10            REPRESENTED.
11
              Date Complaint Filed: April 24, 2019
12            Date of Incident: April 18, 2019
13            NHTSA ID Number: 11203513
              Vehicle Identification Number: 5J8TC2H74KL****
14            Vehicle Type: 2019 Acura RDX AWD
15
              AFTER APPLE’S IOS UPDATE FOR IPHONE, APPLE CARPLAY HAS
16            BECOME UNSTABLE AND CRASHES FOR NO APPARENT REASON
17            RESULTING IN ACTIVE NAVIGATION SERVICES WHILE DRIVING,
              BECOMING UNUSABLE WITHOUT WARNING. RESTARTING THE
18            ACURA TECHNOLOGY AND/OR THE IPHONE RESULTS IN
19            CONTINUED SPORADIC BUT UNUSEABLE OPERATION. THIS CAN
              RESULT IN SEVERE DRIVER DISTRACTION AND LEAD TO
20            COLLISIONS RESULTING IN INJURY OR DEATH TO THE VEHICLE
21            OCCUPANTS.
22            ACURA HAS INDICATED TO ME THAT THEY HAVE RECEIVED A
23            NUMBER OF COMPLAINTS OF THIS NATURE AND IS LOOKING
              INTO IT. CALLS TO APPLE SUPPORT HAVE RESULTED IN AN
24            ATTITUDE OF INDIFFERENCE AND ATTEMPTS TO ATTRIBUTE
25            THE ISSUE TO ACURA & GOOGLE. APPLE’S CURRENT RESPONSE
              IS TO SEND AN EMAIL TO FEEDBACK@APPLE.COM.
26

27            THE RESPONSE I AM SEEKING IS TO REQUIRE APPLE/ACURA TO
              INFORM ACURA CUSTOMERS THAT CARPLAY IS CURRENTLY
28
     COMPLAINT                           - 48 -
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 1
              EXPERIENCES ISSUE AND MAY UNEXPECTEDLY CEASE
              OPERATION WHILE IN USE AND ADVISE CUSTOMERS TO
 2            REFRAIN FROM USING IT UNTIL THE ISSUE IS REMEDIED IN
 3
              ORDER TO AVOID DRIVER DISTRACTION RESULTING IN
              POSSIBLE COLLISIONS.
 4

 5            ADDITIONALLY I WOULD LIKE TO SEE APPLE & ACURA SETUP
              SPECIAL EMAIL ADDRESSES FOR OWNERS TO REPORT CARPLAY
 6            AND TECHNOLOGY ANOMALIES, WITH A TRACKING SYSTEM IN
 7            PLACE TO RESEARCH, ADDRESS THE ISSUES, AND EXPEDITE THE
              RESOLUTION OF THEM.
 8

 9            Date Complaint Filed: May 6, 2019
              Date of Incident: July 10, 2018
10            NHTSA ID Number: 11205831
11            Vehicle Identification Number: 5J8TC2H38KL****
              Vehicle Type: 2019 Acura RDX AWD
12
              ISSUES WITH RADIO AND APPLE CARE. DOES NOT WORK
13            INTERMITTENTLY. ACURA HAS DONE SOFTWARE UPDATE TO
              FIX BUT STILL HAVE PROBLEMS.
14
              219. As the preceding complaints demonstrate, Vehicle owners have lodged
15
     many complaints with the NHTSA about repeated infotainment system failures which
16
     alerted or should have alerted Honda to the defect no later than June 2018 when the
17
     Vehicles first went on sale to the public.
18
              5.       Customer Complaints on Internet Forums
19
              220. In addition to the complaints lodged directly with Honda, Dealers, and the
20
     NHTSA, many Vehicle owners posted complaints regarding repeated infotainment
21
     system failures on public online internet forums, which Defendant — like most
22
     manufacturers — regularly monitors. The following is a representative sample of those
23
     complaints:
24

25
                    “i was driving home from work while using both navigation and music.
26                   (Btw, I have just had this new beauty for 2 weeks). So I wanted to
                     switch side screen onto the main screen. And the screen just froze
27
                     however music was still playing. It froze for 5 mins while I was driving
28                   so I pulled my car to a parking lot and shut it off and backed on. The
     COMPLAINT                                 - 49 -
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 1
                       infotainment system tried to restart however it was stuck at its fancy
                       starting logo for another 5mins. Luckily other operational function
 2                     seemed to work. I almost took my car to my dealer before I shut it off
 3
                       and backed on the second time. It took 10 secs to reboot and everything
                       went back functioning. (Complaint posted on acurazine.com dated June
 4                     25, 2018).
 5
                    “Apparently Apple Car Play messes with the navigation. Fix it!!”
 6                   (Complaint posted on carcomplaints.com dated July 5, 2018).
 7
                    “Just occured in my wife’s RDX... looks like we’ll be waking up to a
 8                   dead battery tmr. Radio won’t shut off.” (Complaint posted on
 9                   acurazine.com dated July 31, 2018).
10                  “While on a call, thru CarPlay with a iPhone 8 hardwired. The call
11                   jumped back to the phone. I could use my phone and completed the call.
                     Hung up but the MID still showed the call as active as did the info
12                   display. The touchpad did nothing. I could not reset it. I could hit the
13                   app button and scroll to the call to “end call” but it did not end it and
                     still remained frozen. I was driving so I had to wait til I stopped and
14                   then I shut the car off and everything powered down. When powering
15                   back up the call showed back up. The info display showed the boot
                     anamation and was just sitting there thinking. So I powered off the car
16                   again, shut my phone completely off, rebooted the car and then
17                   everything worked normally.” (Complaint posted on acurazine.com
                     dated October 11, 2018).
18
                    “When I first purchased the Acura RDX Advance I was ecstatic.
19
                     Everything seemed to be customized for me. From the memory seats to
20                   the technology, to the safety components. I was in love with my SUV.
                     However, things seemed to go south the longer I owned the vehicle.
21
                     First it was the constant issues with the Infotainment System. I would
22                   exit the vehicle and it wouldn’t turn off. I called the dealership and they
                     either thought I was dumb and didn’t know how to operate a car, or they
23
                     would say ‘this is the first time we’re hearing about this...’ I found a
24                   site called AcuraZine which had a workaround for turning off the frozen
25
                     system so I wouldn’t get a dead battery.” (complaint posted on
                     Edmunds.com dated November 7, 2018).
26

27                  “Up front, I have the latest software version, I installed it the day it was
                     made available. The infotainment screen is now stuck on Disclaimer
28
     COMPLAINT                                   - 50 -
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 1
                       and won’t turn off even with the car shut down. To be honest, the
                       infotainment system has become increasingly sluggish since I first
 2                     bought the car in June. It can take several minutes to boot up when I
 3
                       start the car and it regularly freezes and then unsticks itself just
                       switching between Sirius and FM radio.” (Complaint posted on
 4                     acurazine.com dated December 20, 2018).
 5
                    “Infotainment system. Very, very glitchy and underbaked. Using the
 6                   precision touch mouse pad is awkward; using navigation is clunky.
 7                   Voice recognition barely works. The loading of contacts takes a very,
                     very long time... Calls are driooed every now and then; the system
 8                   hangs intermittently... Nissan’s simple Bosch-designed infotainment
 9                   puts Acura to shame... Android auto is not supported as of yet... No way
                     to look up point of interest phones; no Pandora or Google integration.
10                   My Nissan had all that. I miss Nissan’s infotainment system.”
11                   (Complaint posted on Edmunds.com on January 7, 2019).
12                  “Own the 2019 RDX Advance for nearly 5 months…. I’m disappointed
13
                     with them for not debugging the software before rolling it out to the
                     consumer. I feel as if I’m part of a beta test. Its software is more than
14                   buggy. It locks up often, takes too much time to boot up& often get
15
                     messages of a ‘System Error- Function Unavailable’ when attempting
                     to toggle radio stations on left side of steering wheel. Only after turning
16                   if off & back on does the feature work as intended. After recent update
17
                     in mid Dec 2018 Navigation menu now has no mentions of
                     “Restaurants” or “Food” or Shopping or Gifts as well as Travel
18                   Agency”; it ALL blank showing no data at all!! Siri through iPhone
19                   blue tooth when connected does not work at all. Lots of talk out there
                     (chat lines) that the update made things worse not better & only brought
20                   everyone up to the version they had in dealers as recent as October. ….”
21                   (Complaint posted on Edmunds.com dated January 15, 2019).

22                  “I got in my car and had to do a quick reverse and pull out of a parking
                     place and pull into traffic. The screen was dark. Nothing came on. Zero,
23
                     nada. I got to my office, turned car off, opened door and closed door,
24                   restarted. Blank screen. Crap, went into my office, went back out an
                     hour later, systems came back on. I have had a lot of issues when I put
25
                     car in reverse and pull out without waiting for system to spool. i guess
26                   we wait for the next update” (Complaint posted on acurazine.com dated
                     January 20, 2019).
27

28
     COMPLAINT                                   - 51 -
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 1                  “2nd issue, the audio system doesn’t work. This is noted in almost every
                     review. I didn’t know that going in, or I wouldn’t have bought it.”
 2                   (Complaint posted on Edmunds.com dated February 6, 2019).
 3
                    “Replacing info system won’t fix it. My guy tried that. Its all software.
 4                   I don’t use apple play much because it confuses the radio. Does anyone
 5                   have issues when you put in reverse and then pull out before the system
                     boots up. My info system takes for ever to boot when going into
 6                   reverse.” (Complaint posted on acurazine.com dated March 12, 2019).
 7
                    “Infotainment system hard to use. In 2016 navi system you could save
 8                   identifier with favorite. In 2019 only address can be saved. 2016 beeped
 9
                     when lane departure activated, not 2019. Just had an infotainment
                     system update in the hopes that a bug I had would be fixed, but it
10                   wasn’t. When trying to use voice command sometimes it works, then I
11                   get Voice System initializing and the voice system freezes until the car
                     is turned off and restarted. No easy way to report this glitch to Acura.
12                   Dealer and customer relations certainly not briefed sufficiently in the
13                   new info system.” (Complaint posted on Edmunds.com dated March
                     14, 2019).
14
                    “The ‘19 RDX was the sixth Acura that I have owned/leased and by far
15
                     the worst…. The infotainment system is a mess: it loses connectivity,
16                   freezes when switching between bluetooth phone and sat radio, takes
                     30+ seconds to boot up, and more. Acura makes some great vehicles,
17
                     this isn’t one of them.” (Complaint posted on Edmunds.com dated
18                   March 16, 2019).
19                  “Got stuck on the disclaimer screen today. Nothing would turn it off.
20                   Not even the 3 button trick would work. Ended up having to pull the
                     fuse. It sparked a little while putting it back in. Is this normal? Can I
21                   blow the fuse this way?” (Complaint posted on acurazine.com dated
22                   April 23, 2019).
23                  “Was driving normally, and no issues. Stopped to grab some groceries.
24                   Got in my car and had ‘Drive Mode Change Unavailable’ popping up
                     and the screen dimming and then brightening. Doing a reset with the
25                   three button push didn’t seem to fix it.” (Complaint posted on
26                   acurazine.com dated May 13, 2019)

27                  “I purchased the RDX over other vehicle lines (BMW, Mercedes,
                     Lexus, Infinity) after extensive research. The final determinant for me
28
     COMPLAINT                                  - 52 -
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 1
                       was the perceived quality which Honda builds into its vehicles. I have
                       a CRV, and I traded in a BMW. I have owned a number of cars over
 2                     the years both foreign and domestic, and the CRV by far was the best
 3
                       in terms of reliability and cost of maintenance. Much to my chagrin,
                       the Acura RDX does not live up to the same standard. With a bit over
 4                     1000 miles on the vehicle, I have had two instances where I have lost
 5                     my radio and/or GPS function. This after one stint in the service
                       department already. Definitely not what I expected from Honda, or
 6                     from a vehicle which is not inexpensive by any means.” (complaint
 7                     posted on Edmunds.com dated May 22, 2019).

 8                  “Disappointed. Wish I could return. The good: sharp looking and
                     comfortable. The bad: the infotainment/navigation system. Rarely
 9
                     works correctly. Have to reconnect my phone from time to time, slow
10                   to respond, can’t save/edit favorite places with a name like ‘lake house,’
                     the mouse pad belongs on a laptop, not a vehicle, awkward.” (complaint
11
                     posted on Edmunds.com dated June 14, 2019).
12
              6.       Acknowledgements of the Problem by Honda Representatives,
13                     Dealers and Technicians
14            221. Defendant’s knowledge of the defect is also shown the fact that Honda
15   representatives, dealers, and technicians have admitted to Vehicle owners that repeated
16   infotainment system failure is a well-known and pervasive problem with the Vehicles.
17   The following is a representative sample of customer complaints reflecting Honda’s
18   knowledge of the defect:
19                  “This screen is also frozen. No music, call is disconnected. I had to pull
20
                     over and turn the car off. Sadly, I’ve had the dreaded screen freeze 4
                     times. I have tried using the 3 button reboot but nothing happens. No
21                   matter how long I hold the buttons nothing happens. My screen is also
22
                     freezing after I hang up with a call. The HUD and infotainment system
                     freeze and nothing helps except pulling over and turning the car off. I
23                   also have messages popping up at various times and the screen flickers.
24                   I am taking my 19 RDX into the dealership for the 7th time for issues.
                     Acura of Seattle has told me they have 3 other RDX owners with the
25                   same problem. They also said that Acura is well aware of the problem
26                   but has yet to suggest a fix for or possibly replacing the system. The
                     phone call was actually disconnected.” (Complaint posted on
27                   acurazine.com dated March 8, 2019).
28
     COMPLAINT                                  - 53 -
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 1                  “I have had most of the problems that have been documented here,
                     including intermittent audio chirps and drop-outs, ‘skipping’ of the
 2                   audio when played through carplay (sounds a little like an old-school
 3                   vinyl record that is skipping), and today the freeze-up that required
                     disconnection of the power.… I spoke to an Acura service rep on the
 4                   phone today and he said that Acura is aware of this issue and is
 5                   ‘working on a fix. This has been a known issue for most of the past 6
                     months, and they’re still working on the fix? I think the Lemon Law
 6                   may be the only way to get this resolved” (complaint posted on
 7                   acurazine.com dated November 30, 2018)

 8
              222. Additionally, the large number and consistency of Vehicle owner
 9
     complaints describing the infotainment system defect as a safety risk demonstrates that
10
     the Vehicle owners consider the defect to be material to a reasonable consumer.
11
              223. Defendant’s New Vehicle Limited Warranty requires it to “repair or
12
     replace any part that is defective in material or workmanship under normal use.” But as
13
     countless consumers have reported, Defendant has been unable to repair these defects
14
     despite being given numerous opportunities. In violation of this express warranty, and
15
     as evidenced by the many complaints and repeat infotainment system failures,
16
     Defendant merely replaces a defective part with another defective part.
17
              224. Due to the inherent and permanent nature of the common defect in the
18
     defective Vehicles which cause them to fail, even after repeated “repairs,” Plaintiffs and
19
     the members of the Class have incurred and will continue to incur significant expenses.
20
     All defective Vehicles suffer from the same defect.
21
              225. Additionally, because the infotainment system may fail at any time,
22
     thereby startling the driver and putting the passengers’ safety at risk, the defect makes
23
     these defective Vehicles unfit for the use for which they were intended in that they
24
     cannot be relied upon as a safe and reliable means of transport.
25
     D.       Unfulfilled Promises Regarding Android Auto Compatibility
26
              226. Upon information and belief, in the months weeks leading up to the
27
     Vehicles’ launch in June 2018, Defendant distributed pre-release press kits and
28
     COMPLAINT                                - 54 -
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 1   marketing information to media outlets and Acura dealers. These materials stated that
 2   the 2019 Acura RDX would include both Apple CarPlay and Android Auto smartphone
 3   integration.8 As was readily foreseeable to Defendant, the media outlets and Acura
 4   dealers, in turned, passed the information on to prospective purchasers.
 5            227. Defendant’s own website similarly represented to perspective purchasers
 6   that the 2019 Acura RDX would feature Android Auto compatibility as well as Apple
 7   CarPlay.9
 8            228. However, when the 2019 Acura RDX arrived in showrooms in June 2018,
 9   only Apple’s smartphone mirroring and apps suite was included on the features list. As
10   a May 29, 2018 CNET article explained:
11            Parent company Honda offers both Android Auto and Apple CarPlay on its
12            Android-based HondaLink display audio software. The new AcuraLink
              software is also Android-based, so it’s not a stretch to assume Honda and
13            Acura’s systems share core software bones. This should have made porting
14            features such as smartphone mirroring a snap. So why doesn’t the 2019 Acura
              RDX offer Android Auto?
15

16            It turns out that Acura’s new and novel control scheme is at the heart of the
              issue. Android Auto works well with traditional touchscreen setups (such as
17            Honda’s system) or physical rotary controllers (such as Audi’s MMI system),
18            but it doesn’t play nicely with the new True Touch controller... yet.
19            …

20
         8
21         For instance, the “coming soon” webpage for this Florida dealership clearly states
     that “[t]he new touchpad is displayed with a floating design and features audio and
22   entertainment, including Apple CarPlay and Android Auto smartphone integration.”
23   https://www.acuraoforangepark.com/2019-acura-rdx-coming-soon-jacksonville-fl.htm
     (last accessed June 20, 2019).
24       9
           A March 28, 2018 post on an Acura internet forum quotes Acura’s website as then
25   stating, “Standard Apple Carplay and Android Auto integration amplify audio through
     an available 16-speaker ELS Studio® 3D system. All models come with an ultra-wide
26
     panoramic      power-adjustable    moonroof     and    floating  center    console.”
27   https://acurazine.com/forums/third-generation-rdx-2019-454/android-auto-968454/
28
     (last accessed June 20, 2019).

     COMPLAINT                                - 55 -
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 1
               Basically, Acura worked with Google to get Android Auto working with the
               RDX’s absolute-positioned touchpad control scheme -- which is sort of like a
 2             laptop’s trackpad, but also very different -- but compatibility wasn’t ready in
 3
               time for the June 2018 launch window. So Android Auto compatibility was
               delayed. When the kinks are eventually ironed out, Acura will make the
 4             feature available via software update for all 2019 or newer RDX vehicles.10
 5
               229. Yet Defendant made clear to both the press and to consumers that a
 6
     software update was forthcoming that would incorporate Android Auto into all
 7
     Vehicles. As CNET explained in the title of the article, “Yes you’ll have to wait, but
 8
     the wait won’t be long.”11
 9
               230. Acura dealerships conveyed this same message to prospective purchasers,
10
     promising them that Android Auto would soon become available to the Vehicles by
11
     software update. And many complaints on the internet demonstrate that consumers
12
     relied on this promise in deciding to purchase or lease a Vehicle. For example:
13
                     “Also, if you have an Android phone...beware. This car’s infotainment
14                    system doesn’t work with an Android. They told me in August it would
15                    be a few months and they expected software update to come out in
                      November. The update was published in January but still didn’t address
16                    the Android problem. Now they are saying April...maybe. For 5
17                    months (before the January update), I had systematic failure of the tuner
                      to tune to a radio station when I started the car.” (Complaint posted on
18                    Edmunds.com dated February 8, 2019).
19             231. On August 20, 2018, a Vehicle owner tweeted Defendant asking “when
20   will Android Auto be released for the 2019 RDX?”12 Defendant responded, “We’re
21   working w/ Google to bring Android Auto to the new RDX & will make the update
22   avail to owners who’ve purchased the ‘19 model once it’s developed & certified. We
23

24
         10
          https://www.cnet.com/roadshow/news/2019-acura-rdx-to-eventually-get-
25   android-auto-via-post-launch-patch/ (last accessed June 20, 2019).
26       11
              Id.
         12
27        https://twitter.com/acura/status/1031742301675167745?lang=en (last accessed
28
     June 20, 2019).

     COMPLAINT                                   - 56 -
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 1   don’t have a set release date to share rt now, but suggest signing up for future updates.”13
 2   Six weeks later, another Vehicle owner asked for an update, and Defendant responded,
 3   “Thank you for your patience - no exact date to share at this time, but we are still
 4   working with Google to bring Android Auto to the 2019 RDX as soon as possible.”14 A
 5   few days later, Defendant followed up, “There are no more details to share at this time
 6   but should have updates in the coming months. We value your patience and interest.”15
 7             232. The last tweet Defendant sent on the subject asked Vehicle owners for
 8   “patience” and was sent on November 29, 2018 — approximately six months after
 9   consumers began purchasing and leasing the Vehicles based in part on Defendant’s
10   promise that Android Auto compatibility would soon be made available. Meanwhile,
11   hundreds of angry Vehicle owners continued to respond to Defendant’s tweet, begging
12   for information about when they were to receive the software update. Below is a
13   sampling of those responses:
14                   “Any general timeframe for this? Frustrating that even voice commands
                      don’t work consistently if an Android phone is paired with the 2019 RDX.
15                    It’s now mid-November.” (November 14, 2018)
16                   “Really. Can we get a straight answer. I love my A spec. Nav system sucks.
17
                      We need Android Auto. Please share a date. It’s not rocket science if apple
                      have done it before the launch.” (Nov. 20, 2018)
18
                     “Almost December now, starting to get frustrated.” (Nov. 24, 2018)
19
                     “Between these awful squealing brakes and Acura taking forever to release
20                    AA, this might be our last Acura purchase! The infotainment system in the
                      RDX is just horrible. We thought we’d get used to it, but NO!” (November
21                    29, 2018)
22
                     “Any status updates on this? Starting to feel a little deceived here.”
23                    (December 7, 2018)
24

25
         13
26            Id.
         14
27            Id.
         15
28
              Id.

     COMPLAINT                                  - 57 -
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                    “How about this Acura, Send an Iphone to every RDX owner as
 1                   Christmas/New year present to try the Carplay ?” (December 19, 2018)
 2
                    “Any update on Android Auto for the 2019 RDX? I was lied to by the
 3                   Salesman who said it would be 4-5 weeks in July, now unsafe as have to
                     look at phone for Music as Sirius trial over.” (January 1, 2019)
 4
                    “What’s the deal? You said in 2018 half a year ago.” (January 9, 2019)
 5
                    “RDX has been out for seven months - Can’t believe Google can’t find a
 6
                     solution for Android Auto software they wrote for Acura. Has to be a
 7                   money issue. I’m stuck with an terrible GPS. NOT HAPPY!” (Jan. 9, 2019)
 8                  “still no android auto-----not good along with a terrible navigation system
                     seriously blemishes this vehicle” (January 20, 2019)
 9
                    “What’s the story? I was told that my 19 RDX had Android Auto. Of course
10                   at delivery, when I asked to connect it, I was told it would come out in the
11                   next software update. 2 updates later and no Android Auto.” (January 24,
                     2019)
12
                    “January 26 and no real updates? Like many I was informed by the end of
13                   2018. Where r u in the progress?” (January 26, 2019)
14                  “Are you just ignoring this issue now? This is starting to amount to false
                     advertising.” (February 6, 2019)
15

16                  “What is the update with android auto. I am so disappointed. I wish I
                     could return my car because of this.” (February 23, 2019)
17
                    “Your dealerships are lying to customers about this. When I test drove in
18                   early October 2018 I was told android auto would be available in 30 days.
                     After I buy, I’m told early Jan 2019. I feel deceived and cheated, Acura.
19                   What are you doing to make things right?” (February 26, 2019)
20
                    “Maybe it’s time for a class action suit for 2019 RDX owners that bought
21                   the car hoping for a usable GPS and ‘any day now’ Android support, which
                     is now 7 months ago with zero concrete updates. I want my Audi Q5 back
22                   that I traded.” (March 3, 2019)
23                  “I understand technical challenges and trying to integrate the novel (but,
                     frankly, kind of annoying touch pad -- why not use a great touch screen
24
                     that works?) but selling the product and promising a key feature and after
25                   seven months having zero constructive updates since?” (March 5, 2019)
26                  “I actually got a call back from Acura 2 weeks ago and they said it was a
                     licensing issue with Google and Acura. Must be attorneys involved I say.”
27                   (March 6, 2019)
28
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                    “I bought 2019 RDX. It is almost 9 months but still there is no status update
 1                   on Android Auto. It is very frustrating with lack of @Acura ‘s response or
 2                   almost no response since August as if they are ignoring their own loyal
                     customers!” (March 17, 2019)
 3
                    “Have no patience any more. Can I return the RDX?” (March 20, 2019)
 4
                    “Is Acura any closer to the release date? I bought an RDX 2019 model last
 5                   August. The Infotainment system went haywire yesterday and shut down.
 6                   No new update available.” (March 28, 2019)

 7                  “Please issue an update on this. Look how many people are responding to
                     this tweet trying to get some information. The lack of response feels
 8                   deliberate. I’m starting to believe we were all sold on a lie and we’re never
                     getting Android Auto. Where is the customer service??” (March, 29, 2019)
 9
                    “It’s been almost an year! Do you still have no dates for Android Auto
10
                     integration?” (April 3, 2019)
11
                    “Looking at all complaints, we should all file a petition for this issue.
12                   Dealership lied to me as well.” (April 3, 2019)
13                  “I had my car since Feb of 2019 and was told AA would be out soon. Very
                     disappointed.” (April 5, 2019)
14
                    “I am planning to go to consumer court and file a case against Acura. They
15
                     sold us a lie.” (April 18, 2019)
16
                    “It’s been almost a YEAR since I bought this car and STILL no Android
17                   auto!!! How much longer???” (May 3, 2019)
18                  “Would not have bought had I known there’s still zero Android support 6
                     plus months in.” (May 3, 2019)
19
                    “Purchased the text with technology package in August and sales person
20
                     said it would have Android Auto soon. I want what I purchased. Give us
21                   an update.” (May 8, 2019)
22                  “This is frustrating... you need to get your act together. I purchased with
                     understanding it would be available soon.” (May 8, 2019)
23
                    “Given that ‘20 model is hitting dealerships, the Android Auto coming
24                   soon statements are false advertisement. Class action lawsuits?” (May 10,
25                   2019)

26                  “Terrible customer service. I was lied to at the dealer about this.” (May
                     10, 2019)
27

28
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                    “Any update on getting Android Auto on the 2019 RDX - as it was
 1                   promised back in September.” (May 12, 2019)
 2
                    “2020 RDX is being advertised and doesn’t even offer AA. Looks like the
 3                   folks (me) who bought a 2019 got duped.” (May 13, 2019)
 4                  “I bought mine in Aug of ‘18 and was told it would be out OTA any day.
                     WTF Acura, very shady” (May 30, 2019)
 5
                    “A year now, and this integral component is still missing with no
 6
                     communication from Acura.” (June 11, 2019)
 7
                    “1 year later still working on it.” (June 11, 2019)
 8
                    “@Acura - Any updates on this? @AcuraClientCare stopped responding
 9                   to emails” (June 19, 2019).16
10
               233. To date, Defendant still has not released a software update incorporating
11
     Android Auto into the Vehicles as Defendant promised it would long ago.
12
     E.        Defendant’s Warranties and Response to the Defect
13
               234. Defendant issued to all original purchasers and lessees, including Plaintiffs
14
     and the other Class members, a written manufacturer’s warranty. This New Vehicle
15
     Limited Warranty states that “Acura will repair or replace any part that is defective in
16
     material or workmanship under normal use” and that “all repairs/replacements made
17
     under this warranty are free of charge.”
18
               235. However, Defendant knew, or at least should have known, of the defects at
19
     the time of sale or lease of the defective Vehicles. Plaintiffs and Class members,
20
     however, had no such knowledge. The defects were and are latent in nature because
21
     they are not obvious or ascertainable upon reasonable examination.
22
               236. Despite having more than adequate opportunity to successfully remedy the
23
     defect(s) in the Vehicles, Defendant has failed to do so, and in many instances has
24
     instead merely replaced defective components with defective components.
25

26
          16
27        https://twitter.com/Acura/status/1031742301675167745 (last accessed June 20,
28
     2019).

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 1            237. Defendant concealed, and continues to conceal, the fact that the Vehicles
 2   contain the defective infotainment systems. Defendant also continues to conceal the
 3   fact that the replacement components it provides to purportedly repair the defect are
 4   equally defective. Despite its knowledge of this defect, Defendant continues to sell
 5   defective Vehicles that contain the defective infotainment system. Therefore, Plaintiffs
 6   did not discover and could not have discovered this defect through reasonable diligence.
 7            238. Plaintiffs and the other Class members reasonably relied on Defendant’s
 8   warranties regarding the quality, durability and other material characteristics of their
 9   Vehicles, including, but not limited to, the representation that the Vehicles contained no
10   known defects (defects known to Defendant) at the time of sale or lease.
11                            V.     CHOICE OF LAW ALLEGATIONS
12            239. Because this Complaint is brought in California, California’s choice of law
13   regime governs the state law allegations in this Complaint. Under California’ choice of
14   law rules, California law applies to the claims of all Class members, regardless of their
15   state of residence or state of purchase.
16            63.      Because Honda is headquartered—and made all decisions relevant to these
17   claims—in California, California has a substantial connection to, and materially greater
18   interest in, the rights, interests, and policies involved in this action than any other state.
19   Application of California law to Honda and the claims of all Class members would not
20   be arbitrary or unfair.
21            64.      Plaintiffs plead claims on behalf of a nationwide class because the laws for
22   each state do not vary materially for these claims. Alternatively, Plaintiffs plead state
23   law classes claims as indicated below. This Complaint refers to the nationwide and state
24   classes collectively as the “Class,” unless noted otherwise.
25                             VI.    CLASS ACTION ALLEGATIONS
26            240. Plaintiffs bring this action on behalf of themselves and all others similarly
27   situated under Fed. R. Civ. P. 23.
28
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 1            241. Subject to confirmation, clarification and/or modification based on
 2   discovery to be conducted in this action, the classes that Plaintiffs seek to represent shall
 3   be defined as follows:
 4
           All persons and entities nationwide that purchased or leased a model
           year 2019 Acura RDX or 2020 Acura RDX Vehicle (the
 5         “Nationwide Class”).
 6
              All persons and entities that purchased or leased a model year 2019
 7            Acura RDX or 2020 Acura RDX Vehicle in the State of California
 8            (the “California Class”).

 9            All persons and entities that purchased or leased a model year 2019
10            Acura RDX or 2020 Acura RDX Vehicle in the State of Florida (the
              “Florida Class”).
11

12            All persons and entities that purchased or leased a model year 2019
              Acura RDX or 2020 Acura RDX Vehicle in the State of Illinois (the
13            “Illinois Class”).
14
              All persons and entities that purchased or leased a model year 2019
15            Acura RDX or 2020 Acura RDX Vehicle in the State of
16            Massachusetts (the “Massachusetts Class”).

17            All persons and entities that purchased or leased a model year 2019
18            Acura RDX or 2020 Acura RDX Vehicle in the State of Nevada (the
              “Nevada Class”).
19

20            All persons and entities nationwide that purchased or leased a model
              year 2019 Acura RDX or 2020 Acura RDX Vehicle in the State of
21            New Jersey (the “New Jersey Class”).
22
              All persons and entities nationwide that purchased or leased a model
23            year 2019 Acura RDX or 2020 Acura RDX Vehicle in the State of
24            New York (the “New York Class”).
25            All persons and entities nationwide that purchased or leased a model
26            year 2019 Acura RDX or 2020 Acura RDX Vehicle in the State of
              North Carolina (the “North Carolina Class”).
27

28
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 1
              All persons and entities nationwide that purchased or leased a model
              year 2019 Acura RDX or 2020 Acura RDX Vehicle in the State of
 2            Pennsylvania (the “Pennsylvania Class”).
 3
              All persons and entities nationwide that purchased or leased a model
 4            year 2019 Acura RDX or 2020 Acura RDX Vehicle in the State of
 5            Tennessee (the “Tennessee Class”).

 6            All persons and entities nationwide that purchased or leased a model
 7            year 2019 Acura RDX or 2020 Acura RDX Vehicle in the State of
              Texas (the “Texas Class”).
 8

 9            All persons and entities nationwide that purchased or leased a model
              year 2019 Acura RDX or 2020 Acura RDX Vehicle in the State of
10            Virginia (the “Virginia Class”).
11

12
              242. Excluded from the Class are: (1) Defendant, any entity in which Defendant

13
     has a controlling interest, and its legal representatives, officers, directors, employees,

14
     assigns and successors; (2) the Judge to whom this case is assigned and any member of

15
     the Judge’s staff or immediate family; and (3) Class Counsel.

16
              243. Plaintiffs seek only damages and injunctive relief on behalf of themselves

17
     and the Class members. Plaintiffs disclaim any intent or right to seek any recovery in

18
     this action for personal injuries, wrongful death, or emotional distress suffered by

19
     Plaintiffs and/or the Class members.

20
              244. While the exact number of Class members is unknown to Plaintiffs at this

21
     time and can only be determined by appropriate discovery, membership in the Class is

22
     ascertainable based upon the records maintained by Honda and governmental officials.

23
     Upon information and belief, Honda has sold and leased over 100,000 defective

24
     Vehicles nationwide during the relevant time period, all of which have the defective

25
     infotainment systems at issue. Therefore, the Class members are so numerous that

26
     individual joinder of all Class members is impracticable under Fed. R. Civ. P. 23(a)(1).

27
              245. Common questions of law and fact exist as to all Class members. These

28
     common legal and factual questions include:

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 1
              (a)      whether each defective Vehicle was sold or leased with a defective
                       infotainment system;
 2
              (b)      whether Defendant’s express warranty covers the defect;
 3

 4            (c)      whether Defendant breached express warranties made to the Class
                       members;
 5
              (d)      whether Defendant breached implied warranties made to the Class
 6
                       members;
 7
              (e)      whether Defendant replaced defective parts with defective parts;
 8
              (f)      whether Defendant knew about the defect and, if so, how long Defendant
 9
                       has known about the defect;
10
              (g)      whether Defendant concealed the defect;
11
              (h)      whether Defendant’s conduct violates consumer protection statutes,
12
                       warranty laws, and other laws asserted herein;
13
              (i)      whether the Class members have suffered damages as a result of the
14
                       conduct alleged herein, and if so, the measure of such damages, including
15                     diminution of value and deprivation of the benefit of the bargain; and
16            (j)      whether the Class members are entitled to injunctive relief.
17
              246. Plaintiffs’ claims are typical of the claims of the Class members whom they
18
     seek to represent under Fed. R. Civ. P. 23(a)(3) because Plaintiffs and each Class
19
     member have a defective Vehicle with the same defective infotainment system.
20
              247. Plaintiffs will fairly and adequately represent and protect the interests of
21
     the Class members as required by Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate
22
     representatives because their interests do not conflict with the interests of the Class
23
     members. Further, Plaintiffs have retained counsel competent and experienced in
24
     complex class action litigation, including automotive defect class action litigation, and
25
     Plaintiffs intend to prosecute this action vigorously. Therefore, the interests of the Class
26
     members will be fairly and adequately protected.
27

28
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 1            248. A class action is appropriate under Fed. R. Civ. P. 23(b)(3) because
 2   questions of law or fact common to Class members predominate over any questions
 3   affecting only individual members, and a class action is superior to any other available
 4   means for fairly and efficiently adjudicating the controversy. In this regard, the Class
 5   members’ interests in individually controlling the prosecution of separate actions is low
 6   given the magnitude, burden, and expense of individual prosecutions against large
 7   corporations such as Defendant. Further, neither Plaintiffs nor their counsel are aware
 8   of any on-going litigation concerning this controversy already begun by any of the Class
 9   members. It is desirable to concentrate this litigation in this forum to avoid burdening
10   the courts with individual lawsuits. Individualized litigation presents a potential for
11   inconsistent or contradictory results and also increases the delay and expense to all
12   parties and the court system presented by the legal and factual issues of this case. By
13   contrast, the class action procedure here will have no management difficulties.
14   Defendant’s records and the records available publicly will easily identify the Class
15   members. This defect is common to all defective Vehicles; therefore, the same common
16   documents and testimony will be used to prove Plaintiffs’ claims as well as the claims
17   of the Class members. Finally, proceeding as a class action provides the benefits of
18   single adjudication, economies of scale, and comprehensive supervision by a single
19   court
20            249. A class action is appropriate under Fed. R. Civ. P. 23(b)(2) because, as
21   stated above, Honda has acted or refused to act on grounds that apply generally to the
22   Class members, so that final injunctive relief or corresponding declaratory relief is
23   appropriate as to all Class members.
24                                       VII. CLAIMS
25   A.       Claims Brought on Behalf of the Nationwide Class
26                                       COUNT I
                            BREACH OF EXPRESS WARRANTY—
27                          MAGNUSON-MOSS WARRANTY ACT
                                (15 U.S.C. §§ 2301, ET SEQ.)
28
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 1            250. Plaintiffs repeat and incorporate the allegations set forth above as if fully
 2   alleged herein.
 3            251. The defective Vehicles are consumer products as defined in 15 U.S.C.
 4   § 2301(1)
 5            252. Plaintiffs and Class members are consumers as defined in 15 U.S.C.
 6   § 2301(3).
 7            253. Honda is a supplier and warrantor as defined in 15 U.S.C. §§ 2301(4) and
 8   (5).
 9            254. Honda provided Plaintiffs and Class members “written warranties” within
10   the meaning of 15 U.S.C. § 2301(6).
11            255. 15 U.S.C. § 2310(d)(1)(A) and/or § 2310(d)(3)(C) is satisfied because
12   Plaintiffs properly invoke jurisdiction under the Class Action Fairness Act (“CAFA”).
13            256. In the course of selling the defective Vehicles, Defendant expressly
14   warranted in its New Vehicle Limited Warranty that it “will repair or replace any part
15   that is defective in material or workmanship under normal use” and that “all
16   repairs/replacements made under this warranty are free of charge.”
17            257. Upon information and belief, Defendant’s standard warranty language is
18   identical for all defective Vehicles sold nationwide.
19            258. Defendant did not provide at the time of sale, and has not provided since
20   then, Vehicles conforming to its express warranties.
21            259. Defendant breached and continues to breach express warranties because
22   the defective infotainment systems were present in the defective Vehicles at the time of
23   sale.
24            260. Defendant breached and continues to breach express warranties because
25   Defendant did not (and does not) cover the full expenses associated with repairing
26   and/or replacing the defective infotainment systems in Plaintiffs’ and the Class
27   members’ defective Vehicles.
28
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 1            261. Plaintiffs have attempted to have their Vehicles repaired under the
 2   warranty. Defendant breached and continues to breach express warranties because it
 3   merely replaces the defective components with additional defective components and is
 4   unable to successfully repair the defects in Plaintiffs’ and the Class members’ defective
 5   Vehicles, despite having had reasonable opportunities to do so. As such, the express
 6   warranties fail their essential purpose.
 7            262. Defendant’s refusal to provide an adequate repair or replacement violates
 8   15 U.S.C. § 2304.
 9            263. Despite the fact that the Vehicles’ infotainment systems continue to fail
10   despite being “repaired,” Defendant continues to replace the defective parts with
11   identical or substantially similar defective parts. Thus, the defect is inherent and
12   permanent in nature.
13            264. Defendant fraudulently concealed material information from Plaintiffs and
14   the Class regarding the existence and extent of the defects. Defendant also fraudulently
15   concealed the material fact that the replacement components were defective. Therefore,
16   any limitations imposed by Defendant as to the scope of its obligations under the express
17   warranties to repair and replace defective parts and/or any disclaimers in the written
18   warranties prepared by Defendant that purport to preclude recovery by Plaintiffs or the
19   Class members are unconscionable, both substantively and procedurally, and are
20   unenforceable as a matter of law.
21            265. Any such limitations or exclusions have been imposed unilaterally by
22   Defendant via adhesive, “take it or leave it” contracts with no ability by Plaintiffs or the
23   Class members to negotiate the substance or coverage of the warranties, and Plaintiffs
24   and the Class members did not have any meaningful choices of reasonably available
25   alternative sources of supply of suitable Vehicles free of the above unconscionable
26   conditions.
27

28
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 1            266. Furthermore, Defendant’s express warranty fails in its essential purpose
 2   because the contractual remedy is insufficient to make Plaintiffs and the Class members
 3   whole and because Defendant has failed and/or refused to adequately provide the
 4   promised remedies within a reasonable time.
 5            267. Also, as alleged herein, at the time that Defendant warranted and sold the
 6   Vehicles, it knew that the Vehicles were inherently defective, and Defendant wrongfully
 7   and fraudulently misrepresented and/or concealed material facts regarding the Vehicles.
 8   Plaintiffs and the Class members were therefore induced to purchase the Vehicles under
 9   false and/or fraudulent pretenses.
10            268. Further, the enforcement under these circumstances of any limitations
11   whatsoever on the recovery of incidental and/or consequential damages is barred
12   because any such limitations work to reallocate the risks between the parties in an
13   unconscionable and objectively unreasonable manner, and result in overly harsh or one-
14   sided results that shock the conscience, especially in light of the fact that Defendant
15   simply placed defective components in the Vehicles when those Vehicles are brought
16   in for repairs.
17            269. Moreover, many of the damages flowing from the Vehicles cannot be
18   resolved by the limited remedies contained in the express warranty as those incidental
19   and consequential damages have already been suffered due to Defendant’s fraudulent
20   conduct as alleged herein and due to their failure to provide such limited remedy within
21   a reasonable time. Therefore, any limitation on Plaintiffs’ and the Class members’
22   remedies would cause the available remedy to be insufficient to make them whole.
23            270. Defendant was previously provided notice of the defects in the Vehicles by
24   numerous customer complaints, letters, emails, and other communications from Class
25   members, dealers, and other repair facilities.
26            271. Plaintiffs and the Class members have suffered damages directly and
27   proximately caused by Defendant’s breach of the express warranty and are entitled to
28
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 1   recover damages including, but not limited to, out of pocket expenses and diminution
 2   of value.
 3                                       COUNT II
                            BREACH OF IMPLIED WARRANTY—
 4                          MAGNUSON-MOSS WARRANTY ACT
                                (15 U.S.C. §§ 2301, ET SEQ.)
 5

 6            272. Plaintiffs re-allege and incorporate each and every allegation set forth

 7   above as if fully written herein

 8            273. Plaintiffs bring this claim on behalf of the Nationwide Class.

 9
              274. The Vehicles are “consumer products” within the meaning of 15 U.S.C.

10
     § 2301.

11
              275. Plaintiffs and members of the Class are “consumers” within the meaning

12
     of 15 U.S.C. § 2301 because they are persons entitled under applicable state law to

13
     enforce against the warrantor the obligations of its express and implied warranties.

14
              276. Defendant is a “supplier” of consumer products to consumers and a

15
     “warrantor” within the meaning of 15 U.S.C. § 2301.

16
              277. 15 U.S.C. § 2310(d)(1)(A) and/or § 2310(d)(3)(C) is satisfied because

17
     Plaintiffs properly invoke jurisdiction under the Class Action Fairness Act (“CAFA”).

18
              278. Section 2310(d)(1) of Chapter 15 of the United States Code provides a

19
     cause of action for any consumer who is damaged by the failure of a warrantor to comply

20
     with a written or implied warranty.

21
              279. Defendant made written and implied warranties regarding the Vehicles to

22
     Plaintiffs and Class members within the meaning of 15 U.S.C. § 2301. Defendant

23
     provided Plaintiffs and other Class members an implied warranty of merchantability

24
     within the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(7).

25
              280. Defendant breached the implied warranty of merchantability because the

26
     Vehicles were not fit for the ordinary purpose for which such goods are used. As

27
     described throughout the Complaint, the Vehicles contain defects which render them

28
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 1   unsafe, inconvenient, and imperfect such that Plaintiffs and Class members would not
 2   have purchased the Vehicles had they known of the defects.
 3            281. Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this class
 4   action and are not required to give Defendant notice and an opportunity to cure until
 5   such time as the Court determines the representative capacity of Plaintiffs pursuant to
 6   Rule 23 of the Federal Rules of Civil Procedure.
 7            282. Plaintiffs, individually and on behalf of the other Class members, seek all
 8   damages permitted by law, including diminution in value of their Vehicles, in an amount
 9   to be proven at trial.
10            283. In addition, pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs and the other
11   Class members are entitled to recover a sum equal to the aggregate amount of costs and
12   expenses (including attorneys’ fees based on actual time expended) determined by the
13   Court to have reasonably been incurred by Plaintiffs and the other Class members in
14   connection with the commencement and prosecution of this action.
15            284. Further, Plaintiffs and the Class are also entitled to equitable relief under
16   15 U.S.C. § 2310(d)(1) and damages as a result of Defendant’s violation of its written
17   and/or implied warranties.
18                                           COUNT III
                            VIOLATIONS OF THE CALIFORNIA CONSUMER
19                                    LEGAL REMEDIES ACT
                                  (CAL. CIV. CODE § 1750, ET SEQ.)
20

21
              285. Plaintiffs incorporate by reference all preceding allegations as though fully

22
     set forth herein.

23
              286. Plaintiffs bring this claim as part of the Nationwide Class.

24
              287. California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code

25
     § 1750, et seq., proscribes “unfair methods of competition and unfair or deceptive acts

26
     or practices undertaken by any person in a transaction intended to result or which results

27
     in the sale or lease of goods or services to any consumer.”

28
              288. The Vehicles are “goods” as defined in Cal. Civ. Code § 1761(a).

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 1            289. Plaintiffs and the other Class members are “consumers” as defined in Cal.
 2   Civ. Code § 1761(d), and Plaintiffs, the other Class members, and Honda are “persons”
 3   as defined in Cal. Civ. Code § 1761(c).
 4            290. As alleged herein, Honda made misleading representations and omissions
 5   concerning the benefits, performance, and safety of the Vehicles, including the
 6   infotainment system.
 7            291. In purchasing or leasing the Vehicles, Plaintiffs and other Class members
 8   were deceived by Honda’s failure to disclose its knowledge of the defect in its
 9   infotainment system.
10            292. Honda’s conduct as described herein was and is in violation of the CLRA.
11   Honda’s conduct violates at least the following enumerated CLRA provisions:
12                     i.     Cal. Civ. Code § 1770(a)(5): Representing that goods have
13                            sponsorship, approval, characteristics, uses, benefits, or quantities
14                            that they do not have.
15                     ii.    Cal Civ. Code § 1770(a)(7): Representing that goods are of a
16                            particular standard, quality, or grade if they are of another.
17                     iii.   Cal. Civ. Code § 1770(a)(9): Advertising goods with intent not to
18                            sell them as advertised.
19                     iv.    Cal Civ. Code § 1770(a)(16): Representing that goods have been
20                            supplied in accordance with a previous representation when they
21                            have not.
22            293. Honda intentionally and knowingly misrepresented and omitted material
23   facts regarding the Vehicles, specifically regarding the infotainment system, with an
24   intent to mislead Plaintiffs and Class members.
25            294. In purchasing or leasing the Vehicles, Plaintiffs and other Class members
26   were deceived by Honda’s failure to disclose its knowledge of the defect in its
27   infotainment system.
28
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 1            295. Plaintiffs and other Class members had no way of knowing Honda’s
 2   representations were false, misleading, and incomplete or knowing the true nature of the
 3   infotainment system.
 4            296. As alleged herein, Honda engaged in a pattern of deception and public
 5   silence in the face of a known defect with its infotainment system. Plaintiffs and other
 6   Class members did not, and could not, unravel Honda’s deception on their own.
 7            297. Honda knew or should have known its conduct violated the CLRA.
 8            298. Honda owed Plaintiffs and the Class members a duty to disclose the truth
 9   about its faulty infotainment system because the defect created a safety hazard and
10   Honda:
11                     i.     Possessed exclusive knowledge of the defect in the infotainment
12                            system,
13                     ii.    Intentionally concealed the foregoing from Plaintiffs and Class
14                            members; and/or
15                     iii.   Made incomplete representations in advertisements and on its
16                            website, failing to warn the public or to publicly admit that the
17                            infotainment system was defective.
18            299. Honda had a duty to disclose that the infotainment system in the Vehicles
19   was fundamentally flawed as described herein, because the defect created a safety
20   hazard, and Plaintiffs and the other Class members relied on Honda’s material
21   misrepresentations and omissions regarding the features of the Vehicles and
22   infotainment system.
23            300. Honda’s conduct proximately caused injuries to Plaintiffs and the other
24   Class members that purchased the Vehicles and suffered harm as alleged herein.
25            301. Plaintiffs and the other Class members were injured and suffered
26   ascertainable loss, injury-in-fact, and/or actual damage as a proximate result of Honda’s
27

28
     COMPLAINT                                  - 72 -
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 1   conduct in that Plaintiffs and the other Class members incurred costs, including
 2   overpaying for their Vehicles that have suffered a diminution in value.
 3            302. Honda’s violations cause continuing injuries to Plaintiffs and other Class
 4   members.
 5            303. Honda’s unlawful acts and practices complained of herein affect the public
 6   interest.
 7            304. Honda knew of the defective design and/or manufacture of the
 8   infotainment system, and that the Vehicles were materially compromised by such
 9   defects.
10            305. The facts concealed and omitted by Honda from Plaintiffs and other Class
11   members are material in that a reasonable consumer would have considered them to be
12   important in deciding whether to purchase an Acura vehicle or pay a lower price. Had
13   Plaintiffs and the other Class members known about the defective nature of the Vehicles,
14   they would not have purchased the Vehicles or would not have paid the prices they paid.
15            306. Plaintiffs’ and the other Class members’ injuries were proximately caused
16   by Honda’s unlawful and deceptive business practices.
17            307. Pursuant to Cal. Civ. Code § 1780(a), Plaintiffs seek an order enjoining
18   Honda from engaging in the methods, acts, or practices alleged herein, including further
19   concealment of the defect in the infotainment system.
20            308. Plaintiffs sent out a notice letter on July 10, 2019.
21            309. Pursuant to Cal. Civ. Code § 1782, if Defendant does not rectify its conduct
22   within 30 days, Plaintiffs intend to amend this Complaint to add claims under the Cal.
23   Civ. Code for:
24                     i.     Actual damages;
25                     ii.    Restitution of money to Plaintiffs and Class members, and the
26                            general public;
27                     iii.   Punitive damages;
28
     COMPLAINT                                    - 73 -
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 1                     iv.        An additional award of up to $5,000 to each Plaintiffs and any Class
 2                                member who is a “senior citizen”;
 3                     v.         Attorneys’ fees and costs; and
 4                     vi.        Other relief that this Court deems proper.
 5                                 COUNT IV
             VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW
 6                  (CAL. BUS. & PROF. CODE § 17200, ET SEQ.)
 7            310. Plaintiffs incorporate by reference all preceding allegations as though fully
 8   set forth herein.
 9            311. Plaintiffs bring this claim on behalf of the Nationwide Class.
10            312. California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
11   § 17200, et seq., proscribes acts of unfair competition, including “any unlawful, unfair
12   or fraudulent business act or practice and unfair, deceptive, untrue, or misleading
13   advertising.”
14            313. Honda’s conduct, as described herein, was and is in violation of the UCL.
15   Honda’s conduct violates the UCL in at least the following ways:
16                           i.   By failing to disclose that the infotainment system in the Vehicles
17                                was defective;
18                          ii.   By selling and leasing Vehicles that suffer from such defects;
19                      iii.      By knowingly and intentionally concealing from Plaintiffs and the
20                                other Class members that the infotainment system was defective;
21                      iv.       By marketing Vehicles as safe, convenient, and defect free, with
22                                cutting edge technology, all while knowing of the defect related to
23                                the infotainment system; and
24                          v.    By violating other California laws, including California consumer
25                                protection laws.
26

27

28
     COMPLAINT                                       - 74 -
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 1            314. Honda intentionally and knowingly misrepresented and omitted material
 2   facts regarding the Vehicles with intent to mislead Plaintiffs and the other Class
 3   members.
 4            315. In purchasing or leasing the Vehicles, Plaintiffs and the other Class
 5   members were deceived by Honda’s failure to disclose the defect related to the
 6   infotainment system.
 7            316. Plaintiffs and the other Class members reasonably relied upon Honda’s
 8   false misrepresentations and omissions. They had no way of knowing that Honda’s
 9   representations were false, misleading, and incomplete. As alleged herein, Honda
10   engaged in a pattern of deception and public silence in the face of a known defect with
11   its infotainment system. Plaintiffs and the other Class members did not, and could not,
12   unravel Honda’s deception on their own.
13            317. Honda knew or should have known that its conduct violated the UCL.
14            318. Honda owed Plaintiffs and the other Class members a duty to disclose the
15   truth about its infotainment system because the defect created a safety hazard and
16   Honda:
17                            i.   Possessed exclusive knowledge of the defect in the
18                                 infotainment system;
19                           ii.   Intentionally concealed the foregoing from Plaintiffs and the
20                                 other Class members; and/or
21                          iii.   Made incomplete representations by failing to warn the public
22                                 or to publicly admit that the infotainment system was
23                                 defective.
24            319. Honda had a duty to disclose that the infotainment system in the Vehicles
25   was fundamentally flawed as described herein, because Plaintiffs and the other Class
26   members relied on Honda’s material misrepresentations and omissions.
27

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     COMPLAINT                                  - 75 -
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 1            320. Honda’s conduct proximately caused injuries to Plaintiffs and the other
 2   Class members that purchased the Vehicles and suffered harm as alleged herein.
 3            321. Plaintiffs and the other Class members were injured and suffered
 4   ascertainable loss, injury-in-fact, and/or actual damage as a proximate result of Honda’s
 5   conduct in that Plaintiffs and the other Class members incurred costs, including
 6   overpaying for their Vehicles that have suffered a diminution in value.
 7            322. Honda’s violations cause continuing injuries to Plaintiffs and Class
 8   members.
 9            323. Honda’s unlawful acts and practices complained of herein affect the public
10   interest.
11            324. Honda’s misrepresentations and omissions alleged herein caused Plaintiffs
12   and the other Class members to make their purchases of their Vehicles. Absent those
13   misrepresentations and omissions, Plaintiffs and the other Class members would not
14   have purchased these Vehicles, would not have purchased these Vehicles at the prices
15   they paid, and/or would have purchased less expensive alternative vehicles that did not
16   contain defective infotainment systems that failed to live up to industry standards.
17            325. Accordingly, Plaintiffs and the other Class members have suffered injury-
18   in-fact, including lost money or property, as a result of Honda’s misrepresentations and
19   omissions.
20            326. Plaintiffs request that this Court enter such orders or judgments as may be
21   necessary to restore to Plaintiffs and Class members any money it acquired by unfair
22   competition, including restitution and/or restitutionary disgorgement, as provided in
23   Cal. Bus. & Prof. Code § 17203 and Cal. Civ. Code § 3345; and for such other relief as
24   may be appropriate.
25                                       COUNT V
                                  FRAUD BY CONCEALMENT
26                              (BASED ON CALIFORNIA LAW)
27

28
     COMPLAINT                               - 76 -
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 1            327. Plaintiffs incorporate by reference all preceding allegations as though fully
 2   set forth herein.
 3            328. Plaintiffs bring this claim on behalf of the Nationwide Class.
 4            329. Honda intentionally concealed that the infotainment system is defective.
 5            330. Honda further affirmatively misrepresented to Plaintiffs in advertising and
 6   other forms of communication, including standard and uniform material provided with
 7   each car and on its website, that the Vehicles it was selling had no significant defects,
 8   that the infotainment system was a safety feature, reliable, and would perform and
 9   operate properly.
10            331. Honda knew about the defect in the infotainment system when these
11   representations were made.
12            332. The Vehicles purchased by Plaintiffs and the other Class members
13   contained defective infotainment system.
14            333. Honda had a duty to disclose that the infotainment system contained a
15   fundamental defect as alleged herein, because the defect created a safety hazard and
16   Plaintiffs and the other Class members relied on Honda’s material representations.
17            334. As alleged herein, at all relevant times, Honda has held out the Vehicles to
18   be free from defects such as the defect related to the infotainment system. Honda touted
19   and continues to tout the many benefits and advantages of the infotainment system, but
20   nonetheless failed to disclose important facts related to the defect. This made Honda’s
21   other disclosures about the infotainment system deceptive.
22            335. The truth about the defective infotainment system was known only to
23   Honda; Plaintiffs and the other Class members did not know of these facts and Honda
24   actively concealed these facts from Plaintiffs and Class members.
25            336. Plaintiffs and the other Class members reasonably relied upon Honda’s
26   deception. They had no way of knowing that Honda’s representations were false,
27   misleading, or incomplete. As consumers, Plaintiffs and Class members did not, and
28
     COMPLAINT                                - 77 -
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 1   could not, unravel Honda’s deception on their own. Rather, Honda intended to deceive
 2   Plaintiffs and Class members by concealing the true facts about the Vehicles’
 3   infotainment systems.
 4            337. Honda’s false representations and omissions were material to consumers
 5   because they concerned qualities of the Vehicles that played a significant role in the
 6   value of the Vehicles.
 7            338. Honda had a duty to disclose the infotainment system defect and violations
 8   with respect to the Vehicles because details of the true facts were known and/or
 9   accessible only to Honda, because Honda had exclusive knowledge as to such facts, and
10   because Honda knew these facts were not known to or reasonably discoverable by
11   Plaintiffs or Class members.
12            339. Honda also had a duty to disclose because it made general affirmative
13   representations about the technological and safety innovations included with its
14   Vehicles, without telling consumers that one of the features had a fundamental defect
15   that would affect the safety, quality, and performance of the Vehicle.
16            340. Honda’s disclosures were misleading, deceptive, and incomplete because
17   they failed to inform consumers of the additional facts regarding the defect in the
18   infotainment system as set forth herein. These omitted and concealed facts were material
19   because they directly impact the value of the Vehicles purchased by Plaintiffs and Class
20   members.
21            341. Honda has still not made full and adequate disclosures, and continues to
22   defraud Plaintiffs and Class members by concealing material information regarding the
23   defect in the infotainment system.
24            342. Plaintiffs and Class members were unaware of the omitted material facts
25   referenced herein, and they would not have acted as they did if they had known of the
26   concealed and/or suppressed facts, in that they would not have purchased or paid as
27   much for cars with faulty technology, and/or would have taken other affirmative steps
28
     COMPLAINT                               - 78 -
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 1   in light of the information concealed from them. Plaintiffs’ and Class members’ actions
 2   were justified. Honda was in exclusive control of the material facts, and such facts were
 3   not generally known to the public, Plaintiffs, or Class members.
 4            343. Because of the concealment and/or suppression of facts, Plaintiffs and
 5   Class members sustained damage because they own or lease Vehicles that are
 6   diminished in value as a result of Honda’s concealment of the true quality of those
 7   Vehicles’ infotainment systems. Had Plaintiffs and Class members been aware of the
 8   defect in the infotainment systems installed in the Vehicles, and the Company’s
 9   disregard for the truth, Plaintiffs and Class members would have paid less for their
10   Vehicles or would not have purchased or leased them at all.
11            344. The value of Plaintiffs’ and Class members’ Vehicles has diminished as a
12   result of Honda’s fraudulent concealment of the defective infotainment system of the
13   Vehicles, which has made any reasonable consumer reluctant to purchase any of the
14   Vehicles, let alone pay what otherwise would have been fair market value for the
15   Vehicles.
16            345. Accordingly, Honda is liable to Plaintiffs and Class members for damages
17   in an amount to be proven at trial.
18            346. Honda’s acts were done wantonly, maliciously, oppressively, deliberately,
19   with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights
20   and the representations that Honda made to them, in order to enrich Honda. Honda’s
21   conduct warrants an assessment of punitive damages in an amount sufficient to deter
22   such conduct in the future, which amount is to be determined according to proof.
23                                 COUNT VI
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
24                          (CAL. COM. CODE § 2314)
25            347. Plaintiffs incorporate by reference all preceding allegations as though fully
26   set forth herein.
27            348. Plaintiffs bring this claim on behalf of the Nationwide Class.
28
     COMPLAINT                                - 79 -
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 1            349. Defendant is and was at all relevant times a merchant with respect to motor
 2   vehicles under Cal. Com. Code § 2104.
 3            350. A warranty that the Vehicles were in merchantable condition was implied
 4   by law in the instant transaction, pursuant to Cal. Com. Code § 2314.
 5            351. Honda marketed the Vehicles as safe and reliable luxury vehicles. Such
 6   representations formed the basis of the bargain in Plaintiffs’ and Class members’
 7   decisions to purchase or lease the Vehicles.
 8            352. Plaintiffs and other Class members purchased or leased the Vehicles from
 9   Honda, through Honda’s authorized agents for retail sales, through private sellers, or
10   were otherwise expected to be the eventual purchasers of the Vehicles when bought
11   from a third party. At all relevant times, Honda was the manufacturer, distributor,
12   warrantor, and/or seller of the Vehicles.
13            353. Honda knew or had reason to know of the specific use for which the
14   Vehicles were purchased or leased.
15            354. Because of the defect in the infotainment system, the Vehicles were not in
16   merchantable condition when sold and are not fit for the ordinary purpose of providing
17   safe and reliable transportation.
18            355. Honda knew about the defect in the infotainment system, allowing Honda
19   to cure their breach of its warranty if it chose.
20            356. Honda’s attempt to disclaim or limit the implied warranty of
21   merchantability vis-à-vis consumers is unconscionable and unenforceable here.
22   Specifically, Honda’s warranty limitation is unenforceable because they knowingly sold
23   or leased a defective product without informing consumers about the defect. The time
24   limits contained in Honda’s warranty periods were also unconscionable and inadequate
25   to protect Plaintiffs and other Class members. Among other things, Plaintiffs and other
26   Class members had no meaningful choice in determining these time limitations, the
27   terms of which unreasonably favored Honda. A gross disparity in bargaining power
28
     COMPLAINT                                - 80 -
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 1   existed between Honda and other Class members, and Honda knew of the defect at the
 2   time of sale.
 3            357. Plaintiffs and Class members have complied with all obligations under the
 4   warranty, or otherwise have been excused from performance of said obligations as a
 5   result of Honda’s conduct described herein. Affording Honda a reasonable opportunity
 6   to cure the breach of written warranties therefore would be unnecessary and futile.
 7            358. Accordingly, Honda is liable to Plaintiffs and Class members for damages
 8   in an amount to be proven at trial.
 9   B.       Claims Brought on Behalf of the California Class
10                                           COUNT VII
                            VIOLATIONS OF THE CALIFORNIA CONSUMER
11                                    LEGAL REMEDIES ACT
                                  (CAL. CIV. CODE § 1750, ET SEQ.)
12

13
              359. Plaintiff Jimmy Banh (“Plaintiff” for purposes of all California Class

14
     counts) incorporates by reference all paragraphs as though fully set forth herein.

15
              360. Plaintiff brings this claim on behalf of the California Class, if California’s

16
     law does not apply nationwide.

17
              361. California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code

18
     § 1750, et seq., proscribes “unfair methods of competition and unfair or deceptive acts

19
     or practices undertaken by any person in a transaction intended to result or which results

20
     in the sale or lease of goods or services to any consumer.”

21
              362. The Vehicles are “goods” as defined in Cal. Civ. Code § 1761(a).

22
              363. Plaintiff and the other California Class members are “consumers” as

23
     defined in Cal. Civ. Code § 1761(d), and Plaintiff, the other California Class members,

24
     and Honda are “persons” as defined in Cal. Civ. Code § 1761(c).

25
              364. As alleged herein, Honda made misleading representations and omissions

26
     concerning the benefits, performance, and safety of the class Vehicles, including the

27
     infotainment system.

28
     COMPLAINT                                 - 81 -
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 1            365. In purchasing or leasing the class Vehicles, plaintiff and the other
 2   California Class members were deceived by Honda’s failure to disclose its knowledge
 3   of the defect in its infotainment system.
 4            366. Honda’s conduct as described herein was and is in violation of the CLRA.
 5   Honda’s conduct violates at least the following enumerated CLRA provisions:
 6                     a.     Cal. Civ. Code § 1770(a)(5): Representing that goods have
 7
                              sponsorship, approval, characteristics, uses, benefits, or quantities
                              that they do not have.
 8
                       ii.    Cal Civ. Code § 1770(a)(7): Representing that goods are of a
 9                            particular standard, quality, or grade if they are of another.
10                     iii.   Cal. Civ. Code § 1770(a)(9): Advertising goods with intent not to
                              sell them as advertised.
11
                       iv.    Cal Civ. Code § 1770(a)(16): Representing that goods have been
12                            supplied in accordance with a previous representation when they
                              have not.
13

14            367. Honda intentionally and knowingly misrepresented and omitted material
15   facts regarding the Vehicles, specifically regarding the infotainment system, with an
16   intent to mislead Plaintiff and the other California Class members.
17            368. In purchasing or leasing the Vehicles, Plaintiff and the other California
18   Class members were deceived by Honda’s failure to disclose its knowledge of the defect
19   in its infotainment system.
20            369. Plaintiff and the other California Class members had no way of knowing
21   Honda’s representations were false, misleading, and incomplete or knowing the true
22   nature of the infotainment system. As alleged herein, Honda engaged in a pattern of
23   deception and public silence in the face of a known defect with its infotainment system.
24   Plaintiff and the other California Class members did not, and could not, unravel Honda’s
25   deception on their own.
26            370. Honda knew or should have known its conduct violated the CLRA.
27

28
     COMPLAINT                                   - 82 -
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 1            371. Honda owed Plaintiff and the other California Class members a duty to
 2   disclose the truth about its faulty infotainment system because the defect created a safety
 3   hazard and Honda:
 4                     i.     Possessed exclusive knowledge of the defect in the infotainment
 5                            system;
 6                     ii.    Intentionally concealed the foregoing from Plaintiff and the other
 7                            California Class members; and/or
 8                     iii.   Made incomplete representations in advertisements and on its
 9                            website, failing to warn the public or to publicly admit that the
10                            infotainment system was defective.
11            372. Honda had a duty to disclose that the infotainment system in the Vehicles
12   was fundamentally flawed as described herein, because the defect created a safety
13   hazard, and Plaintiff and the other California Class members relied on Honda’s material
14   misrepresentations and omissions regarding the features of the Vehicles and
15   infotainment system.
16            373. Honda’s conduct proximately caused injuries to Plaintiff and the other
17   California Class members who purchased or leased the Vehicles and suffered harm as
18   alleged herein.
19            374. Plaintiff and the other California Class members were injured and suffered
20   ascertainable loss, injury-in-fact, and/or actual damage as a proximate result of Honda’s
21   conduct in that Plaintiff and the other California Class members incurred costs,
22   including overpaying for their Vehicles that have suffered a diminution in value.
23            375. Honda’s violations cause continuing injuries to Plaintiff and the other
24   California Class members. Honda’s unlawful acts and practices complained of herein
25   affect the public interest.
26

27

28
     COMPLAINT                                  - 83 -
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 1            376. Honda knew of the defective design and/or manufacture of the
 2   infotainment system, and that the Vehicles were materially compromised by such
 3   defects.
 4            377. The facts concealed and omitted by Honda from Plaintiff and the other
 5   California Class members are material in that a reasonable consumer would have
 6   considered them to be important in deciding whether to purchase an Acura vehicle or
 7   pay a lower price. Had Plaintiff and the other California Class members known about
 8   the defective nature of the Vehicles, they would not have purchased or leased the
 9   Vehicles or would not have paid the prices they paid.
10            378. Plaintiff’s and the other California Class members’ injuries were
11   proximately caused by Honda’s unlawful and deceptive business practices.
12            379. Pursuant to Cal. Civ. Code § 1780(a), Plaintiff seeks an order enjoining
13   Honda from engaging in the methods, acts, or practices alleged herein, including further
14   concealment of the defect in the infotainment system.
15            380. Plaintiff sent out a notice letter on July 10, 2019.
16             381. Pursuant to Cal. Civ. Code § 1782, if Defendant does not rectify its conduct
17   within 30 days, Plaintiff intends to amend this Complaint to add claims under the CLRA
18   for:
19                     i.     Actual damages;
20                     ii.    Restitution of money to Plaintiff and the California Class members,
21                            and the general public;
22                     iii.   Punitive damages;
23                     iv.    An additional award of up to $5,000 to any Class member who is a
24                            “senior citizen”;
25                     v.     Attorneys’ fees and costs; and
26                     vi.    Other relief that this Court deems proper.
27

28
     COMPLAINT                                    - 84 -
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                                  COUNT VIII
 1           VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW
                    (CAL. BUS. & PROF. CODE § 17200, ET SEQ.)
 2

 3            382. Plaintiff incorporates by reference all preceding allegations as though fully

 4   set forth herein.

 5            383. Plaintiff brings this claim on behalf of the California Class.

 6
              384. California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code

 7
     § 17200, et seq., proscribes acts of unfair competition, including “any unlawful, unfair

 8
     or fraudulent business act or practice and unfair, deceptive, untrue, or misleading

 9
     advertising.”

10
              385. Honda’s conduct, as described herein, was and is in violation of the UCL.

11
     Honda’s conduct violates the UCL in at least the following ways:

12
                       i.     By failing to disclose that the infotainment system in the Vehicles

13
                              was defective;

14
                       ii.    By selling and leasing Vehicles that suffer from such defects without

15
                              fixing the defect pursuant to the warranty;

16
                       iii.   By knowingly and intentionally concealing from Plaintiff and the

17
                              other California Class members that the infotainment system was

18
                              defective;

19
                       iv.    By marketing Vehicles as safe, convenient, and defect free, with

20
                              cutting edge technology, all while knowing of the defect related to

21
                              the infotainment system; and

22
                       v.     By violating other California laws, including California consumer

23
                              protection laws.

24
              386. Honda intentionally and knowingly misrepresented and omitted material

25
     facts regarding the Vehicles with intent to mislead Plaintiff and the other California

26
     Class members.

27

28
     COMPLAINT                                   - 85 -
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 1            387. In purchasing or leasing the Vehicles, Plaintiff and the other California
 2   Class members were deceived by Honda’s failure to disclose the defect related to the
 3   infotainment system.
 4            388. Plaintiff and the other California Class members reasonably relied upon
 5   Honda’s false misrepresentations and omissions. They had no way of knowing that
 6   Honda’s representations were false, misleading, and incomplete. As alleged herein,
 7   Honda engaged in a pattern of deception and public silence in the face of a known defect
 8   with its infotainment system. Plaintiff and the other California Class members did not,
 9   and could not, unravel Honda’s deception on their own.
10            389. Honda knew or should have known that its conduct violated the UCL.
11            390. Honda owed Plaintiff and the other California Class members a duty to
12   disclose the truth about its infotainment system because the defect created a safety
13   hazard and Honda:
14                     i.     Possessed exclusive knowledge of the defect in the infotainment
15                            system;
16                     ii.    Intentionally concealed the foregoing from Plaintiff and the other
17                            California Class members; and/or
18                     iii.   Made incomplete representations by failing to warn the public or to
19                            publicly admit that the infotainment system was defective.
20            391. Honda had a duty to disclose that the infotainment system in the Vehicles
21   was fundamentally flawed as described herein, because Plaintiff and the other California
22   Class members relied on Honda’s material misrepresentations and omissions.
23            392. Honda’s conduct proximately caused injuries to Plaintiff and the other
24   California Class members that purchased or leased the Vehicles and suffered harm as
25   alleged herein.
26            393. Plaintiff and the other California Class members were injured and suffered
27   ascertainable loss, injury-in-fact, and/or actual damage as a proximate result of Honda’s
28
     COMPLAINT                                   - 86 -
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 1   conduct in that Plaintiff and the other California Class members incurred costs,
 2   including overpaying for their Vehicles that have suffered a diminution in value.
 3            394. Honda’s violations cause continuing injuries to Plaintiff and the other
 4   California Class members. Honda’s unlawful acts and practices complained of herein
 5   affect the public interest.
 6            395. Honda’s misrepresentations and omissions alleged herein caused Plaintiff
 7   and the other California Class members to make their purchases of their Vehicles.
 8   Absent those misrepresentations and omissions, Plaintiff and the other California Class
 9   members would not have purchased or leased the Vehicles, would not have purchased
10   or leased the Vehicles at the prices they paid, and/or would have purchased less
11   expensive alternative vehicles that did not contain defective infotainment systems that
12   failed to live up to industry standards.
13            396. Accordingly, Plaintiff and the other California Class members have
14   suffered injury-in-fact, including lost money or property, as a result of Honda’s
15   misrepresentations and omissions.
16            397. Plaintiff requests that this Court enter such orders or judgments as may be
17   necessary to restore to Plaintiff and California Class members any money it acquired by
18   unfair competition, including restitution and/or restitutionary disgorgement, as provided
19   in Cal. Bus. & Prof. Code § 17203 and Cal. Civ. Code § 3345; and for such other relief
20   as may be appropriate.
21                                       COUNT IX
                                  FRAUD BY CONCEALMENT
22                              (BASED ON CALIFORNIA LAW)
23            398. Plaintiff incorporates by reference all preceding allegations as though fully
24   set forth herein.
25            399. Plaintiff brings this claim on behalf of the California Class.
26            400. Honda intentionally concealed that the infotainment system is defective.
27

28
     COMPLAINT                                  - 87 -
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 1            401. Honda further affirmatively misrepresented to Plaintiff in advertising and
 2   other forms of communication, including standard and uniform material provided with
 3   each car and on its website, that the Vehicles it was selling had no significant defects,
 4   that the infotainment system was a safety feature, reliable, and would perform and
 5   operate properly.
 6            402. Honda knew about the defect in the infotainment system when these
 7   representations were made.
 8            403. The Vehicles purchased by Plaintiff and the other California Class
 9   members contained a defective infotainment system.
10            404. Honda had a duty to disclose that the infotainment system contained a
11   fundamental defect as alleged herein, because the defect created a safety hazard and
12   Plaintiff and the other California Class members relied on Honda’s material
13   representations.
14            405. As alleged herein, at all relevant times, Honda has held out the Vehicles to
15   be free from defects such as the defect related to the infotainment system. Honda touted
16   and continues to tout the many benefits and advantages of the infotainment system, but
17   nonetheless failed to disclose important facts related to the defect. This made Honda’s
18   other disclosures about the infotainment system deceptive.
19            406. The truth about the defective infotainment system was known only to
20   Honda; Plaintiff and the other California Class members did not know of these facts and
21   Honda actively concealed these facts from Plaintiff and Class members.
22            407. Plaintiffs and the other California Class members reasonably relied upon
23   Honda’s deception. They had no way of knowing that Honda’s representations were
24   false, misleading, or incomplete. As consumers, Plaintiff and Class members did not,
25   and could not, unravel Honda’s deception on their own. Rather, Honda intended to
26   deceive Plaintiff and Class members by concealing the true facts about the Vehicles’
27   infotainment systems.
28
     COMPLAINT                                - 88 -
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 1            408. Honda’s false representations and omissions were material to consumers
 2   because they concerned qualities of the Vehicles that played a significant role in the
 3   value of the Vehicles.
 4            409. Honda had a duty to disclose the infotainment system defect and violations
 5   with respect to the Vehicles because details of the true facts were known and/or
 6   accessible only to Honda, because Honda had exclusive knowledge as to such facts, and
 7   because Honda knew these facts were not known to or reasonably discoverable by
 8   Plaintiff or Class members.
 9            410. Honda also had a duty to disclose because it made general affirmative
10   representations about the technological and safety innovations included with its
11   Vehicles, without telling consumers that one of the features had a fundamental defect
12   that would affect the safety, quality, and performance of the Vehicles.
13            411. Honda’s disclosures were misleading, deceptive, and incomplete because
14   they failed to inform consumers of the additional facts regarding the defect in the
15   infotainment system as set forth herein. These omitted and concealed facts were material
16   because they directly impact the value of the Vehicles purchased by Plaintiff and Class
17   members.
18            412. Honda has still not made full and adequate disclosures, and continues to
19   defraud Plaintiff and Class members by concealing material information regarding the
20   defect in the infotainment system.
21            413. Plaintiff and Class members were unaware of the omitted material facts
22   referenced herein, and they would not have acted as they did if they had known of the
23   concealed and/or suppressed facts, in that they would not have purchased or paid as
24   much for cars with faulty technology, and/or would have taken other affirmative steps
25   in light of the information concealed from them. Plaintiff’s and Class members’ actions
26   were justified. Honda was in exclusive control of the material facts, and such facts were
27   not generally known to the public, Plaintiff, or Class members.
28
     COMPLAINT                               - 89 -
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 1            414. Because of the concealment and/or suppression of facts, Plaintiff and Class
 2   members sustained damage because they own(ed) vehicles that are diminished in value
 3   as a result of Honda’s concealment of the true quality of those Vehicles’ infotainment
 4   systems. Had Plaintiff and Class members been aware of the defect in the infotainment
 5   systems installed in the Vehicles, and the Company’s disregard for the truth, Plaintiff
 6   and Class members who purchased or leased a Vehicle would have paid less for it or
 7   would not have purchased it at all.
 8            415. The value of Plaintiff’s and Class members’ Vehicles has diminished as a
 9   result of Honda’s fraudulent concealment of the defective infotainment system of the
10   Vehicles, which has made any reasonable consumer reluctant to purchase any of the
11   Vehicles, let alone pay what otherwise would have been fair market value for the
12   Vehicles.
13            416. Accordingly, Honda is liable to Plaintiff and Class members for damages
14   in an amount to be proven at trial.
15            417. Honda’s acts were done wantonly, maliciously, oppressively, deliberately,
16   with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights
17   and the representations that Honda made to them, in order to enrich Honda. Honda’s
18   conduct warrants an assessment of punitive damages in an amount sufficient to deter
19   such conduct in the future, which amount is to be determined according to proof.
20                                      COUNT X
                              BREACH OF EXPRESS WARRANTY
21                             (BASED ON CALIFORNIA LAW)
22            418. Plaintiff incorporates by reference all preceding allegations as though fully
23   set forth herein.
24            419. Plaintiff brings this claim on behalf of the California Class.
25            420. Honda is and was at all relevant times a merchant with respect to motor
26   vehicles.
27

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     COMPLAINT                                - 90 -
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 1            421. In its Limited Warranty, Defendant expressly warranted that “Acura will
 2   repair or replace any part that is defective in material or workmanship under normal
 3   use” and that “all repairs/replacements made under this warranty are free of charge.”
 4            422. Honda’s Limited Warranty formed the basis of the bargain that was
 5   reached when Plaintiff and the other California Class members purchased or leased their
 6   Vehicles equipped with an infotainment system from Honda.
 7            423. Honda breached the express warranty to repair and adjust to correct defects
 8   in materials and workmanship of any part supplied by Honda. Honda has not repaired
 9   or replaced, and has been unable to repair or replace, the Vehicles’ materials and
10   workmanship defects.
11            424. Furthermore, the limited warranty of repair and/or replacement to defective
12   parts fails in its essential purpose because the contractual remedy is insufficient to make
13   Plaintiff and the other California Class members whole and because Honda has failed
14   and/or has refused to adequately provide the promised remedies within a reasonable
15   time.
16            425. Accordingly, recovery by Plaintiff and the other California Class members
17   is not limited to the limited warranty of repair or adjustments to parts defective in
18   materials or workmanship, and Plaintiff, individually and on behalf of the other
19   California Class members, seek all remedies as allowed by law.
20            426. Also, as alleged in more detail herein, at the time that Honda warranted and
21   sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
22   Warranty and were inherently defective, and Honda wrongfully and fraudulently
23   concealed material facts regarding its Vehicles. Plaintiffs and the other California Class
24   members were therefore induced to purchase or lease the Vehicles under false and/or
25   fraudulent pretenses.
26            427. Moreover, many of the injuries flowing from the Vehicles cannot be
27   resolved through the limited remedy of replacement or repair, as many incidental and
28
     COMPLAINT                                - 91 -
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 1   consequential damages have already been suffered due to Honda’s fraudulent conduct
 2   as alleged herein, and due to its failure and/or continued failure to provide such limited
 3   remedy within a reasonable time, and any limitation on Plaintiff’s and the other
 4   California Class members’ remedies would be insufficient to make Plaintiff and the
 5   other California Class members whole.
 6            428. Due to Honda’s breach of warranties as set forth herein, Plaintiffs and the
 7   other California Class members assert as an additional and/or alternative remedy for a
 8   revocation of acceptance of the goods, and for a return to Plaintiff and to the other
 9   California Class members of the purchase price of all Vehicles currently owned for such
10   other incidental and consequential damages.
11            429. Honda was also provided notice of these issues by numerous complaints
12   against it, including the instant Complaint, and by customer complaints, letters, emails
13   and other communications from Class members and from dealers and other repair
14   facilities.
15            430. As a direct and proximate result of Honda’s breach of express warranties,
16   Plaintiff and the other California Class members have been damaged in an amount to be
17   determined at trial.
18                                 COUNT XI
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
19                          (CAL. COM. CODE § 2314)
20            431. Plaintiff incorporates by reference all preceding allegations as though fully
21   set forth herein.
22            432. Plaintiff brings this claim on behalf of the California Class.
23            433. Defendant is and was at all relevant times a merchant with respect to motor
24   vehicles under Cal. Com. Code § 2104.
25            434. A warranty that the Vehicles were in merchantable condition was implied
26   by law in the instant transaction, pursuant to Cal. Com. Code § 2314.
27

28
     COMPLAINT                                - 92 -
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 1            435. Honda marketed the Vehicles as safe and reliable luxury vehicles. Such
 2   representations formed the basis of the bargain in Plaintiff’s and Class members’
 3   decisions to purchase the Vehicles.
 4            436. Plaintiff and the other California Class members purchased or leased the
 5   Vehicles from Honda, through Honda’s authorized agents for retail sales, through
 6   private sellers, or were otherwise expected to be the eventual purchasers of the Vehicles
 7   when bought from a third party. At all relevant times, Honda was the manufacturer,
 8   distributor, warrantor, and/or seller of the Vehicles.
 9            437. Honda knew or had reason to know of the specific use for which the
10   Vehicles were purchased or leased.
11            438. Because of the defect in the infotainment system, the Vehicles were not in
12   merchantable condition when sold and are not fit for the ordinary purpose of providing
13   safe and reliable transportation.
14            439. Honda knew about the defect in the infotainment system, allowing Honda
15   to cure their breach of its warranty if it chose.
16            440. Honda’s attempt to disclaim or limit the implied warranty of
17   merchantability vis-à-vis consumers is unconscionable and unenforceable here.
18   Specifically, Honda’s warranty limitation is unenforceable because they knowingly sold
19   or leased a defective product without informing consumers about the defect. The time
20   limits contained in Honda’s warranty periods were also unconscionable and inadequate
21   to protect Plaintiff and the other California Class members. Among other things,
22   Plaintiff and the other California Class members had no meaningful choice in
23   determining these time limitations, the terms of which unreasonably favored Honda. A
24   gross disparity in bargaining power existed between Honda and other California Class
25   members, and Honda knew of the defect at the time of sale.
26            441. Plaintiff and the other California Class members have complied with all
27   obligations under the warranty, or otherwise have been excused from performance of
28
     COMPLAINT                                - 93 -
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 1    said obligations as a result of Honda’s conduct described herein. Affording Honda a
 2    reasonable opportunity to cure the breach of written warranties therefore would be
 3    unnecessary and futile.
 4             442. Accordingly, Honda is liable to Plaintiff and the other California Class
 5    members for damages in an amount to be proven at trial.
 6    C.       Claims Brought on Behalf of the Florida Class
 7                                   COUNT XII
                VIOLATIONS OF FLORIDA DECEPTIVE AND UNFAIR TRADE
 8                                 PRACTICES ACT
                            (FLA. STAT. § 501.201, ET SEQ.)
 9

10
               443. Plaintiff Lawrence Goldman (“Plaintiff” for purposes of all Florida Class

11
      Counts) incorporates by reference all paragraphs as though fully set forth herein.

12
               444. Plaintiff brings this claim on behalf of the Florida Class.

13
               445. Plaintiff and the other Florida Class members are ‘consumers’, as defined

14
      by § 501.203(7) of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”).

15
               446. Honda engaged in “trade or commerce”, as defined by § 501.203(8) of the

16
      FDUTPA.

17
               447. The sale of the Vehicles to Plaintiff and other Florida Class members was

18
      a “consumer transaction”, as defined by § 1345.01 of the FDUTPA.

19
               448. Section 501.204(1) of the Florida Deceptive and Unfair Trade Practices

20
      Act prohibits “[u]nfair methods of competition, unconscionable acts or practices, and

21
      unfair or deceptive acts or practices in the conduct of any trade or commerce…” Fla.

22
      Stat. § 501.204(1). Honda participated in unfair and deceptive trade practices that

23
      violated the FDUTPA as described herein.

24
               449. By not disclosing the defective nature of the infotainment system Honda

25
      has willfully and knowingly engaged in unfair and deceptive acts in the conduct of trade

26
      and commerce within the State of Florida.

27

28
      COMPLAINT                                - 94 -
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 1             450. In purchasing or leasing the Vehicles, Plaintiff and the other Florida Class
 2    members were deceived by Honda’s failure to disclose that the infotainment system in
 3    the Vehicles was defective.
 4             451. Plaintiff and the other Florida Class members reasonably relied upon
 5    Honda’s false misrepresentations and omissions. They had no way of knowing that
 6    Honda’s representations were false, misleading, and incomplete. As alleged herein,
 7    Honda willfully and knowingly engaged in a pattern of deception and public silence in
 8    the face of a known defect with its infotainment system. Plaintiff and the other Florida
 9    Class members did not, and could not, unravel Honda’s deception on their own.
10             452. Honda’s actions as set forth above occurred in the conduct of trade or
11    commerce.
12             453. Honda’s unfair or deceptive acts or practices were likely to and did in fact
13    deceive reasonable consumers.
14             454. Honda willfully and knowingly misrepresented material facts regarding the
15    Vehicles with intent to mislead Plaintiff and the other Florida Class members.
16             455. Honda knew or should have known that its conduct violated the FDUTPA.
17             456. Honda owed Plaintiff and the other Florida Class members a duty to
18    disclose the truth about its faulty infotainment system because the defect created a safety
19    hazard and Honda:
20                      i.     Possessed exclusive knowledge of the defect in the infotainment
21                             system;
22                      ii.    Intentionally concealed the foregoing from Plaintiff and the other
23                             Florida Class members; and/or
24                      iii.   Made incomplete representations in advertisements and on its
25                             website, failing to warn the public or to publicly admit that the
26                             infotainment system was defective.
27

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      COMPLAINT                                  - 95 -
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 1             457. Honda had a duty to disclose that the infotainment system in the Vehicles
 2    was fundamentally flawed as described herein, because the defect created a safety
 3    hazard and Plaintiff and the other Florida Class members relied on Honda’s material
 4    misrepresentations and omissions regarding the technology, benefits, efficiency,
 5    convenience, performance, and safety features of the infotainment system.
 6             458. Honda’s conduct proximately caused injuries to Plaintiff and the other
 7    Florida Class members who purchased or leased the Vehicles and suffered harm as
 8    alleged herein.
 9             459. Plaintiff and the other Florida Class members were injured and suffered
10    ascertainable loss, injury-in-fact, and/or actual damage as a proximate result of Honda’s
11    conduct in that Plaintiff and the other Florida Class members incurred costs, including
12    overpaying for their Vehicles that have suffered a diminution in value.
13             460. Honda’s violations cause continuing injuries to Plaintiff and the other
14    Florida Class members. Honda’s unlawful acts and practices complained of herein affect
15    the public interest.
16             461. Plaintiff and the other Florida Class members seek damages and treble
17    damages for Honda’s knowing violations.
18             462. Plaintiff and the other Florida Class members also seek court costs and
19    attorneys’ fees.
20                                      COUNT XIII
                                 FRAUDULENT CONCEALMENT
21                                (BASED ON FLORIDA LAW)
22             463. Plaintiff incorporates by reference all preceding allegations as though fully
23    set forth herein.
24             464. Plaintiff brings this claim on behalf of the Florida Class.
25             465. Honda intentionally concealed that the infotainment system is defective.
26             466. Honda further affirmatively misrepresented to Plaintiff in advertising and
27    other forms of communication, including standard and uniform material provided with
28
      COMPLAINT                                - 96 -
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 1    each car and on its website, that the Vehicles it was selling had no significant defects,
 2    that the infotainment system was a safety feature, reliable, and would perform and
 3    operate properly.
 4             467. Honda knew about the defect in the infotainment system when these
 5    representations were made.
 6             468. The Vehicles purchased by Plaintiff and the other Florida Class members
 7    contained a defective infotainment system.
 8             469. Honda had a duty to disclose that the infotainment system contained a
 9    fundamental defect as alleged herein, because the defect created a safety hazard and
10    Plaintiff and the other Florida Class members relied on Honda’s material
11    representations.
12             470. As alleged herein, at all relevant times, Honda has held out the Vehicles to
13    be free from defects such as the defect related to the infotainment system. Honda touted
14    and continues to tout the many benefits and advantages of the infotainment system, but
15    nonetheless failed to disclose important facts related to the defect. This made Honda’s
16    other disclosures about the infotainment system deceptive.
17             471. The truth about the defective infotainment system was known only to
18    Honda; Plaintiff and the other Florida Class members did not know of these facts and
19    Honda actively concealed these facts from Plaintiff and the other Florida Class
20    members.
21             472. Plaintiff and the other Florida Class members reasonably relied upon
22    Honda’s deception. They had no way of knowing that Honda’s representations were
23    false, misleading, or incomplete. As consumers, Plaintiff and the other Florida Class
24    members did not, and could not, unravel Honda’s deception on their own. Rather, Honda
25    intended to deceive Plaintiff and the other Florida Class members by concealing the true
26    facts about the Vehicles’ infotainment systems.
27

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      COMPLAINT                                - 97 -
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 1             473. Honda’s false representations and omissions were material to consumers
 2    because they concerned qualities of the Vehicles that played a significant role in the
 3    value of the Vehicles.
 4             474. Honda had a duty to disclose the infotainment system defect and violations
 5    with respect to the Vehicles because details of the true facts were known and/or
 6    accessible only to Honda, because Honda had exclusive knowledge as to such facts, and
 7    because Honda knew these facts were not known to or reasonably discoverable by
 8    Plaintiff or Class members.
 9             475. Honda also had a duty to disclose because it made general affirmative
10    representations about the technological and safety innovations included with its
11    Vehicles, without telling consumers that one of the features had a fundamental defect
12    that would affect the safety, quality and performance of the Vehicles.
13             476. Honda’s disclosures were misleading, deceptive, and incomplete because
14    they failed to inform consumers of the additional facts regarding the defect in the
15    infotainment system as set forth herein. These omitted and concealed facts were material
16    because they directly impact the value of the Vehicles purchased by Plaintiff and the
17    other Florida Class members.
18             477. Honda has still not made full and adequate disclosures, and continues to
19    defraud Plaintiff and the other Florida Class members by concealing material
20    information regarding the defect in the infotainment system.
21             478. Plaintiff and the other Florida Class members were unaware of the omitted
22    material facts referenced herein, and they would not have acted as they did if they had
23    known of the concealed and/or suppressed facts, in that they would not have purchased
24    or paid as much for cars with faulty technology, and/or would have taken other
25    affirmative steps in light of the information concealed from them. Plaintiff’s and the
26    other Florida Class members’ actions were justified. Honda was in exclusive control of
27

28
      COMPLAINT                               - 98 -
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 1    the material facts, and such facts were not generally known to the public, Plaintiff, or
 2    Class members.
 3             479. Because of the concealment and/or suppression of facts, Plaintiff and the
 4    other Florida Class members sustained damage because they own(ed) Vehicles that are
 5    diminished in value as a result of Honda’s concealment of the true quality of those
 6    Vehicles’ infotainment systems. Had Plaintiff and the other Florida Class members been
 7    aware of the defect in the infotainment systems installed in the Vehicles, and the
 8    Company’s disregard for the truth, Plaintiff and the other Florida Class members who
 9    purchased or leased a Vehicle would have paid less for it or would not have purchased
10    or leased it at all.
11             480. The value of Plaintiff’s and the other Florida Class members’ Vehicles has
12    diminished as a result of Honda’s fraudulent concealment of the defective infotainment
13    system of the Vehicles, which has made any reasonable consumer reluctant to purchase
14    any of the Vehicles, let alone pay what otherwise would have been fair market value for
15    the Vehicles.
16             481. Accordingly, Honda is liable to Plaintiff and the other Florida Class
17    members for damages in an amount to be proven at trial.
18             482. Honda’s acts were done wantonly, maliciously, oppressively, deliberately,
19    with intent to defraud, and in reckless disregard of Plaintiff’s and the other Florida Class
20    members’ rights and the representations that Honda made to them, in order to enrich
21    Honda. Honda’s conduct warrants an assessment of punitive damages in an amount
22    sufficient to deter such conduct in the future, which amount is to be determined
23    according to proof.
24                                      COUNT XIV
                               BREACH OF EXPRESS WARRANTY
25                                  (FLA. STAT. § 672.313)
26             483. Plaintiff incorporates by reference all preceding allegations as though fully
27    set forth herein.
28
      COMPLAINT                                - 99 -
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 1             484. Plaintiff brings this claim on behalf of the Florida Class.
 2             485. Plaintiff was at all relevant times a “buyer”, as defined by § 672.103 of the
 3    Florida Uniform Commercial Code.
 4             486. Honda was at all relevant times a “merchant”, as defined by § 672.104 of
 5    the Florida Uniform Commercial Code.
 6             487. The Vehicles are and were at all relevant times “goods,” as defined by
 7    § 672.105 of the Florida Uniform Commercial Code.
 8             488. Honda marketed the Vehicles as safe and reliable luxury vehicles. Such
 9    representations formed the basis of the bargain in Plaintiff’s and the other Florida Class
10    members’ decisions to purchase the Vehicles.
11             489. In connection with the purchase or lease of each of the Vehicles, Honda
12    provided warranty coverage for the Vehicles for four years or 50,000 miles, which
13    obliges Honda to repair or replace any part that is defective under normal use.
14             490. Honda’s warranty formed a basis of the bargain that was reached when
15    Plaintiff and other Florida Class members purchased their Vehicles.
16             491. Plaintiff and the other Florida Class members owned Vehicles with
17    defective infotainment systems within the warranty period but had no knowledge of the
18    existence of the defect, which was known and concealed by Honda.
19             492. Despite the existence of the warranty, Honda failed to inform Plaintiff and
20    the other Florida Class members that the Vehicles contained the defective infotainment
21    systems during the warranty periods.
22             493. Honda breached the express warranty promising to repair and correct a
23    manufacturing defect or defect in materials or workmanship of any parts they supplied.
24             494. Honda knew about the defect in the infotainment systems, allowing Honda
25    to cure their breach of its warranty if it chose.
26

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      COMPLAINT                                - 100 -
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 1             495. However, Honda concealed the defect and has failed to repair or replace
 2    the infotainment systems despite the defect’s existence at the time of sale or lease of the
 3    Vehicles.
 4             496. Any attempt by Honda to disclaim or limit recovery to the terms of the
 5    express warranties is unconscionable and unenforceable here. Specifically, Honda’s
 6    warranty limitation is unenforceable because they knowingly sold or leased a defective
 7    product without informing consumers about the defect. The time limits contained in
 8    Honda’s warranty periods were also unconscionable and inadequate to protect Plaintiff
 9    and the other Florida Class members. Among other things, Plaintiff and the other Florida
10    Class members had no meaningful choice in determining these time limitations, the
11    terms of which unreasonably favored Honda. A gross disparity in bargaining power
12    existed between Honda and other Florida Class members, and Honda knew that the
13    infotainment systems were defective at the time of sale.
14             497. Further, the limited warranty promising to repair and/or correct a
15    manufacturing defect fails in its essential purpose because the contractual remedy is
16    insufficient to make Plaintiff and other Florida Class members whole because the
17    replacement part used by Honda contains the same defect. Affording Honda a
18    reasonable opportunity to cure the breach of written warranties therefore would be
19    unnecessary and futile.
20             498. Accordingly, Honda is liable to Plaintiff and the other Florida Class
21    members for damages in an amount to be proven at trial.
22                                       COUNT XV
                               BREACH OF IMPLIED WARRANTY
23                                  (FLA. STAT. § 672.314)
24             499. Plaintiff incorporates by reference all preceding allegations as though fully
25    set forth herein.
26             500. Plaintiff brings this claim on behalf of the Florida Class.
27

28
      COMPLAINT                                - 101 -
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 1             501. Plaintiff was at all relevant times a “buyer”, as defined by § 672.103 of the
 2    Florida Uniform Commercial Code.
 3             502. Honda was at all relevant times a “merchant”, as defined by § 672.104 of
 4    the Florida Uniform Commercial Code.
 5             503. The Vehicles are and were at all relevant times “goods” , as defined by
 6    § 672.105 of the Florida Uniform Commercial Code.
 7             504. Honda marketed the Vehicles as safe and reliable luxury vehicles. Such
 8    representations formed the basis of the bargain in Plaintiff’s and the other Florida Class
 9    members’ decisions to purchase the Vehicles.
10             505. Plaintiff and the other Florida Class members purchased or leased the
11    Vehicles from Honda, through Honda’s authorized agents for retail sales, through
12    private sellers, or were otherwise expected to be the eventual purchasers of the Vehicles
13    when bought from a third party. At all relevant times, Honda was the manufacturer,
14    distributor, warrantor, and/or seller of the Vehicles.
15             506. Honda knew or had reason to know of the specific use for which the
16    Vehicles were purchased or leased.
17             507. Honda impliedly warranted that the Vehicles were in merchantable
18    condition and fit for the ordinary purpose for which vehicles are used.
19             508. Because of the defect in the infotainment system, the Vehicles were not in
20    merchantable condition when sold and are not fit for the ordinary purpose of providing
21    safe and reliable transportation.
22             509. Honda knew about the defect in the infotainment systems, allowing Honda
23    to cure their breach of its warranty if it chose.
24             510. Honda’s attempt to disclaim or limit the implied warranty of
25    merchantability vis-à-vis consumers is unconscionable and unenforceable here.
26    Specifically, Honda’s warranty limitation is unenforceable because they knowingly sold
27    or leased a defective product without informing consumers about the defect. The time
28
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 1    limits contained in Honda’s warranty periods were also unconscionable and inadequate
 2    to protect Plaintiff and the other Florida Class members. Among other things, Plaintiff
 3    and the other Florida Class members had no meaningful choice in determining these
 4    time limitations, the terms of which unreasonably favored Honda. A gross disparity in
 5    bargaining power existed between Honda and other Florida Class members, and Honda
 6    knew of the defect at the time of sale.
 7             511. Plaintiff and the other Florida Class members have complied with all
 8    obligations under the warranty, or otherwise have been excused from performance of
 9    said obligations as a result of Honda’s conduct described herein. Affording Honda a
10    reasonable opportunity to cure the breach of written warranties therefore would be
11    unnecessary and futile.
12             512. Accordingly, Honda is liable to Plaintiff and the other Florida Class
13    members for damages in an amount to be proven at trial.
14                                       COUNT XVI
                                     UNJUST ENRICHMENT
15                                 (BASED ON FLORIDA LAW)
16             513. Plaintiff incorporates by reference all preceding allegations as though fully
17    set forth herein.
18             514. Plaintiff brings this claim on behalf of the Florida Class.
19             515. Honda has benefitted and been enriched by the conduct alleged herein.
20    Honda has generated substantial revenue from the unlawful conduct described herein.
21    Honda has knowledge and appreciation of this benefit, which was conferred upon it by
22    and at the expense of Plaintiff and the other Florida Class members.
23             516. Honda has voluntarily accepted and retained this benefit.
24             517. The circumstances, as described herein, are such that it would be
25    inequitable for Honda to retain the ill-gotten benefit without paying the value thereof to
26    Plaintiff and the other Florida Class members.
27

28
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 1             518. Plaintiff and the other Florida Class members are entitled to the amount of
 2    Honda’s ill-gotten gains, including interest, resulting from their unlawful, unjust, unfair,
 3    and inequitable conduct as alleged herein.
 4    D.       Claims Brought on Behalf of the Illinois Class
 5                                         COUNT XVII
                        VIOLATION OF THE ILLINOIS CONSUMER FRAUD
 6                        AND DECEPTIVE BUSINESS PRACTICES ACT
                          (815 ILCS 505/1, ET SEQ. AND 720 ILCS 295/1A)
 7

 8             519. Plaintiff George Quinlan and Jamal Samaha (“Plaintiffs” for purposes of

 9
      all Illinois Class Counts) incorporates by reference the allegations contained in the

10
      preceding paragraphs of this complaint.

11
               520. Plaintiffs bring this claim on behalf of the Illinois Class.

12
               521. The Illinois Consumer Fraud and Deceptive Business Practices Act

13
      (“Illinois CFA”) prohibits “unfair or deceptive acts or practices, including, but not

14
      limited to, the use of employment of any deception, fraud, false pretense, tales promise,

15
      misrepresentation or the concealment, suppression or omission of any material fact, with

16
      intent that others rely upon the concealment, suppression or omission of such material

17
      fact . . . in the conduct of trade or commerce . . . whether any person has in fact been

18
      misled, deceived, or damaged thereby.” 815 ILCS 505/2.

19
               522. Defendant is a “person” as that term is defined in 815 ILCS 505/1(c).

20
               523. Plaintiffs and Class members are “consumers” as that term is defined in

21
      815 ILCS 505/1(e).

22
               524. Honda violated the Illinois CFA by concealing and failing to disclose the

23
      infotainment system defects. Honda had an ongoing duty to Plaintiffs and the Illinois

24
      Class to refrain from unfair and deceptive practices under the Illinois CFA in the course

25
      of its business.

26
               525. Plaintiffs and the Illinois Class suffered ascertainable loss and actual

27
      damages as a direct and proximate result of Honda’s concealments, misrepresentations,

28
      and/or failure to disclose material information.

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 1             526. Pursuant to 815 ILCS 505/10a(a), Plaintiffs seek monetary relief against
 2    Defendant in the amount of actual damages as well as punitive damages because
 3    Defendant acted with fraud and/or malice and/or was grossly negligent.
 4             527. Plaintiffs also seek an order enjoining Defendant’s unfair and/or deceptive
 5    acts or practices, attorneys’ fees, and any other just and proper relief available under
 6    815 ILCS 505/1, et seq.
 7                                      COUNT XVIII
                               BREACH OF EXPRESS WARRANTY
 8                                (BASED ON ILLINOIS LAW)
 9             528. Plaintiffs incorporate by reference all preceding allegations as though fully
10    set forth herein.
11             529. Plaintiffs brings this claim on behalf of the Illinois Class.
12             530. Honda is and was at all relevant times a merchant with respect to motor
13    vehicles.
14             531. In its New Vehicle Limited Warranty, Honda expressly warranted that it
15    “will repair or replace any part that is defective in material or workmanship under
16    normal use” and that “all repairs/replacements made under this warranty are free of
17    charge.”
18             532. Honda’s warranty formed the basis of the bargain that was reached when
19    Plaintiffs and other Illinois Class members purchased or leased their Vehicles equipped
20    with the defective infotainment system from Honda.
21             533. Plaintiffs and the other Illinois Class members experienced defects within
22    the warranty period. Despite the existence of its warranty, Honda failed to inform
23    Plaintiffs and the other Illinois Class members that the Vehicles were defectively
24    designed and failed to fix the defective infotainment system.
25             534. Affording Honda a reasonable opportunity to cure its breach of written
26    warranty would be unnecessary and futile here.
27

28
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 1             535. Also, as alleged in more detail herein, at the time Honda warranted and
 2    sold the Vehicles, it knew that the Vehicles did not conform to Honda’s warranty and
 3    were inherently defective. Honda wrongfully and fraudulently concealed material facts
 4    regarding the Vehicles. Plaintiffs and the other Illinois Class members were therefore
 5    induced to purchase or lease the Vehicles under false and/or fraudulent pretenses.
 6             536. Honda was provided notice of these issues by numerous complaints filed
 7    against it, including the instant Complaint, within a reasonable amount of time after the
 8    defect was discovered.
 9             537. As a direct and proximate result of Honda’s breach of express warranty,
10    Plaintiffs and the other Illinois Class members have been damaged in an amount to be
11    determined at trial.
12                                 COUNT XIX
            BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
13                      (810 ILCS §§ 5/2-314 AND 5/2A-212)
14             538. Plaintiffs incorporate by reference all preceding allegations as though fully
15    set forth herein.
16             539. Plaintiffs bring this claim on behalf of the Illinois Class.
17             540. Honda was at all relevant times a “merchant” with respect to motor
18    vehicles under 810 ILCS §§ 5/2-104(1) and 5/2A-103(3), and “sellers” of motor
19    vehicles under § 5/2-103(1)(d).
20             541. The Vehicles are and were at all relevant times “goods” within the meaning
21    of 810 ILCS §§ 5/2-105(1) and 5/2A-103(1)(h).
22             542. A warranty that the Vehicles were in merchantable condition and fit for the
23    ordinary purpose for which vehicles are used is implied by law pursuant to 810 ILCS
24    §§ 28-2-314 and 28-12-212.
25             543. These Vehicles, when sold and at all times thereafter, were not in
26    merchantable condition and are not fit for the ordinary purpose for which cars are used.
27    Specifically, the Vehicles are inherently defective in that the defects in the Vehicles’
28
      COMPLAINT                                 - 106 -
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 1    infotainment systems render them unsafe, inconvenient, and imperfect such that
 2    Plaintiffs and the other Illinois Class members would not have purchased the Vehicles
 3    had they known of the defects.
 4             544. Honda knew about the infotainment system defects at the time of purchase,
 5    allowing it to cure their breach of warranty if it chose.
 6             545. Honda was provided notice of these issues by numerous complaints against
 7    it, including the instant Complaint, and by customer complaints, letters, emails and other
 8    communications from Class members and from dealers and other repair facilities.
 9             546. As a direct and proximate result of Honda’s breach of the implied warranty
10    of merchantability, Plaintiffs and the other Illinois Class members have been damaged
11    in an amount to be proven at trial, including, but not limited to, benefit-of-the-bargain
12    damages, restitution and/or diminution of value.
13    E.       Claims Brought on Behalf of the Massachusetts Class
14                                        COUNT XX
                             VIOLATIONS OF THE MASSACHUSETTS
15                              CONSUMER PROTECTION ACT
                                  (MASS. GEN. LAWS CH. 93A)
16

17
               547. Plaintiff Gary Hanna (“Plaintiff” for purposes of all Massachusetts Class
18
      Counts) incorporates by reference all preceding allegations as though fully set forth
19
      herein.
20
               548. Plaintiff brings this claim on behalf of the Massachusetts Class.
21
               549. The conduct of Honda as set forth herein constitutes unfair and deceptive
22
      acts or practices in violation of the Massachusetts Consumer Protection Act, Mass. Gen.
23
      Laws Ch. 93A, including, but not limited to, Honda’s manufacture, and sale of Vehicles
24
      with the defective infotainment system, which Honda failed to adequately investigate,
25
      disclose, and remedy, and its misrepresentations and omissions regarding the safety,
26
      reliability, and functionality of its Vehicles, which misrepresentations and omissions
27
      possessed the tendency to deceive.
28
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 1             550. Honda engages in the conduct of trade or commerce and the misconduct
 2    alleged herein occurred in trade or commerce.
 3             551. Therefore, Plaintiff seeks monetary and equitable relief under the
 4    Massachusetts Consumer Protection Act as a result of Honda’s unfair and deceptive acts
 5    and practices. On June 10, 2019, and pursuant to Mass. Gen. Laws Ch. 93A, § 9(3),
 6    Plaintiff sent notice and demand to Honda of its violations of the Massachusetts
 7    Consumer Protection Act.
 8                                       COUNT XXI
                               BREACH OF EXPRESS WARRANTY
 9                             (MASS. GEN. LAWS CH. 106, § 2-313)
10             552. Plaintiff incorporates by reference all preceding allegations as though fully
11    set forth herein.
12             553. Plaintiff brings this claim on behalf of the Massachusetts Class.
13             554. Honda is and was at all relevant times a “merchant” with respect to motor
14    vehicles.
15             555. In its Limited Warranty, Honda expressly warranted that it “will repair or
16    replace any part that is defective in material or workmanship under normal use” and that
17    “all repairs/replacements made under this warranty are free of charge.”
18             556. Honda’s Limited Warranty formed the basis of the bargain that was
19    reached when Plaintiff and the other Massachusetts Class members purchased or leased
20    their Vehicles equipped with an infotainment system from Honda.
21             557. Honda breached the express warranty to repair and/or replace to correct
22    defects in materials and workmanship of any part supplied by Honda. Honda has not
23    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
24    and workmanship defects.
25             558. Furthermore, the limited warranty of repair and/or replacement to defective
26    parts fails in its essential purpose because the contractual remedy is insufficient to make
27    Plaintiff and the other Massachusetts Class members whole and because Honda has
28
      COMPLAINT                                - 108 -
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 1    failed and/or has refused to adequately provide the promised remedies within a
 2    reasonable time.
 3             559. Accordingly, recovery by Plaintiff and the other Massachusetts Class
 4    members is not limited to the limited warranty of repair or replacement of parts defective
 5    in materials or workmanship, and Plaintiff, individually and on behalf of the other
 6    Massachusetts Class members, seeks all remedies as allowed by law.
 7             560. Also, as alleged in more detail herein, at the time that Honda warranted and
 8    sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
 9    Warranty and were inherently defective, and Honda wrongfully and fraudulently
10    concealed material facts regarding its Vehicles. Plaintiff and the other Massachusetts
11    Class members were therefore induced to purchase or lease the Vehicles under false
12    and/or fraudulent pretenses.
13             561. Moreover, many of the injuries flowing from the Vehicles cannot be
14    resolved through the limited remedy of replacement or repair, as many incidental and
15    consequential damages have already been suffered due to Honda’s fraudulent conduct
16    as alleged herein, and due to its failure and/or continued failure to provide such limited
17    remedy within a reasonable time, and any limitation on Plaintiff’s and the other
18    Massachusetts Class members’ remedies would be insufficient to make Plaintiff and the
19    other Massachusetts Class members whole.
20             562. Due to Honda’s breach of warranty as set forth herein, Plaintiff and the
21    other Massachusetts Class members assert as an additional and/or alternative remedy,
22    as set forth in Mass. Gen. Laws Ch. 106, § 2-608, for a revocation of acceptance of the
23    goods, and for a return to Plaintiff and to the other Massachusetts Class members of the
24    purchase price of all Vehicles currently owned for such other incidental and
25    consequential damages as allowed under Mass. Gen. Laws Ch. 106, §§ 2-711 and 2-
26    608.
27

28
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 1             563. Honda was provided notice of these issues by numerous complaints against
 2    it, including the instant Complaint, and by customer complaints, letters, emails and other
 3    communications from Class members and from dealers and other repair facilities.
 4             564. As a direct and proximate result of Honda’s breach of express warranty,
 5    Plaintiff and the other Massachusetts Class members have been damaged in an amount
 6    to be determined at trial.
 7                                 COUNT XXII
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 8                       (MASS. GEN. LAWS CH. 106, § 2-314)
 9             565. Plaintiff incorporates by reference all preceding allegations as though fully
10    set forth herein.
11             566. Plaintiff brings this claim on behalf of the Massachusetts Class.
12             567. Honda is and was at all relevant times a merchant with respect to motor
13    vehicles.
14             568. A warranty that the Vehicles were in merchantable condition is implied by
15    law in the instant transactions.
16             569. These Vehicles, when sold and at all times thereafter, were not in
17    merchantable condition and are not fit for the ordinary purpose for which cars are used.
18    Specifically, the Vehicles are inherently defective in that there are defects in the
19    Vehicles’ infotainment systems rendering certain crucial safety, communication,
20    navigational, and entertainment functions inoperative.
21             570. Honda was provided notice of these issues by numerous complaints against
22    it, including the instant Complaint, and by customer complaints, letters, emails and other
23    communications from Class members and from dealers and other repair facilities.
24             571. As a direct and proximate result of Honda’s breach of the warranties of
25    merchantability, Plaintiff and the other Massachusetts Class members have been
26    damaged in an amount to be proven at trial.
27

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      F.       Claims Brought on Behalf of the Nevada Class
 1
                                          COUNT XXIII
 2                           VIOLATION OF THE NEVADA DECEPTIVE
                                     TRADE PRACTICES ACT
 3                             (NEV. REV. STAT. § 598.0903, ET SEQ.)
 4
               572. Plaintiff Cindy Ortiz (“Plaintiff” for purposes of all Nevada Class Counts)
 5    incorporates by reference all preceding allegations as though fully set forth herein.
 6             573. Plaintiff brings this claim on behalf of the Nevada Class.
 7             574. Defendant is a “person” for purposes of the Nevada Deceptive Trade
 8    Practices Act (“NDTPA”), Nev. Rev. Stat. § 598.0903, et seq.
 9             575. Defendant’s conduct as alleged herein occurred in the course of business.
10             576. The NDTPA prohibits deceptive trade practices. Nev. Rev. Stat.
11    § 598.0915 provides that a person engages in a “deceptive trade practice” if, in the
12    course of business or occupation, the person “[k]nowingly makes a false representation
13    as to the characteristics, ingredients, uses, benefits, alterations or quantities of goods or
14    services for sale or lease or a false representation as to the sponsorship, approval, status,
15    affiliation or connection of a person therewith”; “[r]epresents that goods or services for
16    sale or lease are of a particular standard, quality or grade, or that such goods are of a
17    particular style or model, if he or she knows or should know that they are of another
18    standard, quality, grade, style or model”; “[a]dvertises goods or services with intent not
19    to sell or lease them as advertised and certified”; or “[k]nowingly makes any other false
20    representation in a transaction.” Nev. Rev. Stat. §§ 598.0915—598.0925.
21             577. Nev. Rev. Stat. § 41.600 provides a private right of action for violations of
22    the NDTPA.
23             578. Honda violated the NDTPA by concealing and failing to disclose the
24    infotainment system defects. Honda had an ongoing duty to Plaintiff and the Nevada
25    Class to refrain from unfair and deceptive practices under the NDTPA in the course of
26    its business
27

28
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 1             579. The practices of Defendant violate the NDTPA for, inter alia, one or more
 2    of the following reasons:
 3                      a.    Defendant represented that goods or services have sponsorship,
 4    approval, characteristics, uses, and benefits that they do not have;
 5                       b.   Defendant provided, disseminated, marketed, and otherwise
 6    distributed uniform false and misleading advertisements, technical data and other
 7    information to consumers regarding the performance, reliability, quality and nature of
 8    the Vehicles;
 9                      c.    Defendant represented that goods or services were of a particular
10    standard, quality, or grade, when they were of another;
11                      d.    Defendant failed to reveal material facts and information about the
12    Vehicles, which did, or tended to, mislead Plaintiff and the Nevada Class about facts
13    that could not reasonably be known by the consumer;
14                      e.    Defendant failed to reveal facts that were material to the transactions
15    in light of representations of fact made in a positive manner;
16                      f.    Defendant failed to reveal material facts to Plaintiff and the Nevada
17    Class, the omission of which would tend to mislead or deceive consumers, including
18    Plaintiff and the Nevada Class;
19                      i.    Defendant made material representations and statements of fact to
20    Plaintiff and the Nevada Class that resulted in them reasonably believing the represented
21    or suggested state of affairs to be other than what they actually were;
22                      j.    Defendant intended that Plaintiff and the Nevada Class members
23    rely on their misrepresentations and omissions, so that they would purchase or lease the
24    Vehicles; and
25                      k.    Under all of these circumstances, Defendant’s conduct in employing
26    these unfair and deceptive trade practices was malicious, willful, wanton and outrageous
27

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      COMPLAINT                                   - 112 -
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 1    such as to shock the conscience of the community and warrant the imposition of punitive
 2    damages.
 3             580. The conduct of Defendant was likely to mislead consumers and Defendant
 4    intended that Plaintiff and the Nevada Class members rely on their misrepresentations.
 5             581. The conduct of Defendant offends established public policy and is
 6    immoral, unethical, oppressive, unscrupulous and substantially injurious to consumers.
 7             582. The foregoing acts, omissions and practices proximately caused Plaintiff
 8    and the Nevada Class members to suffer an ascertainable loss in the form of, inter alia,
 9    overpayment and diminution in value of the Vehicles, and Plaintiff and Nevada Class
10    members are entitled to recover such damages, together with appropriate exemplary
11    damages, attorneys’ fees and costs of suit.
12                                      COUNT XXIV
                                BREACH OF EXPRESS WARRANTY
13                                 (BASED ON NEVADA LAW)
14             583. Plaintiff realleges and incorporates by reference all paragraphs as though
15    fully set forth herein.
16             584. Plaintiff brings this claim on behalf of the Nevada Class.
17             585. Honda is and was at all relevant times a merchant with respect to motor
18    vehicles.
19             586. In its New Vehicle Limited Warranty, Honda expressly warranted that it
20    “will repair or replace any part that is defective in material or workmanship under
21    normal use” and that “all repairs/replacements made under this warranty are free of
22    charge.”
23             587. Honda’s Limited Warranty formed the basis of the bargain that was
24    reached when Plaintiff and the other Nevada Class members purchased or leased their
25    Vehicles equipped with an infotainment system from Honda.
26             588. Honda breached the express warranty to repair and/or replace to correct
27    defects in materials and workmanship of any part supplied by Honda. Honda has not
28
      COMPLAINT                                - 113 -
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 1    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
 2    and workmanship defects.
 3             589. Furthermore, the limited warranty of repair and/or replacement of defective
 4    parts, fails in its essential purpose because the contractual remedy is insufficient to make
 5    Plaintiffs and the other Nevada Class members whole and because Honda has failed
 6    and/or has refused to adequately provide the promised remedies within a reasonable
 7    time.
 8             590. Accordingly, recovery by Plaintiff and the other Nevada Class members is
 9    not limited to the limited warranty of repair or replacements to parts defective in
10    materials or workmanship, and Plaintiffs, individually and on behalf of the other Nevada
11    Class members, seeks all remedies as allowed by law.
12             591. Also, as alleged in more detail herein, at the time that Honda warranted and
13    sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
14    Warranty and were inherently defective, and Honda wrongfully and fraudulently
15    concealed material facts regarding its Vehicles. Plaintiff and the other Nevada Class
16    members were therefore induced to purchase or lease the Vehicles under false and/or
17    fraudulent pretenses.
18             592. Moreover, many of the injuries flowing from the Vehicles cannot be
19    resolved through the limited remedy of replacement or repair, as many incidental and
20    consequential damages have already been suffered due to Honda’s fraudulent conduct
21    as alleged herein, and due to its failure and/or continued failure to provide such limited
22    remedy within a reasonable time, and any limitation on Plaintiff’s and the other Nevada
23    Class members’ remedies would be insufficient to make Plaintiff and the other Nevada
24    Class members whole.
25             593. Due to Honda’s breach of warranty as set forth herein, Plaintiff and the
26    other Nevada Class members assert as an additional and/or alternative remedy
27    revocation of acceptance of the goods, and for a return to Plaintiff and to the other
28
      COMPLAINT                                - 114 -
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 1    Nevada Class members of the purchase price of all Vehicles currently owned for such
 2    other incidental and consequential damages as allowed.
 3             594. Honda was provided notice of these issues by numerous complaints against
 4    it, including the instant Complaint, and by customer complaints, letters, emails and other
 5    communications from Class members and from dealers and other repair facilities.
 6             595. As a direct and proximate result of Honda’s breach of express warranty,
 7    Plaintiff and the other Nevada Class members have been damaged in an amount to be
 8    determined at trial.
 9                                 COUNT XXV
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
10                           (BASED ON NEVADA LAW)
11             596. Plaintiff incorporates by reference all preceding allegations as though fully
12    set forth herein.
13             597. Plaintiff brings this claim on behalf of the Nevada Class.
14             598. Honda was a merchant with respect to motor vehicles.
15             599. A warranty that the Vehicles were in merchantable condition was implied
16    by law in the transactions when Plaintiff and Class members purchased or leased their
17    Class Vehicle from Honda.
18             600. These Vehicles, when sold and at all times thereafter, were not in
19    merchantable condition and are not fit for the ordinary purpose for which cars are used.
20    Specifically, the Vehicles are inherently defective in that the defects in the Vehicles’
21    infotainment systems render them unsafe, inconvenient, and imperfect such that
22    Plaintiff and Class members would not have purchased the Vehicles had they known of
23    the defects.
24             601. Honda knew about the infotainment system defects at the time of purchase,
25    allowing it to cure their breach of warranty if it chose.
26

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      COMPLAINT                                - 115 -
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 1             602. Honda was provided notice of these issues by numerous complaints against
 2    it, including the instant Complaint, and by customer complaints, letters, emails and other
 3    communications from Class members and from dealers and other repair facilities.
 4             603. As a direct and proximate result of Honda’s breach of the implied warranty
 5    of merchantability, Plaintiff and the other Nevada Class members have been damaged
 6    in an amount to be proven at trial, including, but not limited to, benefit-of-the-bargain
 7    damages, restitution and/or diminution of value.
 8    G.       Claims Brought on Behalf of the New Jersey Class
 9                                      COUNT XXVI
                     VIOLATION OF NEW JERSEY CONSUMER FRAUD ACT
10                               (N.J.S.A. § 56:8-1, ET SEQ.)
11             604. Plaintiff Alexis Chisari (“Plaintiff” for purposes of all New Jersey Class
12    Counts) incorporates by reference all preceding allegations as though fully set forth
13    herein.
14             605. Plaintiff brings this claim on behalf of the New Jersey Class.
15             606. Plaintiff and Class members are “persons” under the New Jersey Consumer
16    Fraud Act (“CFA”).
17             607. At all relevant times material hereto, Honda conducted trade and commerce
18    in New Jersey and elsewhere within the meaning of the CFA.
19             608. The CFA is, by its terms, a cumulative remedy, such that remedies under
20    its provisions can be awarded in addition to those provided under separate statutory
21    schemes.
22             609. Honda’s practices violated the CFA for, inter alia, one or more of the
23    following reasons:
24                      a.   Honda concealed from Plaintiff and the New Jersey Class the
25    material facts that the infotainment system in the Vehicles were defective, and, as such,
26    the Vehicles were not of merchantable quality.
27

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 1                      b.   Honda engaged in unconscionable commercial practices in failing to
 2    disclose material information discussed above about the Vehicles.
 3             610. Honda consciously omitted to disclose material facts from Plaintiff and the
 4    New Jersey Class with respect to the infotainment system defects.
 5             611. Honda’s unconscionable conduct described herein included the omission
 6    and concealment of material facts concerning the defective infotainment system.
 7             612. Honda intended that Plaintiff and the New Jersey Class rely on its acts of
 8    concealment and omissions and misrepresentations, so that Plaintiff and the New Jersey
 9    Class would purchase and/or lease Vehicles.
10             613. Had Honda disclosed all material information regarding the defective
11    infotainment system to Plaintiff and the New Jersey Class, they would not have
12    purchased and/or leased the Vehicles, or would have paid less.
13             614. The foregoing acts, omissions and practices proximately caused Plaintiff
14    and the New Jersey Class to suffer an ascertainable loss in the form of, inter alia,
15    diminution of value, and they are entitled to recover such damages together with
16    appropriate penalties, including treble damages, attorneys’ fees and costs of suit.
17             615. In the course of its business, Honda concealed the defects in Plaintiff and
18    the New Jersey Class Vehicles as described herein and otherwise engaged in activities
19    with a tendency or capacity to deceive. Honda also engaged in unlawful trade practices
20    by employing deception, deceptive acts or practices, fraud, misrepresentations, or
21    concealment, suppression or omission of any material fact with intent that others rely
22    upon such concealment, suppression or omission, in connection with the sale of the
23    Vehicles.
24             616. Honda knew that the infotainment systems in the Vehicles were defectively
25    manufactured, would fail without warning, and were not suitable for their intended use.
26    Honda was previously provided notice of the defects in the Vehicles by numerous
27    customer complaints, letters, emails and other communications from Class members
28
      COMPLAINT                                - 117 -
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 1    and from dealers and other repair facilities. Honda nevertheless failed to warn Plaintiff
 2    and the other New Jersey Class members about these defects despite having a duty to
 3    do so.
 4             617. By failing to disclose and by actively concealing the defects in Plaintiff and
 5    the other New Jersey Class members Vehicles, which it marketed as safe, reliable, and
 6    of high quality, Honda engaged in unfair and deceptive business practices in violation
 7    of the CFA.
 8             618. In the course of Honda’s business, it willfully failed to disclose and actively
 9    concealed the dangerous risk posed by the defects in Plaintiff and the other New Jersey
10    Class members Vehicles.
11             619. Honda’s unfair or deceptive acts or practices were likely to and did in fact
12    deceive reasonable consumers, including Plaintiff and the New Jersey Class members,
13    about the true safety and reliability of their vehicles.
14             620. Honda intentionally and knowingly misrepresented material facts
15    regarding the Vehicles with the intent to mislead Plaintiff and the New Jersey Class
16    members.
17             621. Honda knew or should have known that its conduct violated the CFA.
18             622. As alleged above, Honda made material statements about the safety and
19    reliability of the Vehicles and the Honda brand that were either false or misleading.
20             623. Honda owed Plaintiffs a duty to disclose the true safety and reliability of
21    the Vehicles, because Honda:
22                      a.   Possessed exclusive knowledge about the defects in the Vehicles;
23                      b.   Intentionally concealed the foregoing from Plaintiff and the New
24                           Jersey Class members; and/or
25                      c.   Made incomplete representations about the safety and reliability of
26                           the Vehicles.
27

28
      COMPLAINT                                 - 118 -
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 1             624. Because Honda fraudulently concealed the defects in the Vehicles, Vehicle
 2    owners were deprived of the benefit of their bargain since the Vehicles they purchased
 3    were worth less than they would have been if they were free from defects. Had Vehicle
 4    owners been aware of the defects in their vehicles, they would have either not have
 5    bought their Vehicles or would have paid less for them.
 6             625. Vehicle owners were also harmed by Honda’s unfair and deceptive trade
 7    practices since their Vehicles were worth less as the result of Honda’s concealment of,
 8    and failure to remedy, the defects. This diminished value is directly attributed to
 9    Honda’s dishonesty and omissions with respect to the quality and safety of the Vehicles.
10             626. Honda’s concealment of the defects in Plaintiffs’ vehicles was material to
11    Plaintiff and the New Jersey Class members.
12             627. Plaintiffs suffered ascertainable loss caused by Honda’s misrepresentations
13    and its concealment of and failure to disclose the defects in their vehicles.
14             628. As a direct and proximate result of Honda’s violations of the CFA,
15    Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above.
16             629. Plaintiffs seek punitive damages against Honda because Honda’s conduct
17    was egregious and unconscionable. Honda’s conduct was knowing, intentional, with
18    malice, demonstrated a complete lack of care, and was in reckless disregard for the
19    rights of Plaintiff and the other New Jersey Class members.
20             630. Because Honda’s unconscionable conduct caused injury to Plaintiff and
21    Class members, Plaintiff and New Jersey Class members seek recovery of actual
22    damages including diminution of value, together with appropriate penalties, including
23    treble damages, attorneys’ fees and costs of suit.
24                                      COUNT XXVII
                                BREACH OF EXPRESS WARRANTY
25                               (BASED ON NEW JERSEY LAW)
26             631. Plaintiff realleges and incorporates by reference all paragraphs as though
27    fully set forth herein.
28
      COMPLAINT                               - 119 -
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 1             632. Plaintiff brings this claim on behalf of the New Jersey Class.
 2             633. Honda is and was at all relevant times a merchant with respect to motor
 3    vehicles.
 4             634. In its New Vehicle Limited Warranty, Honda expressly warranted that it
 5    “will repair or replace any part that is defective in material or workmanship under
 6    normal use” and that “all repairs/replacements made under this warranty are free of
 7    charge.”
 8             635. Honda’s Limited Warranty formed the basis of the bargain that was
 9    reached when Plaintiff and the other New Jersey Class members purchased or leased
10    their Vehicles equipped with an infotainment system from Honda.
11             636. Honda breached the express warranty to repair and/or replace to correct
12    defects in materials and workmanship of any part supplied by Honda. Honda has not
13    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
14    and workmanship defects.
15             637. Furthermore, the limited warranty of repair and/or replacement of defective
16    parts, fails in its essential purpose because the contractual remedy is insufficient to make
17    Plaintiffs and the other New Jersey Class members whole and because Honda has failed
18    and/or has refused to adequately provide the promised remedies within a reasonable
19    time.
20             638. Accordingly, recovery by Plaintiffs and the other New Jersey Class
21    members is not limited to the limited warranty of repair or replacements to parts
22    defective in materials or workmanship, and Plaintiffs, individually and on behalf of the
23    other New Jersey Class members, seeks all remedies as allowed by law.
24             639. Also, as alleged in more detail herein, at the time that Honda warranted and
25    sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
26    Warranty and were inherently defective, and Honda wrongfully and fraudulently
27    concealed material facts regarding its Vehicles. Plaintiff and the other New Jersey Class
28
      COMPLAINT                                - 120 -
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 1    members were therefore induced to purchase or lease the Vehicles under false and/or
 2    fraudulent pretenses.
 3             640. Moreover, many of the injuries flowing from the Vehicles cannot be
 4    resolved through the limited remedy of replacement or repair, as many incidental and
 5    consequential damages have already been suffered due to Honda’s fraudulent conduct
 6    as alleged herein, and due to its failure and/or continued failure to provide such limited
 7    remedy within a reasonable time, and any limitation on Plaintiff’s and the other New
 8    Jersey Class members’ remedies would be insufficient to make Plaintiff and the other
 9    New Jersey Class members whole.
10             641. Due to Honda’s breach of warranty as set forth herein, Plaintiff and the
11    other New Jersey Class members assert as an additional and/or alternative remedy
12    revocation of acceptance of the goods, and for a return to Plaintiff and to the other New
13    Jersey Class members of the purchase price of all Vehicles currently owned for such
14    other incidental and consequential damages as allowed.
15             642. Honda was provided notice of these issues by numerous complaints against
16    it, including the instant Complaint, and by customer complaints, letters, emails and other
17    communications from Class members and from dealers and other repair facilities.
18             643. As a direct and proximate result of Honda’s breach of express warranty,
19    Plaintiff and the other New Jersey Class members have been damaged in an amount to
20    be determined at trial.
21                                 COUNT XXVIII
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
22                           (N.J. STAT. ANN. § 12-314)
23             644. Plaintiff incorporates by reference all preceding allegations as though fully
24    set forth herein.
25             645. Plaintiff brings this claim on behalf of the New Jersey Class.
26             646. Honda was a merchant with respect to motor vehicles.
27

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      COMPLAINT                                - 121 -
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 1             647. A warranty that the Vehicles were in merchantable condition was implied
 2    by law in the transactions when Plaintiff and Class members purchased or leased their
 3    Class Vehicle from Honda.
 4             648. These Vehicles, when sold and at all times thereafter, were not in
 5    merchantable condition and are not fit for the ordinary purpose for which cars are used.
 6    Specifically, the Vehicles are inherently defective in that the defects in the Vehicles’
 7    infotainment systems render them unsafe, inconvenient, and imperfect such that
 8    Plaintiff and New Jersey Class members would not have purchased the Vehicles had
 9    they known of the defects.
10             649. Honda knew about the infotainment system defects at the time of purchase,
11    allowing it to cure their breach of warranty if it chose.
12             650. Honda was provided notice of these issues by numerous complaints against
13    it, including the instant Complaint, and by customer complaints, letters, emails and other
14    communications from Class members and from dealers and other repair facilities.
15             651. As a direct and proximate result of Honda’s breach of the implied warranty
16    of merchantability, Plaintiff and the other New Jersey Class members have been
17    damaged in an amount to be proven at trial, including, but not limited to, benefit-of-the-
18    bargain damages, restitution and/or diminution of value.
19    H.       Claims Brought on Behalf of the New York Class
20                                   COUNT XXIX
                VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 349
21                            (N.Y. GEN. BUS. LAW § 349)
22             652. Plaintiffs Michael Brumer, and Dave Jahsman (“Plaintiffs” for purposes of
23    all New York Class Counts) incorporates by reference all paragraphs as though fully set
24    forth herein.
25             653. Plaintiffs bring this claim on behalf of the New York Class.
26             654. New York’s General Business Law § 349 makes unlawful “[d]eceptive
27    acts or practices in the conduct of any business, trade or commerce.”
28
      COMPLAINT                               - 122 -
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 1             655. By failing to release material facts about the defect, Honda curtailed or
 2    reduced the ability of consumers to take notice of material facts about their vehicle,
 3    and/or it affirmatively operated to hide or keep those facts from consumers. Moreover,
 4    Honda has otherwise engaged in activities with a tendency or capacity to deceive. Honda
 5    also engaged in unlawful trade practices by employing deception, deceptive acts or
 6    practices, fraud, misrepresentations, unfair practices, and/or concealment, suppression
 7    or omission of any material fact with intent that others rely upon such concealment,
 8    suppression or omission, in connection with the sale of Vehicles.
 9             656. By failing to disclose and by actively concealing the defect in the
10    infotainment system, by marketing its vehicles as safe, reliable and of high quality, and
11    by presenting itself as a reputable manufacturer that valued safety and reliability and
12    stood behind its vehicles after they were sold, Honda engaged in deceptive business
13    practices in violation of the New York Gen. Bus. Law § 349.
14             657. In the course of Honda’s business, it willfully failed to disclose and actively
15    concealed the defect in the infotainment system discussed herein. Honda compounded
16    the deception by repeatedly asserting Vehicles were safe, reliable, and of high quality,
17    and by claiming to be a reputable manufacturer that valued safety, and stood behind its
18    vehicles once they are on the road.
19             658. Honda’s unfair or deceptive acts or practices, including these
20    concealments, omissions, and suppressions of material facts, had a tendency or capacity
21    to mislead, tended to create a false impression in consumers, and did in fact deceive
22    reasonable consumers, including Plaintiffs and the other New York Class members,
23    about true reliability of Vehicles and the ability to use the infotainment system.
24             659. Honda intentionally and knowingly misrepresented material facts
25    regarding the Vehicles with an intent to mislead Plaintiff and the other New York Class
26    members, including without limitation by failing to disclose the defects in light of
27    circumstances under which the omitted facts were necessary in order to correct the
28
      COMPLAINT                                 - 123 -
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 1    assumptions, inferences or representations being made by Honda about the reliability
 2    and safety of its Vehicles. Consequently, the failure to disclose such facts amounts to
 3    misleading statements pursuant to New York Gen. Bus. Law § 349.
 4             660. Because Honda knew or believed that its statements regarding the
 5    reliability and safety of its Vehicles were not in accord with the facts and/or had no
 6    reasonable basis for such statements in light of its knowledge of these defects, Honda
 7    engaged in fraudulent misrepresentations pursuant to New York Gen. Bus. Law § 349.
 8             661. Honda’s conduct as described herein is unethical, oppressive, or
 9    unscrupulous and/or it presented a risk of substantial injury to consumers. Such acts are
10    unfair practices in violation of New York Gen. Bus. Law § 349.
11             662. Honda knew or should have known that its conduct violated New York
12    Gen. Bus. Law § 349.
13             663. As alleged above, Honda made material statements about the reliability and
14    safety of the Vehicles and the Honda brand that were either false, misleading, and/or
15    half-truths in violation of New York Gen. Bus. Law § 349.
16             664. Honda owed Plaintiffs and the other New York Class members a duty to
17    disclose the truth about its faulty infotainment system because the defect created a safety
18    hazard and Honda:
19                      i.     Possessed exclusive knowledge of the defect in the infotainment
20                             system;
21                      ii.    Intentionally concealed the foregoing from Plaintiffs and the other
22                             New York Class members; and/or
23                      iii.   Made incomplete representations in advertisements and on its
24                             website, failing to warn the public or to publicly admit that the
25                             infotainment system was defective.
26

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      COMPLAINT                                   - 124 -
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 1             665. Honda’s fraudulent use of the infotainment system and its concealment of
 2    the true defective nature of the system were material to Plaintiffs and the other New
 3    York Class members.
 4             666. Plaintiffs and the other New York Class members suffered ascertainable
 5    loss caused by Honda’s misrepresentations and its concealment of and failure to disclose
 6    material information. Class members who purchased the Vehicles either would have
 7    paid less for their Vehicles or would not have purchased or leased them at all but for
 8    Honda’s violations of New York Gen. Bus. Law § 349.
 9             667. Honda had an ongoing duty to all its customers to refrain from unfair and
10    deceptive practices under the New York Gen. Bus. Law § 349. All owners of Vehicles
11    suffered ascertainable loss in the form of the diminished value of their Vehicles as a
12    result of Honda’s deceptive and unfair acts and practices made in the course of Honda’s
13    business.
14             668. Honda’s violations present a continuing risk to Plaintiffs and the other New
15    York Class members as well as to the general public. Honda’s unlawful acts and
16    practices complained of herein affect the public interest.
17             669. As a direct and proximate result of Honda’s violations of New York Gen.
18    Bus. Law § 349, Plaintiff and the other New York Class members have suffered injury-
19    in-fact and/or actual damage.
20             670. Honda is liable to Plaintiffs and the other New York Class members for
21    damages in amounts to be proven at trial, including attorneys’ fees, costs, and punitive
22    damages, as well as injunctive relief enjoining Honda’s unfair and deceptive practices,
23    and any other just and proper relief under New York Gen. Bus. Law § 349.
24                                       COUNT XXX
                                 FRAUDULENT CONCEALMENT
25                                (BASED ON NEW YORK LAW)
26             671. Plaintiffs incorporate by reference all preceding allegations as though fully
27    set forth herein.
28
      COMPLAINT                                - 125 -
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 1             672. Plaintiffs bring this claim on behalf of the New York Class.
 2             673. Honda intentionally concealed that the infotainment system is defective.
 3             674. Honda further affirmatively misrepresented to Plaintiff in advertising and
 4    other forms of communication, including standard and uniform material provided with
 5    each car and on its website, that the Vehicles it was selling had no significant defects,
 6    that the infotainment system was a safety feature, reliable, and would perform and
 7    operate properly.
 8             675. Honda knew about the defect in the infotainment system when these
 9    representations were made.
10             676. The Vehicles purchased by Plaintiffs and the other New York Class
11    members contained a defective infotainment system.
12             677. Honda had a duty to disclose that the infotainment system contained a
13    fundamental defect as alleged herein, because the defect created a safety hazard and
14    Plaintiff and the other New York Class members relied on Honda’s material
15    representations.
16             678. As alleged herein, at all relevant times, Honda has held out the Vehicles to
17    be free from defects such as the defect related to the infotainment system. Honda touted
18    and continues to tout the many benefits and advantages of the infotainment system, but
19    nonetheless failed to disclose important facts related to the defect. This made Honda’s
20    other disclosures about the infotainment system deceptive.
21             679. The truth about the defective infotainment system was known only to
22    Honda; Plaintiffs and the other New York Class members did not know of these facts
23    and Honda actively concealed these facts from Plaintiffs and the other New York Class
24    members.
25             680. Plaintiffs and the other New York Class members reasonably relied upon
26    Honda’s deception. They had no way of knowing that Honda’s representations were
27    false, misleading, or incomplete. As consumers, Plaintiffs and the other New York Class
28
      COMPLAINT                                - 126 -
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 1    members did not, and could not, unravel Honda’s deception on their own. Rather, Honda
 2    intended to deceive Plaintiffs and New York Class members.
 3             681. Honda’s false representations and omissions were material to consumers
 4    because they concerned qualities of the Vehicles that played a significant role in the
 5    value of the Vehicles.
 6             682. Honda had a duty to disclose the infotainment system defect and violations
 7    with respect to the Vehicles because details of the true facts were known and/or
 8    accessible only to Honda, because Honda had exclusive knowledge as to such facts, and
 9    because Honda knew these facts were not known to or reasonably discoverable by
10    Plaintiffs or the other New York Class members.
11             683. Honda also had a duty to disclose because it made general affirmative
12    representations about the technological and safety innovations included with its
13    Vehicles, without telling consumers that one of the features had a fundamental defect
14    that would affect the safety, quality and performance of the Vehicles.
15             684. Honda’s disclosures were misleading, deceptive, and incomplete because
16    they failed to inform consumers of the additional facts regarding the defect in the
17    infotainment system as set forth herein. These omitted and concealed facts were material
18    because they directly impact the value of the Vehicles purchased by Plaintiffs and the
19    other New York Class members.
20             685. Honda has still not made full and adequate disclosures, and continues to
21    defraud Plaintiffs and the other New York Class members by concealing material
22    information regarding the defect in the infotainment system.
23             686. Plaintiffs and the other New York Class members were unaware of the
24    omitted material facts referenced herein, and they would not have acted as they did if
25    they had known of the concealed and/or suppressed facts, in that they would not have
26    purchased or leased or paid as much for cars with faulty technology, and/or would have
27    taken other affirmative steps in light of the information concealed from them. Plaintiffs’
28
      COMPLAINT                               - 127 -
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 1    and the other New York Class members’ actions were justified. Honda was in exclusive
 2    control of the material facts, and such facts were not generally known to the public,
 3    Plaintiffs, or the other New York Class members.
 4              687. Because of the concealment and/or suppression of facts, Plaintiffs and the
 5    other New York Class members sustained damage because they own(ed) vehicles that
 6    are diminished in value as a result of Honda’s concealment of the true quality of those
 7    vehicles’ infotainment systems. Had Plaintiffs and the other New York Class members
 8    been aware of the defect in the infotainment systems installed in the Vehicles, and
 9    Honda’s disregard for the truth, Plaintiffs and the other New York Class members who
10    purchased a Vehicle would have paid less for them or would not have purchased them
11    at all.
12              688. The value of Plaintiffs’ and the other New York Class members’ Vehicles
13    has diminished as a result of Honda’s fraudulent concealment of the defective
14    infotainment           system of the Vehicles, which has made any reasonable consumer
15    reluctant to purchase any of the Vehicles, let alone pay what otherwise would have been
16    fair market value for the Vehicles.
17              689. Accordingly, Honda is liable to Plaintiffs and the other New York Class
18    members for damages in an amount to be proven at trial.
19              690. Honda’s acts were done wantonly, maliciously, oppressively, deliberately,
20    with intent to defraud, and in reckless disregard of Plaintiffs’ and the other New York
21    Class members’ rights and the representations that Honda made to them, in order to
22    enrich Honda. Honda’s conduct warrants an assessment of punitive damages in an
23    amount sufficient to deter such conduct in the future, which amount is to be determined
24    according to proof.
25                                          COUNT XXXI
                                   BREACH OF EXPRESS WARRANTY
26                                   (BASED ON NEW YORK LAW)
27

28
      COMPLAINT                                  - 128 -
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 1             691. Plaintiffs reallege and incorporate by reference all paragraphs as though
 2    fully set forth herein.
 3             692. Plaintiffs bring this claim on behalf of the New York Class.
 4             693. Honda is and was at all relevant times a merchant with respect to motor
 5    vehicles.
 6             694. In its New Vehicle Limited Warranty, Honda expressly warranted that it
 7    “will repair or replace any part that is defective in material or workmanship under
 8    normal use” and that “all repairs/replacements made under this warranty are free of
 9    charge.”
10             695. Honda’s Limited Warranty formed the basis of the bargain that was
11    reached when Plaintiffs and the other New York Class members purchased or leased
12    their Vehicles equipped with an infotainment system from Honda.
13             696. Honda breached the express warranty to repair and/or replace to correct
14    defects in materials and workmanship of any part supplied by Honda. Honda has not
15    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
16    and workmanship defects.
17             697. Furthermore, the limited warranty of repair and/or replacement of defective
18    parts, fails in its essential purpose because the contractual remedy is insufficient to make
19    Plaintiffs and the other New York Class members whole and because Honda has failed
20    and/or has refused to adequately provide the promised remedies within a reasonable
21    time.
22             698. Accordingly, recovery by Plaintiffs and the other New York Class
23    members is not limited to the limited warranty of repair or replacements to parts
24    defective in materials or workmanship, and Plaintiffs, individually and on behalf of the
25    other New York Class members, seek all remedies as allowed by law.
26             699. Also, as alleged in more detail herein, at the time that Honda warranted and
27    sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
28
      COMPLAINT                                - 129 -
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 1    Warranty and were inherently defective, and Honda wrongfully and fraudulently
 2    concealed material facts regarding its Vehicles. Plaintiffs and the other New York Class
 3    members were therefore induced to purchase or lease the Vehicles under false and/or
 4    fraudulent pretenses.
 5             700. Moreover, many of the injuries flowing from the Vehicles cannot be
 6    resolved through the limited remedy of replacement or repair, as many incidental and
 7    consequential damages have already been suffered due to Honda’s fraudulent conduct
 8    as alleged herein, and due to its failure and/or continued failure to provide such limited
 9    remedy within a reasonable time, and any limitation on Plaintiffs’ and the other New
10    York Class members’ remedies would be insufficient to make Plaintiffs and the other
11    New York Class members whole.
12             701. Due to Honda’s breach of warranty as set forth herein, Plaintiffs and the
13    other New York Class members assert as an additional and/or alternative remedy
14    revocation of acceptance of the goods, and for a return to Plaintiffs and to the other New
15    York Class members of the purchase price of all Vehicles currently owned for such
16    other incidental and consequential damages as allowed.
17             702. Honda was provided notice of these issues by numerous complaints against
18    it, including the instant Complaint, and by customer complaints, letters, emails and other
19    communications from Class members and from dealers and other repair facilities.
20             703. As a direct and proximate result of Honda’s breach of express warranty,
21    Plaintiffs and the other New York Class members have been damaged in an amount to
22    be determined at trial.
23                                        COUNT XXXII
                                BREACH OF IMPLIED WARRANTY
24                                  (N.Y. U.C.C. LAW § 2-315)
25             704. Plaintiffs incorporate by reference all preceding allegations as though fully
26    set forth herein.
27             705. Plaintiffs bring this claim on behalf of the New York Class.
28
      COMPLAINT                                - 130 -
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 1             706. Honda marketed the Vehicles as safe and reliable luxury vehicles. Such
 2    representations formed the basis of the bargain in Plaintiffs’ and the other New York
 3    Class members’ decisions to purchase the Vehicles.
 4             707. Honda was at all relevant times a “merchant” of motor vehicles as defined
 5    by N.Y. U.C.C. Law § 2-104.
 6             708. In connection with the purchase or lease of each of the Vehicles, Honda
 7    provided warranty coverage for the Vehicles for four years or 50,000 miles, which
 8    obliges Honda to repair or replace any part that is defective under normal use.
 9             709. Honda’s warranty formed a basis of the bargain that was reached when
10    Plaintiffs and the other New York Class members purchased their Vehicles.
11             710. Plaintiffs and the other New York Class members owned Vehicles with
12    defective infotainment system within the warranty period but had no knowledge of the
13    existence of the defect, which was known and concealed by Honda.
14             711. Despite the existence of the warranty, Honda failed to inform Plaintiffs and
15    the other New York Class members that the Vehicles contained the defective
16    infotainment systems during the warranty periods.
17             712. Honda breached the express warranty promising to repair and correct a
18    manufacturing defect or defect in materials or workmanship of any parts they supplied.
19             713. Honda knew about the defect in the infotainment system, allowing Honda
20    to cure their breach of its warranty if it chose.
21             714. However, Honda concealed the defect and has refused to repair or replace
22    the infotainment systems despite the defect’s existence at the time of sale or lease of the
23    Vehicles.
24             715. Any attempt by Honda to disclaim or limit recovery to the terms of the
25    express warranties is unconscionable and unenforceable here. Specifically, Honda’s
26    warranty limitation is unenforceable because they knowingly sold or leased a defective
27    product without informing consumers about the defect. The time limits contained in
28
      COMPLAINT                                - 131 -
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 1    Honda’s warranty periods were also unconscionable and inadequate to protect Plaintiffs
 2    and the other New York Class members. Among other things, Plaintiffs and the other
 3    New York Class members had no meaningful choice in determining these time
 4    limitations, the terms of which unreasonably favored Honda. A gross disparity in
 5    bargaining power existed between Honda and other New York Class members, and
 6    Honda knew that the infotainment systems were defective at the time of sale.
 7             716. Further, the limited warranty promising to repair and/or correct a
 8    manufacturing defect fails in its essential purpose because the contractual remedy is
 9    insufficient to make Plaintiffs and the other New York Class members whole because
10    the replacement part used by Honda contains the same defect. Affording Honda a
11    reasonable opportunity to cure the breach of written warranties therefore would be
12    unnecessary and futile.
13             717. Accordingly, Honda is liable to Plaintiffs and the other New York Class
14    members for damages in an amount to be proven at trial.
15    I.       Claims Brought on Behalf of the North Carolina Class
16                                    COUNT XXXIII
                      VIOLATION OF THE NORTH CAROLINA UNFAIR AND
17                          DECEPTIVE TRADE PRACTICES ACT
                                 (N.C. GEN. STAT. §75.1-1)
18

19
               718. Plaintiffs Vimal Lawrence and John Bartholomew (“Plaintiffs” for

20
      purposes of all North Carolina Class Counts) incorporates by reference all preceding

21
      allegations as though fully set forth herein.

22
               719. This claim is brought by Plaintiffs on behalf of the North Carolina Class.

23
               720. North Carolina’s Unfair and Deceptive Trade Practices Act, N.C. Gen.

24
      Stat. § 75.1-1 (“UDTPA”) prohibits “[u]nfair methods of competition in or affecting

25
      commerce, and unfair or deceptive acts or practices in or affecting commerce.”

26
      Defendant’s business acts and practices alleged herein violate the UDTPA.

27

28
      COMPLAINT                               - 132 -
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 1             721. The purchase or lease of the Vehicles by Plaintiffs and the North Carolina
 2    Class members as described herein constitute transactions in commerce within the
 3    meaning of UDTPA.
 4             722. Honda violated the UDTPA by concealing and failing to disclose the
 5    infotainment system defects. Honda had an ongoing duty to Plaintiffs and the North
 6    Carolina Class members to refrain from unfair and deceptive practices under the
 7    UDTPA in the course of its business
 8             723. The practices of Defendant violate the UDTPA for, inter alia, one or more
 9    of the following reasons:
10                      a.    Defendant represented that goods or services have sponsorship,
11    approval, characteristics, uses, and benefits that they do not have;
12                       b.   Defendant provided, disseminated, marketed, and otherwise
13    distributed uniform false and misleading advertisements, technical data and other
14    information to consumers regarding the performance, reliability, quality and nature of
15    the Vehicles;
16                      c.    Defendant represented that goods or services were of a particular
17    standard, quality, or grade, when they were of another;
18                      d.    Defendant engaged in unconscionable commercial practices in
19    failing to reveal material facts and information about the Vehicles, which did, or tended
20    to, mislead Plaintiffs and the North Carolina Class members about facts that could not
21    reasonably be known by the consumer;
22                      e.    Defendant failed to reveal facts that were material to the transactions
23    in light of representations of fact made in a positive manner;
24                      f.    Defendant caused Plaintiffs and the North Carolina Class members
25    to suffer a probability of confusion and a misunderstanding of legal rights, obligations
26    and/or remedies by and through its conduct;
27

28
      COMPLAINT                                   - 133 -
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 1                      g.   Defendant purported to disclaim or limit the implied warranty of
 2    merchantability without providing such disclaimer or limitation in a clear, truthful and
 3    conspicuous manner;
 4                      h.   Defendant failed to reveal material facts to Plaintiffs and the North
 5    Carolina Class members, the omission of which would tend to mislead or deceive
 6    consumers, including Plaintiffs and the North Carolina Class members;
 7                      i.   Defendant made material representations and statements of fact to
 8    Plaintiffs and the North Carolina Class members that resulted in them reasonably
 9    believing the represented or suggested state of affairs to be other than what they actually
10    were;
11                      j.   Defendant intended that Plaintiffs and the North Carolina Class
12    members rely on their misrepresentations and omissions, so that they would purchase
13    the Vehicles; and
14                      k.   Under all of these circumstances, Defendant’s conduct in employing
15    these unfair and deceptive trade practices was malicious, willful, wanton and outrageous
16    such as to shock the conscience of the community and warrant the imposition of punitive
17    damages.
18             724. The conduct of Defendant was likely to mislead consumers and Defendant
19    intended that Plaintiffs and the North Carolina Class members rely on their
20    misrepresentations.
21             725. The conduct of Defendant offends established public policy and is
22    immoral, unethical, oppressive, unscrupulous and substantially injurious to consumers.
23             726. The foregoing acts, omissions and practices proximately caused Plaintiffs
24    and the North Carolina Class members to suffer an ascertainable loss in the form of,
25    inter alia, overpayment and diminution in value of the Vehicles, and Plaintiffs and the
26    North Carolina Class members are entitled to recover such damages, together with
27    appropriate exemplary damages, attorneys’ fees and costs of suit.
28
      COMPLAINT                                 - 134 -
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 1             727. Plaintiffs further seek an order enjoining Defendant’s unfair or deceptive
 2    acts or practices.
 3                                    COUNT XXXIV
                              BREACH OF EXPRESS WARRANTY
 4                           (BASED ON NORTH CAROLINA LAW)
 5
               728. Plaintiffs incorporate by reference all preceding allegations as though fully
 6
      set forth herein.
 7             729. Plaintiffs bring this claim on behalf of the North Carolina Class.
 8             730. Honda is and was at all relevant times a merchant with respect to motor
 9    vehicles.
10             731. As an express warrantor and manufacturer and merchant, Honda had
11    certain obligations under N.C. Gen. Stat. § 25-2-313 to conform the Vehicles to the
12    express warranties.
13             732. In its New Vehicle Limited Warranty, Honda expressly warranted that it
14    “will repair or replace any part that is defective in material or workmanship under
15    normal use” and that “all repairs/replacements made under this warranty are free of
16    charge.”
17             733. Honda’s Limited Warranty formed the basis of the bargain that was
18    reached when Plaintiffs and the other North Carolina Class members purchased or
19    leased their Vehicles equipped with an infotainment system from Honda.
20             734. Honda breached the express warranty to repair and/or replace to correct
21    defects in materials and workmanship of any part supplied by Honda. Honda has not
22    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
23    and workmanship defects.
24             735. Furthermore, the limited warranty of repair and/or replacement of defective
25    parts, fails in its essential purpose because the contractual remedy is insufficient to make
26    Plaintiffs and the other North Carolina Class members whole and because Honda has
27

28
      COMPLAINT                                - 135 -
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 1    failed and/or has refused to adequately provide the promised remedies within a
 2    reasonable time.
 3             736. Accordingly, recovery by Plaintiffs and the other North Carolina Class
 4    members is not limited to the limited warranty of repair or replacements to parts
 5    defective in materials or workmanship, and Plaintiffs, individually and on behalf of the
 6    other North Carolina Class members, seeks all remedies as allowed by law.
 7             737. Also, as alleged in more detail herein, at the time that Honda warranted and
 8    sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
 9    Warranty and were inherently defective, and Honda wrongfully and fraudulently
10    concealed material facts regarding its Vehicles. Plaintiffs and the other North Carolina
11    Class members were therefore induced to purchase or lease the Vehicles under false
12    and/or fraudulent pretenses.
13             738. Moreover, many of the injuries flowing from the Vehicles cannot be
14    resolved through the limited remedy of replacement or repair, as many incidental and
15    consequential damages have already been suffered due to Honda’s fraudulent conduct
16    as alleged herein, and due to its failure and/or continued failure to provide such limited
17    remedy within a reasonable time, and any limitation on Plaintiffs’ and the other North
18    Carolina Class members’ remedies would be insufficient to make Plaintiffs and the other
19    North Carolina Class members whole.
20             739. Due to Honda’s breach of warranty as set forth herein, Plaintiffs and the
21    other North Carolina Class members assert as an additional and/or alternative remedy
22    revocation of acceptance of the goods, and for a return to Plaintiffs and to the other
23    North Carolina Class members of the purchase price of all Vehicles currently owned for
24    such other incidental and consequential damages as allowed.
25             740. Honda was provided notice of these issues by numerous complaints against
26    it, including the instant Complaint, and by customer complaints, letters, emails and other
27    communications from Class members and from dealers and other repair facilities.
28
      COMPLAINT                                - 136 -
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 1             741. As a direct and proximate result of Honda’s breach of express warranty,
 2    Plaintiff and the other North Carolina Class members have been damaged in an amount
 3    to be determined at trial.
 4                                  COUNT XXXV
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 5                           (N.C. GEN. STAT. § 25-2-314)
 6
               742. Plaintiffs incorporates by reference all preceding allegations as though
 7    fully set forth herein.
 8             743. Plaintiffs bring this claim on behalf of the North Carolina Class.
 9             744. Honda is a merchant in the sale and lease of the Vehicles to Plaintiffs and
10    the North Carolina Class members, pursuant to the N.C. Gen. Stat. § 25-2-314.
11             745. By operation of law, Honda provided Plaintiffs and the North Carolina
12    Class members an implied warranty that the Vehicles are merchantable and fit for the
13    ordinary purposes for which they were sold.
14             746. By the conduct described herein, Honda has failed and refused to conform
15    the Vehicles to the express warranties and its conduct has voided any attempt on its part
16    to disclaim liability for its actions.
17             747. The Vehicles were defective at the time they left the possession of Honda.
18             748. The Vehicles were not of merchantable quality as required under N.C. Gen.
19    Stat. § 25-2-314.
20             749. By virtue of the conduct described herein, Honda breached the implied
21    warranty of merchantability.
22             750. Plaintiffs and the North Carolina Class members have been damaged as a
23    result of Honda’s breach of the implied warranty.
24             751. Plaintiffs and the North Carolina Class members have performed each and
25    every duty required of them under the terms of the warranties, except as may have been
26    excused or prevented by the conduct of Honda or by operation of law in light of Honda’s
27    unconscionable conduct.
28
      COMPLAINT                                - 137 -
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 1             752. Plaintiffs and the North Carolina Class Members have provided timely
 2    notice to Honda regarding the problems they experienced with the Vehicles and,
 3    notwithstanding such notice, Honda has failed and refused to offer Plaintiffs and the
 4    North Carolina Class members an effective remedy.
 5             753. In addition, Honda has received, on information and belief, thousands of
 6    complaints and other notices from consumers advising them of the defects associated
 7    with the Vehicles
 8             754. These Vehicles, when sold and at all times thereafter, were not in
 9    merchantable condition and are not fit for the ordinary purpose for which cars are used.
10    Specifically, the Vehicles are inherently defective in that the defects in the Vehicles’
11    infotainment systems render them unsafe, inconvenient, and imperfect such that
12    Plaintiffs and Class members would not have purchased the Vehicles had they known
13    of the defects.
14             755. Honda knew about the infotainment system defects at the time of purchase,
15    allowing it to cure their breach of warranty if it chose.
16             756. As a direct and proximate result of Honda’s breach of the implied warranty
17    of merchantability, Plaintiffs and the other North Carolina Class members have been
18    damaged in an amount to be proven at trial, including, but not limited to, benefit-of-the-
19    bargain damages, restitution and/or diminution of value.
20    J.       Claims Brought on Behalf of the Pennsylvania Class
21                                      COUNT XXXVI
                         VIOLATION OF PENNSYLVANIA UNFAIR TRADE
22                       PRACTICES AND CONSUMER PROTECTION LAW
                                   (73 P.S. § 201-1, ET SEQ.)
23

24
               757. Plaintiff Charles Denaro (“Plaintiff” for purposes of all Pennsylvania Class

25
      Counts) hereby incorporates by reference the allegations contained in the preceding

26
      paragraphs of this complaint.

27
               758. This claim is brought by Plaintiff on behalf of the Pennsylvania Class.

28
      COMPLAINT                                - 138 -
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 1             759. Honda’s business acts and practices alleged herein constitute unfair,
 2    unconscionable and/or deceptive methods, acts or practices under the Pennsylvania
 3    Unfair Trade Practices and Consumer Protection Law, 73 P.S. § 201-1, et seq.
 4    (“PUTPCPL”).
 5             760. At all relevant times, Plaintiff and all members of the Pennsylvania Class
 6    were “consumers” within the meaning of the PUTPCPL, 73 P.S. § 201-1.
 7             761. Honda’s conduct, as set forth herein, occurred in the conduct of a sale
 8    within the meaning of the PUTPCPL, 73 P.S. § 201-1.
 9             762. The practices of Honda, described above, violate the PUTPCPL for, inter
10    alia, one or more of the following reasons:
11                      i.     Honda engaged in unconscionable commercial practices in failing to
12                             reveal material facts and information about the Vehicles, which did,
13                             or tended to, mislead Plaintiff and the Pennsylvania Class members
14                             about facts that could not reasonably be known by the consumer;
15                      ii.    Honda failed to reveal facts that were material to the transactions in
16                             light of representations of fact made in a positive manner;
17                      iii.   Honda caused Plaintiff and the Pennsylvania Class members to
18                             suffer a probability of confusion and a misunderstanding of legal
19                             rights, obligations and/or remedies by and through its conduct;
20                      iv.    Honda failed to reveal material facts to Plaintiff and the
21                             Pennsylvania Class members with the intent that Plaintiff and the
22                             Pennsylvania Class members rely upon the omission;
23                      v.     Honda made material representations and statements of fact to
24                             Plaintiff and the Pennsylvania Class that resulted in Plaintiff and the
25                             Pennsylvania Class members reasonably believing the represented
26                             or suggested state of affairs to be other than what they actually were;
27

28
      COMPLAINT                                    - 139 -
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 1                      vi.    Honda intended that Plaintiff and the other members of the
 2                             Pennsylvania Class rely on its and omissions, so that Plaintiff and
 3                             other Pennsylvania Class members would purchase the Vehicles;
 4                             and
 5                      vii.   Under all of the circumstances, Honda’s conduct in employing these
 6                             unfair and deceptive trade practices was malicious, willful, wanton
 7                             and outrageous such as to shock the conscience of the community
 8                             and warrant the imposition of punitive damages.
 9             763. Honda’s actions impact the public interest because Plaintiff and members
10    of the Pennsylvania Class were injured in exactly the same way as thousands of others
11    purchasing and/or leasing the covered vehicles as a result of and pursuant to Honda’s
12    generalized course of deception.
13             764. Had Plaintiff and other members of the Pennsylvania Class known of the
14    defective nature of the Vehicles, they would not have purchased or leased the Vehicles
15    or would have paid less for their them.
16             765. The foregoing acts, omissions and practices proximately caused Plaintiff
17    and other members of the Pennsylvania Class to suffer an ascertainable loss and actual
18    damages in the form of, inter alia, overpaying for their Vehicles that have suffered a
19    diminution in value.
20             766. Honda violated the PUTPCPL by concealing and failing to disclose the
21    infotainment system defects.          Honda had an ongoing duty to Plaintiff and the
22    Pennsylvania Class to refrain from unfair and deceptive practices under the PUTPCPL
23    in the course of its business.
24             767. Plaintiff and the Pennsylvania Class suffered ascertainable loss and actual
25    damages as a direct and proximate result of Honda’s concealments, misrepresentations,
26    and/or failure to disclose material information.
27

28
      COMPLAINT                                   - 140 -
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 1             768. Defendant is liable to Plaintiff and Pennsylvania Class members for
 2    damages in amounts to be proven at trial, including attorneys’ fees, costs, and punitive
 3    damages, as well as injunctive relief enjoining Defendant’s unfair and deceptive
 4    practices, and any other just and proper relief.
 5                                    COUNT XXXVII
                              BREACH OF EXPRESS WARRANTY
 6                            (BASED ON PENNSYLVANIA LAW)
 7             769. Plaintiff Denaro incorporates by reference all preceding allegations as
 8    though fully set forth herein.
 9             770. Plaintiff brings this claim on behalf of the Pennsylvania Class.
10             771. Honda is and was at all relevant times a merchant with respect to motor
11    vehicles.
12             772. In its New Vehicle Limited Warranty, Honda expressly warranted that it
13    “will repair or replace any part that is defective in material or workmanship under
14    normal use” and that “all repairs/replacements made under this warranty are free of
15    charge.”
16             773. Honda’s Limited Warranty formed the basis of the bargain that was
17    reached when Plaintiff and the other Pennsylvania Class members purchased or leased
18    their Vehicles equipped with an infotainment system from Honda.
19             774. Honda breached the express warranty to repair and/or replace to correct
20    defects in materials and workmanship of any part supplied by Honda. Honda has not
21    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
22    and workmanship defects.
23             775. Furthermore, the limited warranty of repair and/or replacement of defective
24    parts, fails in its essential purpose because the contractual remedy is insufficient to make
25    Plaintiffs and the other Pennsylvania Class members whole and because Honda has
26    failed and/or has refused to adequately provide the promised remedies within a
27    reasonable time.
28
      COMPLAINT                                - 141 -
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 1             776. Accordingly, recovery by Plaintiff and the other Pennsylvania Class
 2    members is not limited to the limited warranty of repair or replacements to parts
 3    defective in materials or workmanship, and Plaintiff, individually and on behalf of the
 4    other Pennsylvania Class members, seeks all remedies as allowed by law.
 5             777. Also, as alleged in more detail herein, at the time that Honda warranted and
 6    sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
 7    Warranty and were inherently defective, and Honda wrongfully and fraudulently
 8    concealed material facts regarding its Vehicles. Plaintiff and the other Pennsylvania
 9    Class members were therefore induced to purchase or lease the Vehicles under false
10    and/or fraudulent pretenses.
11             778. Moreover, many of the injuries flowing from the Vehicles cannot be
12    resolved through the limited remedy of replacement or repair, as many incidental and
13    consequential damages have already been suffered due to Honda’s fraudulent conduct
14    as alleged herein, and due to its failure and/or continued failure to provide such limited
15    remedy within a reasonable time, and any limitation on Plaintiff’s and the other
16    Pennsylvania Class members’ remedies would be insufficient to make Plaintiff and the
17    other Pennsylvania Class members whole.
18             779. Due to Honda’s breach of warranty as set forth herein, Plaintiff and the
19    other Pennsylvania Class members assert as an additional and/or alternative remedy
20    revocation of acceptance of the goods, and for a return to Plaintiff and to the other
21    Pennsylvania Class members of the purchase price of all Vehicles currently owned for
22    such other incidental and consequential damages as allowed.
23             780. Plaintiff have attempted to have their Vehicles repaired under the warranty.
24    Honda was also provided notice of these issues by numerous complaints against it,
25    including the instant Complaint, and by customer complaints, letters, emails and other
26    communications from Class members and from dealers and other repair facilities.
27

28
      COMPLAINT                                - 142 -
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 1             781. As a direct and proximate result of Honda’s breach of express warranty,
 2    Plaintiff and the other Pennsylvania Class members have been damaged in an amount
 3    to be determined at trial.
 4                                COUNT XXXVIII
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 5                               (PA. U.C.C. §2314)
 6
               782. Plaintiff incorporates by reference all preceding allegations as though fully
 7    set forth herein.
 8             783. Plaintiff brings this Count on behalf of the Pennsylvania Class.
 9             784. Honda is and was at all relevant times a merchant with respect to the
10    Vehicles.
11             785. The Vehicles are and were at all relevant times “goods.”
12             786. A warranty that the Vehicles were in merchantable condition and fit for the
13    ordinary purpose for which vehicles are used is implied by law pursuant to Pa. U.C.C.
14    § 2314.
15             787. These Vehicles, when sold and at all times thereafter, were not in
16    merchantable condition and are not fit for the ordinary purpose for which cars are used.
17    Specifically, the Vehicles are inherently defective in that the defects in the Vehicles’
18    infotainment systems render them unsafe, inconvenient, and imperfect such that
19    Plaintiff and the other Pennsylvania Class members would not have purchased the
20    Vehicles had they known of the defects.
21             788. Honda knew about the infotainment system defects at the time of purchase,
22    allowing it to cure their breach of warranty if it chose.
23             789. Honda was provided notice of these issues by numerous complaints against
24    it, including the instant Complaint, and by customer complaints, letters, emails and other
25    communications from Class members and from dealers and other repair facilities.
26             790. As a direct and proximate result of Honda’s breach of the implied warranty
27    of merchantability, Plaintiff and the other Pennsylvania Class members have been
28
      COMPLAINT                                - 143 -
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 1    damaged in an amount to be proven at trial, including, but not limited to, benefit-of-the-
 2    bargain damages, restitution and/or diminution of value.
 3    K.       Claims Brought on Behalf of the Tennessee Class
 4                            COUNT XXXIX
         VIOLATION OF TENNESSEE CONSUMER PROTECTION ACT OF 1977
 5                  (TENN. CODE ANN. § 47-18-101, ET SEQ.)
 6
               791. Plaintiff Adam Pryor (“Plaintiff” for purposes of all Tennessee Class
 7    Counts) incorporates by reference all preceding allegations as though fully set forth
 8    herein.
 9             792. This claim is brought by Plaintiff on behalf of the Tennessee Class.
10             793. The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits
11    “unfair or deceptive acts or practices affecting the conduct of any trade or commerce.”
12    Tenn. Code § 47-18-104.
13             794. Plaintiff and the Tennessee Class are “natural persons” and “consumers”
14    within the meaning of Tenn. Code § 4-18-104.
15             795. Defendant is engaged in “trade” or “commerce” or “consumer
16    transactions” within the meaning of Tenn. Code § 47-18-103(9).
17             796. Defendant’s conduct, as set forth above, occurred in the conduct of trade
18    or commerce.
19             797. By concealing and failing to disclose the infotainment system defects,
20    Honda violated the Tennessee CPA. Honda had an ongoing duty to Plaintiff and the
21    other Tennessee Class members to refrain from unfair and deceptive practices under the
22    Tennessee CPA in the course of its business.
23             798. Plaintiff and the other Tennessee Class members suffered ascertainable
24    loss and actual damages as a direct and proximate result of Honda’s concealments,
25    misrepresentations, and/or failure to disclose material information.
26             799. Pursuant to Tenn. Code §§ 47-18-109 and 47-18-109(a)(3), Plaintiff and
27    the other Tennessee Class members seek an order enjoining Defendant’s unfair,
28
      COMPLAINT                               - 144 -
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 1    unlawful, or deceptive practices, declaratory relief, punitive damages, attorneys’ fees,
 2    and any other just and proper remedy under the Tennessee CPA.
 3                                       COUNT XL
                               BREACH OF EXPRESS WARRANTY
 4                               (BASED ON TENNESSEE LAW)
 5
               800. Plaintiff incorporates by reference all preceding allegations as though fully
 6
      set forth herein.
 7             801. Plaintiff brings this claim on behalf of the Tennessee Class.
 8             802. Honda is and was at all relevant times a merchant with respect to motor
 9    vehicles.
10             803. In its New Vehicle Limited Warranty, Honda expressly warranted that it
11    “will repair or replace any part that is defective in material or workmanship under
12    normal use” and that “all repairs/replacements made under this warranty are free of
13    charge.”
14             804. Honda’s Limited Warranty formed the basis of the bargain that was
15    reached when Plaintiff and the other Tennessee Class members purchased or leased their
16    Vehicles equipped with an infotainment system from Honda.
17             805. Honda breached the express warranty to repair and/or replace to correct
18    defects in materials and workmanship of any part supplied by Honda. Honda has not
19    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
20    and workmanship defects.
21             806. Furthermore, the limited warranty of repair and/or replacement of defective
22    parts, fails in its essential purpose because the contractual remedy is insufficient to make
23    Plaintiffs and the other Tennessee Class members whole and because Honda has failed
24    and/or has refused to adequately provide the promised remedies within a reasonable
25    time.
26             807. Accordingly, recovery by Plaintiffs and the other Tennessee Class
27    members is not limited to the limited warranty of repair or replacements to parts
28
      COMPLAINT                                - 145 -
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 1    defective in materials or workmanship, and Plaintiffs, individually and on behalf of the
 2    other Tennessee Class members, seek all remedies as allowed by law.
 3             808. Also, as alleged in more detail herein, at the time that Honda warranted and
 4    sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
 5    Warranty and were inherently defective, and Honda wrongfully and fraudulently
 6    concealed material facts regarding its Vehicles. Plaintiffs and the other Tennessee Class
 7    members were therefore induced to purchase or lease the Vehicles under false and/or
 8    fraudulent pretenses.
 9             809. Moreover, many of the injuries flowing from the Vehicles cannot be
10    resolved through the limited remedy of replacement or repair, as many incidental and
11    consequential damages have already been suffered due to Honda’s fraudulent conduct
12    as alleged herein, and due to its failure and/or continued failure to provide such limited
13    remedy within a reasonable time, and any limitation on Plaintiffs’ and the other
14    Tennessee Class members’ remedies would be insufficient to make Plaintiffs and the
15    other Tennessee Class members whole.
16             810. Due to Honda’s breach of warranty as set forth herein, Plaintiff and the
17    other Tennessee Class members assert as an additional and/or alternative remedy
18    revocation of acceptance of the goods, and for a return to Plaintiffs and to the other
19    Tennessee Class members of the purchase price of all Vehicles currently owned for such
20    other incidental and consequential damages as allowed.
21             811. Honda was provided notice of these issues by numerous complaints against
22    it, including the instant Complaint, and by customer complaints, letters, emails and other
23    communications from Class members and from dealers and other repair facilities.
24             812. As a direct and proximate result of Honda’s breach of express warranty,
25    Plaintiff and the other Tennessee Class members have been damaged in an amount to
26    be determined at trial.
27

28
      COMPLAINT                                - 146 -
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                                  COUNT XLI
 1          BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                      (TENN. CODE §§ 47-2-314 AND 47-2A-212)
 2

 3             813. Plaintiff incorporates by reference all preceding allegations as though fully

 4    set forth herein.

 5             814. Plaintiff brings this claim on behalf of the Tennessee Class.

 6
               815. Honda was at all relevant times a “merchant” with respect to motor

 7
      vehicles under Tenn. Code §§ 47-2-104(1) and 47-2A-103(1)(t), and a “seller” of motor

 8
      vehicles under § 47-2-103(1)(d).

 9
               816. The Vehicles are and were at all relevant times “goods” within the meaning

10
      of Tenn. Code §§ 47-2-105(1) and 47-2A-103(1)(h).

11
               817. A warranty that the Vehicles were in merchantable condition and fit for the

12
      ordinary purpose for which vehicles are used is implied by law pursuant to Tenn. Code

13
      §§ 47-2-314 and 47-2A-212.

14
               818. These Vehicles, when sold and at all times thereafter, were not in

15
      merchantable condition and are not fit for the ordinary purpose for which cars are used.

16
      Specifically, the Vehicles are inherently defective in that the defects in the Vehicles’

17
      infotainment systems render them unsafe, inconvenient, and imperfect such that

18
      Plaintiffs and the other Tennessee Class members would not have purchased the

19
      Vehicles had they known of the defects.

20
               819. Honda knew about the infotainment system defects at the time of purchase,

21
      allowing it to cure their breach of warranty if it chose.

22
               820. Honda was provided notice of these issues by numerous complaints against

23
      it, including the instant Complaint, and by customer complaints, letters, emails and other

24
      communications from Class members and from dealers and other repair facilities.

25
               821. As a direct and proximate result of Honda’s breach of the implied warranty

26
      of merchantability, Plaintiff and the other Tennessee Class members have been damaged

27
      in an amount to be proven at trial, including, but not limited to, benefit-of-the-bargain

28
      damages, restitution and/or diminution of value.

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      L.       Claims Brought on Behalf of the Texas Class
 1
                                     COUNT XLII
 2               VIOLATIONS OF THE DECEPTIVE TRADE PRACTICES ACT
                       (TEX. BUS. & COM. CODE §§ 17.41, ET SEQ.)
 3

 4             822. Plaintiff Srikarthik Subbarao (“Plaintiff” for purposes of all Texas Class

 5    Counts) incorporates by reference all preceding allegations as though fully set forth

 6
      herein.

 7
               823. Plaintiff brings this Count on behalf of the Texas Class.

 8
               824. Plaintiff and Honda are each “persons” as defined by Tex. Bus. & Com.

 9
      Code § 17.45(3). The Vehicles are “goods” under Tex. Bus. & Com. Code § 17.45(1).

10
      Plaintiff and the other Texas Class members are “consumers” as defined in Tex. Bus. &

11
      Com. Code § 17.45(4).        Honda has at all relevant times engaged in “trade” and

12
      “commerce” as defined in Tex. Bus. & Com. Code § 17.45(6), by advertising, offering

13
      for sale, selling, leasing, and/or distributing the Vehicles in Texas, directly or indirectly

14
      affecting Texas citizens through that trade and commerce.

15
               825. The allegations set forth herein constitute false, misleading, or deceptive

16
      trade acts or practices in violation of Texas’s Deceptive Trade Practices-Consumer

17
      Protection Act (“DTPA”), Tex. Bus. & Com. Code §§ 17.41, et seq.

18
               826. By failing to disclose and actively concealing the defects in the

19
      infotainment systems in the Vehicles, Honda engaged in deceptive business practices

20
      prohibited by the DTPA, including engaging in acts or practices which are unfair,

21
      misleading, false, or deceptive to the consumer.

22
               827. Honda knew that the infotainment systems in the Vehicles were defectively

23
      manufactured, would fail without warning, and were not suitable for their intended use.

24
      Honda nevertheless failed to warn Plaintiff and the other Texas Class members about

25
      these defects despite having a duty to do so.

26
               828. Honda owed Plaintiff and the other Texas Class members a duty to disclose

27
      the defective nature of the infotainment systems in the Vehicles, because Honda:

28
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 1             i)       Possessed exclusive knowledge of the defects rendering the Vehicles
 2                      more unreliable than similar vehicles;
 3             ii)      Intentionally concealed the defects associated with the infotainment
 4                      systems; and/or
 5             iii)     Made incomplete representations about the characteristics and
 6                      performance of the infotainment system generally, while purposefully
 7                      withholding material facts from Plaintiff and the other Texas Class
 8                      members that contradicted these representations.
 9             829. Honda’s unfair or deceptive acts or practices were likely to and did in fact
10    deceive reasonable consumers, including Plaintiff, about the true performance and
11    characteristics of the Vehicles’ infotainment systems.
12             830. Honda’s intentional concealment of and failure to disclose the defective
13    nature of the Vehicles to Plaintiff and the other Texas Class members constitutes an
14    “unconscionable action or course of action” under Tex. Bus. & Com. Code § 17.45(5)
15    because, to the detriment of Plaintiff and the other Texas Class members, that conduct
16    took advantage of their lack of knowledge, ability, and experience to a grossly unfair
17    degree. That “unconscionable action or course of action” was a producing cause of the
18    economic damages sustained by Plaintiff and the other Texas Class members.
19             831. Honda is also liable under Tex. Bus. & Com. Code § 17.50(a) because
20    Honda’s breach of the implied warranty of merchantability set forth herein was a
21    producing cause of economic damages sustained by Plaintiff and the other Texas Class
22    members.
23             832. As a result of its violations of the DTPA detailed above, Honda caused
24    actual damage to Plaintiff and, if not stopped, will continue to harm Plaintiff. Plaintiff
25    currently owns or leases, or within the class period has owned or leased, a Class Vehicle
26    that is defective. Defects associated with the Vehicles’ infotainment systems have
27    caused the value of Vehicles to decrease.
28
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 1             833. All procedural prerequisites, including notice, have been met. The giving
 2    of notice to Honda is rendered impracticable pursuant to Tex. Bus. & Com. Code
 3    § 17.505(b) and unnecessary because Honda has notice of the claims against it through
 4    the numerous complaints filed against it.          Pursuant to Tex. Bus. & Com. Code
 5    § 17.505(b), Plaintiff, individually and on behalf of the other Texas Class members, will
 6    send to the Texas Consumer Protection Division a copy of this Complaint.
 7             834. Plaintiff and the other Texas Class members sustained damages as a result
 8    of the Honda’s unlawful acts and are, therefore, entitled to damages and other relief as
 9    provided under the DTPA.
10             835. Plaintiff and the other Texas Class members should be awarded three times
11    the amount of their economic damages because Honda intentionally concealed and
12    failed to disclose the defective nature of the Vehicles.
13                                       COUNT XLIII
                               BREACH OF EXPRESS WARRANTY
14                              (TEX. BUS. & COM. CODE § 2.313)
15             836. Plaintiff incorporates by reference all preceding allegations as though fully
16    set forth herein.
17             837. Plaintiff brings this Count on behalf of the Texas Class.
18             838. Honda is and was at all relevant times a merchant with respect to motor
19    vehicles under Tex. Bus. & Com. Code § 2.104.
20             839. In its Limited Warranty, Honda expressly warranted that “Honda will
21    repair or replace any part that is defective in material or workmanship under normal
22    use” and that “all repairs/replacements made under this warranty are free of charge.”
23             840. Honda’s Limited Warranty formed the basis of the bargain that was
24    reached when Plaintiff and the other Texas Class members purchased or leased their
25    Vehicles equipped with an infotainment system from Honda.
26             841. Honda breached the express warranty to repair and replace to correct
27    defects in materials and workmanship of any part supplied by Honda. Honda has not
28
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 1    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
 2    and workmanship defects.
 3             842. In addition to this Limited Warranty, Honda otherwise expressly warranted
 4    several attributes, characteristics, and qualities of the infotainment system.
 5             843. These warranties are only a sampling of the numerous warranties that
 6    Honda made relating to safety, reliability, and operation. Generally, these express
 7    warranties promise heightened, superior, and state-of-the-art safety, reliability,
 8    performance standards, and promote the benefits of the infotainment system. These
 9    warranties were made, inter alia, in advertisements, on Honda’s website, and in uniform
10    statements provided by Honda to be made by salespeople, or made publicly by Honda
11    executives or by other authorized Honda representatives. These affirmations and
12    promises were part of the basis of the bargain between the parties.
13             844. These additional warranties were also breached because the Vehicles were
14    not fully operational, safe, or reliable, nor did they comply with the warranties expressly
15    made to purchasers or lessees. Honda did not provide at the time of sale, and has not
16    provided since then, Vehicles conforming to these express warranties.
17             845. Furthermore, the limited warranty of repair and/or adjustments to defective
18    parts, fails in its essential purpose because the contractual remedy is insufficient to make
19    Plaintiffs and the other Texas Class members whole and because Honda has failed
20    and/or has refused to adequately provide the promised remedies within a reasonable
21    time.
22             846. Accordingly, recovery by Plaintiff and the other Texas Class members is
23    not limited to the limited warranty of repair or adjustments to parts defective in materials
24    or workmanship, and Plaintiffs, individually and on behalf of the other Texas Class
25    members, seek all remedies as allowed by law.
26             847. Also, as alleged in more detail herein, at the time that Honda warranted and
27    sold the Vehicles it knew that the Vehicles did not conform to the warranties and were
28
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 1    inherently defective, and Honda wrongfully and fraudulently misrepresented and/or
 2    concealed material facts regarding its Vehicles. Plaintiff and the other Texas Class
 3    members were therefore induced to purchase or lease the Vehicles under false and/or
 4    fraudulent pretenses.
 5             848. Moreover, many of the injuries flowing from the Vehicles cannot be
 6    resolved through the limited remedy of “replacement or adjustments,” as many
 7    incidental and consequential damages have already been suffered due to Honda’s
 8    fraudulent conduct as alleged herein, and due to its failure and/or continued failure to
 9    provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s
10    and the other Texas Class members’ remedies would be insufficient to make Plaintiff
11    and the other Texas Class members whole.
12             849. Due to Honda’s breach of warranties as set forth herein, Plaintiff and the
13    other Texas Class members assert as an additional and/or alternative remedy, as set forth
14    in Tex. Bus. & Com. Code § 2.711, for a revocation of acceptance of the goods, and for
15    a return to Plaintiffs and to the other Texas Class members of the purchase price of all
16    Vehicles currently owned and for such other incidental and consequential damages as
17    allowed under Tex. Bus. & Com. Code §§ 2.711 and 2.608.
18             850. Plaintiffs have attempted to have their Vehicles repaired under the
19    warranty. Honda was also provided notice of these issues by numerous complaints
20    against it, including the instant Complaint, and by customer complaints, letters, emails
21    and other communications from Class members and from dealers and other repair
22    facilities.
23             851. As a direct and proximate result of Honda’s breach of express warranties,
24    Plaintiff and the other Texas Class members have been damaged in an amount to be
25    determined at trial.
26                                    COUNT XLIV
                              BREACH OF IMPLIED WARRANTY
27                               (BASED ON TEXAS LAW)
28
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 1             852. Plaintiff incorporates by reference all preceding allegations as though fully
 2    set forth herein.
 3             853. Plaintiff brings this Count on behalf of the Texas Class.
 4             854. Honda is and was at all relevant times a merchant with respect to motor
 5    vehicles under Tex. Bus. & Com. Code § 2.104.
 6             855. A warranty that the Vehicles were in merchantable condition was implied
 7    by law in the instant transactions, pursuant to Tex. Bus. & Com. Code § 2.314. These
 8    vehicles and the infotainment systems in the Vehicles, when sold and at all times
 9    thereafter, were not in merchantable condition and are not fit for the ordinary purpose
10    for which they are used. Specifically, the Vehicles are inherently defective in that there
11    are defects in the infotainment system which prevent users from enjoying many features
12    of the Vehicles they purchased and/or leased and that they paid for; and the infotainment
13    system was not adequately tested.
14             856. Honda was provided notice of these issues by numerous complaints against
15    it, including the instant Complaint, and by customer complaints, letters, emails and other
16    communications from Class members and from dealers and other repair facilities.
17             857. As a direct and proximate result of Honda’s breach of the warranties of
18    merchantability, Plaintiff and the other Texas Class members have been damaged in an
19    amount to be proven at trial.
20    M.       Claims Brought on Behalf of the Virginia Class
21                                COUNT XLV
             VIOLATIONS OF THE VIRGINIA CONSUMER PROTECTION ACT
22                      (VA. CODE ANN. §§ 59.1-196, ET SEQ.)
23             858. Plaintiffs Eric Faden and Hamilton Hines and (“Plaintiffs” for purposes of
24    all Virginia Class Counts) incorporate by reference all preceding allegations as though
25    fully set forth herein.
26             859. Plaintiffs bring this Count on behalf of the Virginia Class.
27

28
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 1             860. The Virginia Consumer Protection prohibits “(14) using any . . . deception,
 2    fraud, false pretense, false promise, or misrepresentation in connection with a consumer
 3    transaction[.]” Va. Code Ann. § 59.1-200(A).
 4             861. Honda is a “person” as defined by Va. Code Ann. § 59.1-198. The
 5    transactions between Plaintiffs and the other Virginia Class members on one hand and
 6    Honda on the other, leading to the purchase or lease of the Vehicles by Plaintiffs and
 7    the other Virginia Class members, are “consumer transactions” as defined by Va. Code
 8    Ann. § 59.1-198, because the Vehicles were purchased or leased primarily for personal,
 9    family or household purposes.
10             862. In the course of Honda’s business, it willfully failed to disclose and actively
11    concealed the dangerous risk of infotainment system failure in Vehicles as described
12    above. Accordingly, Honda engaged in acts and practices violating Va. Code Ann.
13    § 59.1-200(A), including engaging in conduct likely to deceive.
14             863. Honda’s actions as set forth above occurred in the conduct of trade or
15    commerce.
16             864. Honda’s conduct proximately caused injuries to Plaintiffs and the other
17    Virginia Class members.
18             865. Plaintiffs and the other Virginia Class members were injured as a result of
19    Honda’s conduct in that Plaintiffs and the other Virginia Class members overpaid for
20    their Vehicles and did not receive the benefit of their bargain, and their Vehicles have
21    suffered a diminution in value. These injuries are the direct and natural consequence of
22    Honda’s omissions.
23             866. Honda actively and willfully concealed and/or suppressed the material
24    facts regarding the defective and unreasonably dangerous nature of the infotainment
25    system and the Vehicles, in whole or in part, with the intent to deceive and mislead
26    Plaintiffs and the other Virginia Class members and to induce Plaintiffs and the other
27    Virginia Class members to purchase or lease Vehicles at a higher price, which did not
28
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 1    match the Vehicles’ true value. Plaintiffs and the other Virginia Class members
 2    therefore seek treble damages.
 3                                      COUNT XLVI
                               BREACH OF EXPRESS WARRANTY
 4                                (VA. CODE ANN. § 8.2-313)
 5
               867. Plaintiffs incorporate by reference all preceding allegations as though fully
 6
      set forth herein.
 7             868. Plaintiffs bring this Count on behalf of the Virginia Class.
 8             869. Honda is and was at all relevant times a merchant with respect to motor
 9    vehicles.
10             870. In its New Vehicle Limited Warranty, Honda expressly warranted that it
11    “will repair or replace any part that is defective in material or workmanship under
12    normal use” and that “all repairs/replacements made under this warranty are free of
13    charge.”
14             871. Honda’s Limited Warranty formed the basis of the bargain that was
15    reached when Plaintiff and the other Virginia Class members purchased or leased their
16    Vehicles equipped with an infotainment system from Honda.
17             872. Honda breached the express warranty to repair or replacement to correct
18    defects in materials and workmanship of any part supplied by Honda. Honda has not
19    repaired or replaced, and has been unable to repair or replace, the Vehicles’ materials
20    and workmanship defects.
21             873. Furthermore, the limited warranty of repair and/or replacement to defective
22    parts, fails in its essential purpose because the contractual remedy is insufficient to make
23    Plaintiffs and the other Virginia Class members whole and because Honda has failed
24    and/or has refused to adequately provide the promised remedies within a reasonable
25    time.
26             874. Accordingly, recovery by Plaintiffs and the other Virginia Class members
27    is not limited to the limited warranty of repair or replacement of parts defective in
28
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 1    materials or workmanship, and Plaintiffs, individually and on behalf of the other
 2    Virginia Class members, seek all remedies as allowed by law.
 3             875. Also, as alleged in more detail herein, at the time that Honda warranted and
 4    sold the Vehicles it knew that the Vehicles did not conform to Honda’s Limited
 5    Warranty and were inherently defective, and Honda wrongfully and fraudulently
 6    concealed material facts regarding its Vehicles. Plaintiffs and the other Virginia Class
 7    members were therefore induced to purchase or lease the Vehicles under false and/or
 8    fraudulent pretenses.
 9             876. Moreover, many of the injuries flowing from the Vehicles cannot be
10    resolved through the limited remedy of replacement or repair, as many incidental and
11    consequential damages have already been suffered due to Honda’s fraudulent conduct
12    as alleged herein, and due to its failure and/or continued failure to provide such limited
13    remedy within a reasonable time, and any limitation on Plaintiffs’ and the other Virginia
14    Class members’ remedies would be insufficient to make Plaintiffs and the other Virginia
15    Class members whole.
16             877. Due to Honda’s breach of warranty as set forth herein, Plaintiffs and the
17    other Virginia Class members assert as an additional and/or alternative remedy, as set
18    forth in Va. Code Ann. § 8.2-608, for a revocation of acceptance of the goods, and for
19    a return to Plaintiff and to the other Virginia Class members of the purchase price of all
20    Vehicles currently owned for such other incidental and consequential damages as
21    allowed under Va. Code Ann. §§ 8.2-711 and 8.2-608.
22             878. Plaintiffs have attempted to have their Vehicles repaired under the
23    warranty. Honda was also provided notice of these issues by numerous complaints
24    against it, including the instant Complaint, and by customer complaints, letters, emails
25    and other communications from Class members and from dealers and other repair
26    facilities.
27

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 1             879. As a direct and proximate result of Honda’s breach of express warranty,
 2    Plaintiff and the other Virginia Class members have been damaged in an amount to be
 3    determined at trial.
 4                                 COUNT XLVII
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 5                           (VA. CODE ANN. § 8.2-314)
 6
               880. Plaintiffs incorporate by reference all preceding allegations as though fully
 7    set forth herein.
 8             881. Plaintiffs brings this Count on behalf of the Virginia Class.
 9             882. Honda is and was at all relevant times a merchant with respect to motor
10    vehicles.
11             883. A warranty that the Vehicles were in merchantable condition is implied by
12    law in the instant transactions.
13             884. These Vehicles, when sold and at all times thereafter, were not in
14    merchantable condition and are not fit for the ordinary purpose for which cars are used.
15    Specifically, the Vehicles are inherently defective in that the defects in the Vehicles’
16    infotainment systems render them unsafe, inconvenient, and imperfect such that
17    Plaintiffs and the other Virginia Class members would not have purchased the Vehicles
18    had they known of the defects.
19             885. Honda knew about the infotainment system defects at the time of purchase,
20    allowing it to cure their breach of warranty if it chose.
21             886. Honda was provided notice of these issues by numerous complaints against
22    it, including the instant Complaint, and by customer complaints, letters, emails and other
23    communications from Class members and from dealers and other repair facilities.
24             887. As a direct and proximate result of Honda’s breach of the implied warranty
25    of merchantability, Plaintiffs and the other Virginia Class members have been damaged
26    in an amount to be proven at trial, including, but not limited to, benefit-of-the-bargain
27    damages, restitution and/or diminution of value.
28
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                                          PRAYER FOR RELIEF
 1

 2             WHEREFORE, Plaintiffs, on their own behalf and on behalf of the Class

 3    members, respectfully request judgment against Defendant as follows:

 4
               (A)      certifying the proposed Nationwide Class and State Law Classes;

 5
               (B)      appointing Plaintiffs and their counsel to represent the Class;

 6
               (C)      ordering injunctive relief, restitution, disgorgement, and/or other

 7
      appropriate relief;

 8
               (D)      awarding compensatory, punitive, exemplary, and other recoverable

 9
      damages;

10
               (E)      awarding reasonable attorney’s fees and expenses;

11
               (F)      awarding pre-judgment and post-judgment interest;

12
               (G)      awarding such other and further relief as this Court may deem just and

13
      proper.
                                              JURY DEMAND
14

15
               Plaintiffs demand a trial by jury of all issues so triable.

16    Dated: July 11, 2019                 Respectfully submitted,
17

18                                         HAGENS BERMAN SOBOL SHAPIRO LLP

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14

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